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Opening Expert Report                                                      US Patent No. 7,598,083
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I.      Introduction

        1.      I, Michael Glacken, Ph.D., hereby submit this expert report on behalf of

Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

        2.      Defendants have retained me to provide technical expertise and my expert opinion

regarding U.S. Pat. No. 7,598,083 (“the ’083 patent”). Ex. 1. This patent is entitled “Chemically

Defined Media Compositions.” I have been asked to provide my opinion regarding the validity

of asserted claims 1 and 2 of the ’083 patent (“the asserted claims”), and to provide the bases and

reasons supporting my opinions.

        3.      I may be asked to provide background information in these proceedings that will

assist the Court and/or the jury to understand the science and technology relevant to the ’083

patent. If called as an expert witness at trial, I may testify about the bases of the opinions set

forth in my report, as well as the meaning and significance of information to those of skill in the

art contained in the prior art. I may also testify generally as to the testing and data reported in

the ’083 patent, including the purpose of such testing and how the data in the patent would be

interpreted by those of ordinary skill in the art.

        4.      In addition, if called as an expert witness at trial, I may also testify about the

general development of cell culture media, including the selection and optimization of

ingredients for cell culture media.

        5.      The opinions to which I will testify at trial, if asked, are set forth in this report.

The bases for my opinions includes the documents and other materials cited in this report, my

education, and my years of experience, teaching, and performing research in this field. In

reaching my opinions in this matter, I have reviewed and considered a number of written




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materials. A full listing of the materials considered may be found in Exhibit 2 of this report. 1 I

have also based my opinion on my experience in this field. Finally, my opinions are subject to

amendment, supplementation, or modification based on information made available to the parties

in the case, or to respond to or rebut issues, statements, and opinions advanced by plaintiffs or its

witnesses at any time in this action.

          6.      At hearings and/or trial, I may rely on materials and documents publicly available

or produced in this litigation by Defendants, Plaintiffs, and/or third parties, as well as discovery

conducted in this matter, including but not limited to, interrogatory responses and depositions. I

also may rely on visual aids and demonstrative exhibits that I may prepare or have prepared

based on these materials. I reserve the right to supplement or amend this report as appropriate. I

am willing to offer additional opinions in this matter if requested.

II.       Personal Background and Expert Qualifications

          7.      My full curriculum vitae is attached to this report as Exhibit 3. I have been

working with cell culture media for more than 35 years and have a considerable amount of both

academic and industry experience on this subject matter.

          8.      My mammalian cell culture research career started in 1981 as a doctoral candidate

at Massachusetts Institute of Technology. There, I completed my doctoral thesis in 1986 entitled

“Development of mathematical descriptions of mammalian cell culture kinetics for the

optimization of fed-batch bioreactors.”        This work focused on characterizing those factors

impacting the production of a monoclonal antibody in a fed-batch bioreactor of hybridoma cells.

This thesis work included:



1
    A list of the exhibits described in this report is provided at Appendix 1.


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                •   Exploring the optimal levels of typical medium components, such as glucose
                    and glutamine, in the basal and feed media (Ex. 4 (Glacken, M.W., E. Adema,
                    and A.J. Sinskey, “Mathematical descriptions of hybridoma culture kinetics I:
                    Initial metabolic rates.” Biotechnology and Bioengineering 32: 491-506,
                    1988); Ex. 5 (Glacken, M.W., R.J. Fleischaker, and A.J. Sinskey, “Reduction
                    of waste product excretion via nutrient control: possible strategies for
                    maximizing product and cell yields on serum in cultures of mammalian cells.”
                    Biotechnology and Bioengineering 28: 1376-1389, 1986));

                •   Characterizing the stimulatory effect of thiol containing compounds, like
                    glutathione and the amino acid cysteine, in low cell density and low serum
                    level cultures (Ex. 6 (Glacken, M.W., E. Adema, and A.J. Sinskey,
                    “Mathematical description of hybridoma culture kinetics II: The relationship
                    between thiol chemistry and the degradation of serum activity,”
                    Biotechnology and Bioengineering 33: 440-450, 1989)); and

                •   Developing optimal algorithms for feeding glutamine to fed-batch hybridoma
                    bioreactors so as to minimize ammonia formation and maximize antibody
                    production (Ex. 7 (Glacken, M.W., C. Huang, and A.J. Sinskey,
                    “Mathematical descriptions of hybridoma culture kinetics III: Simulation of
                    fed-batch bioreactors.” Journal of Biotechnology 10: 39-66, 1989)).

        9.      The publications stemming from this thesis work were very well received in the

field, as they have been cited by at least 371 scientific journal articles since their publications.

More than 40 of these journal articles that have cited my thesis work have been published in the

last five years, indicating that my thesis work is still very relevant.

      10.       After graduation, I became a member of the Chemical Engineering faculty at Rice

University in Houston. Two of my students performed thesis research on topics related to the

metabolic needs of mammalian cells in culture. Although no publications were generated from

this research, five presentations at conferences were given. In addition, a review article based in

part on this research was published (Ex. 8 (Glacken, M.W., Catabolic control of mammalian cell

culture. Biotechnology 6: 1041-1045 (1988))). Again, this article was very well received in the

field as it has been cited by at least 167 scientific journal articles since publication.




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      11.     After spending three years at Rice University, in 1990, I took a position as Senior

Scientist at SmithKline Beecham (“SKB”) where I was responsible for developing large scale

serum-free mammalian cell culture bioreactor processes producing recombinant proteins for

human clinical trials. My group developed the first serum-free media feeding strategy for

mammalian bioreactor processes at SKB, resulting in a several-fold increase in bioreactor

product titer. Later during my tenure at SKB, I was given responsibility for the cell banking and

cell culture media development group.

      12.     In 1993, I joined Bristol Myers Squibb (“BMS”) to lead the bioreactor

optimization group and eventually also became responsible for cell line development. Part of the

responsibilities for this group was to develop serum-free fed-batch bioreactor strategies. Due to

resource and time constraints, BMS did not develop its own serum-free medium but instead

worked with media vendors to customize its formulations to its cell lines and processes. This

strategy for working with vendors to develop customized serum-free media was presented at a

conference and published in the proceedings to that conference (Ex. 9 (Newell, A.H., E.G.

Sutton, and M.W. Glacken, “Optimizing vendor proprietary serum-free media, in ANIMAL CELL

TECHNOLOGY: DEVELOPMENTS TOWARDS            THE   21ST CENTURY, E.C. Beuvery, J.B. Griffiths, and

W.P. Zeijlemaker (Eds), Kluwer Academic Publishers, Dordrecht, pp. 277-281, 1995)). One of

the projects that employed this strategy was for a recombinant protein that eventually became the

commercial product, Orencia® (abatacept).

      13.     After private consulting, I joined Millennium Pharmaceuticals as Director of

Process Development Technologies. Part of my responsibilities was to develop high-throughput

serum-free media development technologies. These technologies were eventually spun out to a

company called Xcellerex.


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      14.      While I was Vice President of Process Development Technologies and Services at

Xcellerex, I gave a presentation at the 2004 BIO Conference describing the application of this

technology (Ex. 10 (Glacken, M.W., “High Throughput Biopharmaceutical Process

Development” BIO 2004 Annual International Convention, San Francisco, CA, June 8, 2004);

see also Ex. 62)).    In this conference presentation, I shared an example where 10 media

components (putrescine, Gibco Trace Metal Mixes A, B, and C, an essential amino acid mix, a

non-essential amino acid mix, phosphatidylcholine, suramin, a vitamin mix, and a lipid mix)

were combined by an automated liquid handler according to a statistical program into 288

different serum-free and animal product free combinations. These 288 medium formulations

were used to cultivate recombinant Chinese hamster ovary (“CHO”) cells in suspension in shaker

plate cultures.   In this one experiment, we found serum-free and animal product free

formulations that increased, by 130%, the maximum cell density achievable in the existing

serum-free and animal product free medium.          I also shared another example in my BIO

presentation where, in just one experiment, a feed formulation was discovered that doubled

antibody titers in bioreactor culture from 600 mg/L to 1.2 g/L.

      15.      In 2004, I returned to Millennium Pharmaceuticals and eventually led the

Biologics Process Development group and the CMC effort for the project that would eventually

become the commercial product Entyvio® (vedolizumab). Part of my group’s achievement was

to develop a commercial mammalian cell fed-batch process using a serum-free medium

formulation that my group developed in-house. Since Entyvio®’s launch in 2014, more than 1.4

billion dollars in sales has been achieved by Entyvio® produced by this serum-free medium

process.




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III.      Prior Testimony and Compensation

       16.      I have not previously testified in a deposition or at trial. I am being compensated

at a rate of $650/hour for my services. My compensation does not depend on the outcome of this

matter.

IV.       Proceedings To Date

       17.      I understand that the Court has construed the term “cell culture media” in claim 1

to mean “nutritive media for culturing cells.” Therefore, claim 1 of the ’083 patent is directed to

a “soluble composition, suitable for producing a final volume of [nutritive media for culturing

cells], wherein the composition comprises the following components in the following amounts

per liter of the final volume of [nutritive media for culturing cells] ….” Ex. 1 at claim 1. I note

that the term “nutritive” has not been defined and does not appear in the ’083 patent.

       18.      I also understand that Janssen’s position in light of this claim construction is that,

because claim 1 uses the term “comprises,” the asserted claims can include chemically undefined

ingredients as well as proteins and any number of other ingredients. And I further understand

from Janssen’s infringement assertions that Janssen contends that the recited concentration

ranges of each ingredient in claim 1 do not limit the claimed invention. In essence, Janssen

appears to be asserting that any composition suitable for creating a “nutritive” cell culture media

that happens to include the 52 ingredients 2 required by claim 1—regardless of concentrations

and what other ingredients are added—infringe. In any event, I reserve the right to respond to

opinions asserted by or on behalf of Plaintiffs on infringement.


2
  Claim 1 recites 61 ingredients of which nine ingredients may be present at a concentration as
low as 0 mg/L. I understand that Janssen contends that these nine ingredients are optional. A
POSA would also view these ingredients to be optional in the context of these claims. Thus,
claim 1 recites only 52 required ingredients.


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V.     Summary of Opinions

      19.      Based on the discussion below, I summarize my opinions—which are further

explained in this report—as follows:

       A.      Obviousness

      20.      The asserted claims 1 and 2 are obvious. As of 2003, the 52 ingredients required

by claim 1 and, additionally, the buffering molecule and cell protectant required by claim 2, were

routinely used to prepare cell culture media and, therefore, neither claims advance what was

already well known in the art.

      21.      More specifically, the asserted claims are invalid because they would have been

obvious to a person of ordinary skill in the art (“POSA”) based on, at a minimum, (1) Jayme, D.,

et al., “Basal medium development for serum-free culture: a historical perspective,”

Cytotechnology, 23:95-101 (1997) (“Jayme 1997”) (Ex. 11) in view of U.S. Patent No.

4,767,704 (“the ’704 patent”) (Ex. 12) and the knowledge of a person of ordinary skill in the art;

(2) WO 98/15614 (“the ’614 application”) (Ex. 13) in view of the knowledge of a person of

ordinary skill in the art; or (3) WO 04/078955 (“the ’955 application”) (Ex. 14) in view of the

knowledge of a person of ordinary skill in the art.

      22.      These prior art references, when combined with the knowledge of a person of

ordinary skill in the art as of 2003, taught and suggested to such a person to make and use cell

culture media compositions with at least the ingredients required by claims 1 and 2, with a

reasonable expectation of success. That is, the asserted claims represent no more than combining

well-known prior art ingredients in well-known concentration ranges to yield predictable results

and products. The knowledge of a person of ordinary skill in the art prior to October 2003, and




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the motivation to combine prior art references with reasonable expectation of success is

supported by a wealth of literature pertaining to cell culture media.

       B.      Indefiniteness

      23.      To the extent Janssen argues that the asserted claims would not have been obvious

in view of the prior art discussed herein and the knowledge of a person of ordinary skill in the

art, the asserted claims also are indefinite, because the claims fail to particularly point out and

distinctly claim the bounds of the invention. There is no guidance as to how one of ordinary skill

should understand the boundaries of the alleged invention, particularly when, as is the case here,

Janssen has asserted the ’083 patent against a formulation where many ingredients’

concentrations are outside the claimed ranges and, thus, literally does not infringe the claims.

Therefore, the patent does not particularly point out and distinctly claim whether a particular

medium is covered by the asserted claims.

       C.      Lack Of Written Description

      24.      Moreover, to the extent Janssen argues that the asserted claims are not obvious in

view of the prior art discussed herein and the knowledge of a person of ordinary skill in the art,

the asserted claims also are invalid for lack of adequate written description, because the

specification would not have conveyed to a POSA that the inventors possessed the broadly

claimed subject matter as of the time of the patent application.           The scope of soluble

compositions encompassed by the asserted claims is exceedingly broad, considering the possible

number of cell culture media that could result from the claimed 61 (52 required and 9 optional)

ingredients in each of their broad claimed concentration ranges (for each ingredient and in

relation to each other). Despite the breadth of the claims 1 and 2, the patent specification

provides only a single example medium used with only one single type of cell line used to


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produce a single type of recombinant product. In view of the very limited disclosures when

compared to the exceedingly broad scope of the claims, the specification does not support the

broad scope of claims 1 and 2 and amounts to a mere wish or plan and an invitation for other

researchers to test compositions falling within the claim scope.

       D.      Lack Of Enablement

      25.      Similarly, to the extent Janssen argues that the asserted claims would not have

been obvious in view of the prior art and knowledge of a POSA discussed in the obviousness

portion, the asserted claims also lack sufficient enablement, because a POSA would not have

been able to make and use the full scope of the claimed invention without undue

experimentation.     Although broadly claiming a virtually unlimited number of media

compositions for an unlimited number of cell lines, the patent specification describes only a

single example of a soluble composition used for a single eukaryotic cell line, without further

instructions explaining how to develop a soluble composition within the claimed class that would

be suitable for developing a nutritive cell culture medium under different circumstances. In the

absence of this instruction, the specification and claims 1 and 2 simply summarize the well-

known elements of the prior art and invite further experimentation. In my opinion, if the claims

are not obvious, then undue experimentation would be needed to practice the full scope of the

claimed invention, as further explained below.

VI.    Legal Standards

      26.      I have been informed of the applicable legal standards relating to patent claim

invalidity. I have relied upon these legal principles, as explained to me by counsel, in forming

my opinions set forth in my opening report.




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      27.      I was asked to form my opinions from the perspective of one of ordinary skill in

the art relevant to the ’083 patent. In determining who a person of ordinary skill in the art is with

respect to the ’083 patent, I have been asked to consider the following: (1) the type of problems

encountered in the art; (2) the prior art solutions to those problems; (3) the speed with which

innovations are made; (4) the sophistication of the technology; (5) the educational level of active

workers in the field; and (6) the educational level of the inventors of the ’083 patent.            I

understand these aspects must be as of the time the invention was allegedly made. In this case, I

understand that the earliest filing date of the ’083 patent was October 29, 2004.

      28.      I understand that a patent claim would have been obvious if the differences

between the subject matter sought to be patented and the prior art are such that the subject matter

as a whole would have been obvious at the time the invention was made to a person having

ordinary skill in the art to which the subject matter pertains. Further, a claim would have been

obvious if it is merely a combination of familiar elements according to known methods when it

does no more than yield predictable results. I have been informed that the standard for

obviousness is set out in 35 U.S.C. § 103(a), the relevant portion of which is provided here:

         A patent may not be obtained though the invention is not identically disclosed or
         described as set forth in section 102 of this title, if the differences between the subject
         matter sought to be patented and the prior art are such that the subject matter as a whole
         would have been obvious at the time the invention was made to a person having
         ordinary skill in the art to which said subject matter pertains. Patentability shall not be
         negated by the manner in which the invention was made.

      29.      I have been informed that the prior art reference (or references when combined)

need not teach or suggest all the claim limitations but that the difference(s) between the prior and

the claimed invention would have been obvious to a POSA. I also understand that the reason to

select and combine features, the predictability of the results of doing so, and a reasonable



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expectation of success of doing so may be found in (1) the teachings of the prior art themselves;

(2) the nature of any need or problem in the field that was addressed by the patent; (3) the

knowledge of persons having ordinary skill in the field at the time; and (4) common sense or the

level of creativity exhibited by the person of ordinary skill in the art. There need not be an

express or explicit suggestion to combine references.

         30.   I understand that when there are a finite number of identified, predictable

solutions, one of skill in the art has good reason to pursue the known options within his or her

technical grasp.

         31.   I understand that an analysis of whether a claim would have been obvious to a

person of ordinary skill in the art at the time of the invention requires consideration of at least

four criteria: (1) the level of ordinary skill in the art, (2) the scope and content of the art, (3) any

differences between the prior art and the patent claims, and (4) any objective indicia of non-

obviousness. I have been informed that Plaintiffs may rely on objective evidence of non-

obviousness, and that I will have an opportunity to rebut any evidence that Plaintiffs put forward

in any reply report, if needed.

         32.   I understand that if a range is well known in the art, then it is not considered

inventive to use routine experimentation to discover an optimal value or smaller, encompassed

range.

         33.   I understand that secondary considerations of non-obviousness must be

considered because such factors are probative of obviousness. These factors include unexpected

results, commercial success, long felt but unresolved need, teaching away, and failure of others.

         34.   I understand that a valid patent must have adequate written description and

enablement support in the patent specification. I have been informed that, pursuant to these


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requirements, the specification must “contain a written description of the invention, and of the

manner and process of making and using it, in such full, clear, concise, and exact terms as to

enable any person skilled in the art to which it pertains, or with which it is most nearly

connected, to make and use the same.” 35 U.S.C. § 112.

      35.      I understand that to meet the written description requirement, the specification

must reasonably convey to a person of ordinary skill in the art that the inventor had possession of

the claimed subject matter as of the time the patent application was filed. I understand that the

written description test is an objective inquiry into the four corners of the specification from the

perspective of a person of ordinary skill in the art. From that inquiry, the specification must

describe an invention that is understandable to a person of ordinary skill in the art and show that

the inventor actually invented what is claimed.

      36.      I understand that the test for written description requires an objective inquiry into

the four corners of the specification from the perspective of a person of ordinary skill in the art.

      37.      I understand that when claims are directed to a genus, the specification must

demonstrate that the patent applicant has made a generic invention that achieves the claimed

result and must do so by showing that the patent applicant has invented species sufficient to

support a claim of the functionally defined genus.

      38.      I also understand that a sufficient description of a genus requires the disclosure of

either a representative number of species falling within the scope of the genus or structural

features common to the members of the genus so that one of skill in the art can visualize or

recognize’ the members of the genus.

      39.      I understand that a patent claim is invalid for lacking an enabling disclosure if a

person skilled in the art at the time the patent application was filed would not have been able to


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make and use the full scope of the claimed invention without undue experimentation based on

the information presented in the patent’s disclosure and known to the skilled artisan. I have been

informed that the test for determining whether practicing the full scope of the claimed invention

would require undue experimentation involves consideration of the following eight factors: (1)

the quantity of experimentation necessary, (2) the amount of direction or guidance presented, (3)

the presence or absence of working examples, (4) the nature of the invention, (5) the state of the

prior art, (6) the relative skill of those in the art, (7) the predictability or unpredictability of the

art, and (8) the breadth of the claims.

       40.      I also understand that a valid patent must particularly point out and distinctly

claim the alleged invention to meet the definiteness requirement. I understand that a patent claim

is invalid as indefinite if the claims, read in light of the specification and prosecution history, fail

to inform with reasonable certainty a person skilled in the art at the time the patent application

was filed about the scope of the invention.

       41.      I understand that clear and convincing evidence must be presented to render a

patent claim invalid. I understand that evidence is sufficiently clear and convincing if it leaves

the fact-finder with a definite and firm belief in the truth of a fact.

       42.      I have relied upon this understanding of the applicable legal standards, as well as

those mentioned throughout my report, in reaching my opinions set forth in my report.

VII.    United States Patent No. 7,598,083

       43.      The ’083 patent issued on October 6, 2009, from U.S. Appl. No. 11/260,188 filed

on October 27, 2005. This application published as U.S. Publ. No. 20060094113 on May 4,

2006. The ’083 patent claims priority to a provisional application that was filed on October 29,




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2004 numbered 60/623,718. The alleged invention recited in the asserted claims of the ’083

patent is chemically defined media compositions.

       A.      The Specification

      44.      The ’083 patent discloses “[c]hemically defined media compositions for the

culture of eukaryotic cells.” Ex. 1 (’083 patent) at Abstract. The “compositions are useful for

eukaryotic cell culture in perfusion bioreactors and other vessels.” Ex. 1 (’083 patent) at

Abstract.

      45.      In the background of the invention, the ’083 patent identifies the well-known

issue of contamination in eukaryotic cell culture that can occur if those cells are exposed to

“adventitious particles.” Ex. 1 (’083 patent) at 1:17-21. The patent notes that this can be an

additional concern for media used to grow cells that manufacture and excrete therapeutic

proteins in the growth media. Ex. 1 (’083 patent) at 1:17-21. The presence of contaminates such

as other proteins in the cell culture media can limit yields of the desired therapeutic protein being

produced as well as affect the safety of the end product to be given to patients. Ex. 1 (’083

patent) at 1:21-24. The ’083 patent suggests that media that is “animal component free” such

that only known chemical components are present in the media can resolve this problem. Ex. 1

(’083 patent) at 1:46-49, 1:65-67. The patent’s only suggestion for solving this issue is to

formulate chemically defined, protein-free cell culture media. Ex. 1 (’083 patent) at 1:44-49. I

note also that the patent does not disclose how one would purify any expressed proteins derived

from cells that are grown in media that may introduce other proteins—i.e. media supplemented

with serum.

      46.      The specification goes on to say that “[i]deally, such media are ‘chemically

defined’ such that the media compositions contain only known chemical compounds, and are


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free of all proteins—even those not of animal origin such as recombinant proteins.” Ex. 1 (’083

patent) at 1:46-49.

      47.      The ’083 patent further states “[c]hemically defined media compositions optimal

for production of biopharmaceuticals, such as antibodies, must satisfy several different criteria.”

Ex. 1 (’083 patent) at 1:50-52.      These criteria include (1) “such compositions must limit

eukaryotic cell damage resulting from shear forces and other cell-damaging processes that occur

in the bioreactor vessels typically used for biopharmaceutical production”; (2) [t]he composition

must “enable eukaryotic cell culture to have high viable cell densities (i.e., the number viable

cells/ml media) and high percentages of viable cells”; (3) the compositions must “permit high

titers of secreted biopharmaceutical products (i.e., antibody mg/L media) and high specific

productivities (i.e., pg antibody/viable cell/day)”; and (4) [t]he compositions must “limit the

production of lactic acid by cultured eukaryotic cells to permit the most efficient cellular use of

glucose.” Ex. 1 (’083 patent) at 1:50-64.

      48.      Although these criteria are clearly identified, none of the three examples in the

specification provides anything but limited data relating to only some, but not all, of these

criteria. Further, they only provide a single experiment with one cell culture medium

formulation. See Ex. 1 (’083 patent) at 9:40-10:43.

      49.      The only data provided in the patent are from a single bioreactor run. Ex. 1 (’083

patent) at 10:1-2. Figure 1 of the ’083 patent discloses “high cell growth and viability,” but there

is no disclosure of any control population or media to which these numbers were compared.

Figure 2 discloses monoclonal antibody titers and specific productivity, but again, these data are

not compared to any control. Figure 3 discloses lactate concentrations in the claimed media that

decrease with increasing viable cell density. These data were apparently determined using


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“standard assays” that I do not find in the ’083 patent specification. Ex. 1 (’083 patent) at 10:29-

31. I note that neither the figures nor the examples provide any data about any damage done to

the cultured cells or how this mediium is different or similar to the cell culture media already

known in the art.

      50.      The ’083 patent also provides an example that perfusion bioreactors as opposed to

simple batch or fed-batch productions can be used with the described media. Ex. 1 (’083 patent)

at Abstract, 4:41-47.

      51.      The ’083 patent states that the claimed cell culture media are useful for the growth

of eukaryotic cells, “particularly” “mammalian cells.” Ex. 1 (’083 patent) at 4:48-49. It also

provides a list of other cell types that the ’083 patent alleges can be grown in the claimed cell

culture media. Ex. 1 (’083 patent) at 4:30-5:3. I note that there are no examples of any of these

of these other cell types. Instead, the only cell type used in the one working example is C743B

cells. Ex. 1 (’083 patent) at 9:45-10:2. The ’083 patent provides a few example compositions.

Each of these includes the term “comprises.” Ex. 1 (’083 patent) at 2:12-4:7, 5:4-6:2, 6:5-7:3. I

understand that this term of art means the examples are not limiting, and that other, undisclosed

ingredients may also be added.

      52.      The ’083 patent describes a purported example of the claimed cell culture media

termed “MET 1.5.” This media has all the components provided in claim 1. The other three

examples found in the ’083 patent encompass one cell line that was grown in MET 1.5 media.

Ex. 1 (’083 patent) at 9:40-10:2. Example 2 provides that these cells, grown in MET 1.5 media,

“can sustain high monoclonal antibody titers and specific productivity.” Ex. 1 (’083 patent) at

10:6-20. Example 3 provides that the cells grown in the chemically defined, protein-free MET

1.5 media demonstrate “decrease[d]” lactate concentrations. Ex. 1 (’083 patent) at 10:24-43.


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      53.       The ’083 patent identifies an example soluble composition, typically a powder,

suitable for producing a cell culture media termed “MET 1.5.” Ex. 1 (’083 patent) at 6:5-7:3.

This purported embodiment contains 61 ingredients and is covered by claims 6-9. Ex. 1 (’083

patent) at 12:13-13:26. Claims 10 and 11 cover the use of MET 1.5 in a composition comprising

a cell culture media. Ex. 1 (’083 patent) at 14:1-24.

      54.       The ’083 patent also identifies a genus of soluble compositions termed “MET.”

Ex. 1 (’083 patent) at 5:4-6:4. This genus identifies 61 ingredients in specific concentration

ranges, but the range includes zero for 9 of these ingredients. Id. I understand that Janssen

contends that this means those ingredients are optional. Ex. 45 (Plaintiffs’ Preliminary

Infringement Contentions dated March 3, 2016 (“Janssen’s infringement contentions”)) at 4-7.

Claim 1 covers this MET genus. Ex. 1 (’083 patent) at 10:49-11:55.

        B.      Claims 1 and 2

      55.       I understand that Janssen has asserted claims 1-2 of the ’083 patent. Claims 3-11

are not asserted in this case.

      56.       Claim 1 is an independent claim. Asserted claim 1 of the ’083 patent is directed

to the following:

                1.      A soluble composition, suitable for producing a final volume of
                cell culture media, wherein the composition comprises the following
                components in the following amounts per liter of the final volume of cell
                culture media:

                anhydrous CaCl2, 5-200 mg;
                anhydrous MgCl2, 15-50 mg;
                anhydrous MgSO4, 20-80 mg;
                FeSO4.7H2O, 0.05-0.50 mg;
                Fe(NO3)3.9H2O, 0.01-0.08 mg;
                ZnSO4.7H2O, 0.40-1.20 mg;
                ferric ammonium citrate, 0.04-200 mg;
                KCl, 280-500 mg;


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             NaCl, 5000-7500 mg;
             NaH2PO4.H2O, 30-100 mg;
             Na2HPO4, 30-100 mg;
             CuSO4.5H2O, 0.001-0.005 mg;
             CoCl2.6H2O, 0.001-0.10 mg;
             (NH4)6Mo7O24 4H2O, 0.001-0.005 mg;
             MnSO4.H2O, 0.000070-0.0080 mg;
             NiSO4.6H2O, 0.000025-0.0005 mg;
             Na2SeO3, 0.004-0.07 mg;
             Na2SiO3.9H2O, 0.02-0.4 mg;
             SnCl2.2H2O, 0.000025-0.0005 mg;
             NH4VO3, 0.0001-0.0025 mg;
             D-Glucose, 500-8000 mg;
             sodium pyruvate, 0.0-1000 mg;
             sodium hypoxanthine, 0.0-20.0 mg;
             glycine, 0.0-150 mg;
             L-alanine, 0.0-150 mg;
             L-arginine.HCl, 200-5000 mg;
             L-asparagine.H2O, 40-250 mg;
             L-aspartic acid, 20-1000 mg;
             L-cysteine.HCl H2O, 25.0-250 mg;
             L-cystine.2HCl, 15-150 mg;
             L-glutamic acid, 0-1000 mg;
             L-histidine.HCl.H2O, 100-500 mg;
             L-isoleucine, 50-1000 mg;
             L-leucine, 50-1000 mg;
             L-lysine.HCl, 100-1000 mg;
             L-methionine, 50-500 mg;
             L-ornithine.HCl, 0-100 mg;
             L-phenylalanine, 25-1000 mg;
             L-proline, 0-1000 mg;
             L-serine, 50-500 mg;
             L-taurine, 0-1000 mg;
             L-threonine, 50-600 mg;
             L-tryptophan, 2-500 mg;
             L-tyrosine.2Na.2H2O, 25-250 mg;
             L-valine, 100-1000 mg;
             d-biotin, 0.04-1.0 mg;
             D-calcium pantothenate, 0.1-5.0 mg;
             choline chloride, 1-100 mg;
             folic acid, 1-10 mg;
             i-Inositol, 10-1000 mg;
             nicotinamide, 0.5-30 mg;
             p-aminobenzoic acid, 0.1-20 mg;
             riboflavin, 0.05-5.0 mg;


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                thiamine.HCl, 0.5-20 mg;
                thymidine, 0-3.0 mg;
                vitamin B12, 0.05-5.0 mg;
                linoleic acid, 0.01-2.0 mg;
                DL-α-lipoic acid, 0.03-1.0 mg;
                pyridoxine.HCl, 0.5-30 mg;
                putrescine.2HCl, 0.025-0.25 mg; and
                ethanolamine.HCl, 2-100 mg.

Ex. 1 (’083 patent) at 10:49-11:47. Generally, the following ingredients from claim 1 are

typically referred to as inorganic salts:

                anhydrous CaCl2;
                anhydrous MgCl2;
                anhydrous MgSO4;
                ZnSO4.7H2O;
                KCl;
                NaCl;
                NaH2PO4.H2O;
                Na2HPO4.

The following claim 1 ingredients are typically referred to as trace metals:

                FeSO4.7H2O;
                Fe(NO3)3.9H2O;
                ZnSO4.7H2O;
                CuSO4.5H2O;
                CoCl2.6H2O;
                (NH4)6Mo7O24 4H2O;
                MnSO4.H2O;
                NiSO4.6H2O;
                Na2SeO3;
                Na2SiO3.9H2O;
                SnCl2.2H2O;
                NH4VO3.

The following claim 1 ingredients are typically referred to as amino acids:

                glycine;
                L-alanine;
                L-arginine.HCl;
                L-asparagine.H2O;
                L-aspartic acid;
                L-cysteine.HCl.H2O;


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               L-cystine.2HCl;
               L-glutamic acid;
               L-histidine.HCl.H2O;
               L-isoleucine;
               L-leucine;
               L-lysine.HCl;
               L-methionine;
               L-ornithine.HCl;
               L-phenylalanine;
               L-proline;
               L-serine;
               L-taurine;
               L-threonine;
               L-tryptophan;
               L-tyrosine.2Na.2H2O;
               L-valine.

The following claim 1 ingredients are typically referred to as vitamins:

               d-biotin;
               D-calcium pantothenate;
               choline chloride;
               folic acid;
               i-Inositol;
               nicotinamide;
               p-aminobenzoic acid;
               riboflavin;
               thiamine.HCl;
               thymidine;
               vitamin B12;
               pyridoxine.HCl.




      57.      Claim 2, which depends from claim 1, is as follows:

               2.    The soluble composition of claim 1 further comprising a buffering
               molecule with a pKa between 5.9 and 7.8 and a cell protectant.

Ex. 1 (’083 patent) at 11:48-50.




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       C.      Prosecution History Of ’083 Patent

      58.      I have reviewed the prosecution history of the ’083 patent and nothing there

changes my opinions in this report.

       D.      Claim Construction Of Certain Terms

      59.      I understand that the Court has ruled that the term “cell culture media” means

“nutritive media for culturing cells.” Dkt. 226 at 5. In rendering my opinion, I have assumed

that the other claim terms will take on their plain and ordinary meaning. I reserve the right to

supplement my opinions should different meanings or constructions of the claim terms be

proposed by Plaintiffs or set forth by the Court.

VIII. The Asserted Claims Of U.S. Patent No. 7,598,083 Would Have Been Obvious To A
      Person Of Ordinary Skill In The Art.

      60.      I have set forth in my report above the general standard I am applying in my

obviousness determination. Specifically, for my analysis of obviousness, I have considered and

applied the following factors: (a) the scope and content of the prior art; (b) the differences

between the prior art and the asserted claims; and (c) the level of ordinary skill in the field of the

invention. I also understand that courts may review certain other objective indicators tending to

show that patent claims are non-obvious or obvious. I reserve the right to respond to arguments

or opinions presented by or on behalf of Plaintiffs.

      61.      I also have been informed and understand that a claimed invention may be

obvious if at the time of the alleged invention there was a reason that would have prompted a

POSA in the field of the invention to combine the known elements in a way the claimed

invention does, taking into account such factors as (1) whether the claimed invention was merely

the predictable result of using prior art elements according to their known functions; (2) whether




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the claimed invention provides an obvious solution to a known problem in the relevant field; (3)

whether the prior art teaches or suggests the desirability of combining elements claimed in the

invention; (4) whether the prior art teaches away from combining elements in the claimed

invention; (5) whether it would have been obvious to try the combinations of elements, such as

when there is a design need or market pressure to solve a problem and there are a finite number

of identified, predictable solutions; and (6) whether the change resulted more from design

incentives or other market forces. I further understand that the prior art must provide to the

POSA a reasonable expectation of successfully making and using the alleged invention.

      62.      Based on my review of all factual information and these criteria, it is my opinion

that the claimed invention as a whole would have been obvious as of 2003 to a POSA. I

understand that to reach a proper determination of obviousness, I must step backward in time and

into the shoes worn by the hypothetical POSA when the invention was unknown and just before

it was made. In other words, in determining whether the claimed invention was obvious, one

must not use hindsight and must instead consider only what was known at the time of the

invention.

      63.      For purposes of the ’083 patent, I have been informed that the earliest date of the

invention according to the face of the patent is October 29, 2004. I understand that the patentees

may assert that they invented (conceived of and reduced to practice) claims 1 and 2 as early as

October 29, 2003. If any expert for Plaintiffs provides an opinion that claims 1 and 2 should be

provided a priority date that is earlier than October 29, 2004, I reserve the right to rebut that

opinion in my reply report. In any event, I have been asked to assume that the alleged date of

invention is between October 29, 2003 and October 29, 2004 and I refer to this time period as the

relevant time period. Whether October 29, 2004, October 29, 2003, or some date in between is


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deemed to be the earliest priority date for the invention claimed in claims 1 and 2 of the ’083

patent, my opinion herein that the claimed invention is obvious would not change.

         A.    The Level Of Ordinary Skill In The Art

      64.      As mentioned, I evaluated the issues of obviousness from the perspective of a

POSA. I was informed that to determine the level of ordinary skill in the subject matter of the

asserted patents, I should consider (1) the levels of education and experience of the inventors and

other persons actively working in the field; (2) the types of problems encountered in the field; (3)

prior art solutions to those problems; (4) rapidity with which innovations are made; and (5) the

sophistication of the technology. The subject matter of the asserted patents is generally directed

to chemically defined media compositions suitable for producing a final volume of cell culture

media.

      65.      In my opinion, the relevant “art” to which the ’083 patent is directed is cell

culture media compositions. A person of ordinary skill in this art area would have a doctorate

degree in biochemistry, molecular biology, or a related field with one or two years of direct

experience in formulation of and use of cell culture media in the context of biopharmaceutical

product production. A person of ordinary skill in the art could also have fewer years of formal

education if they held either a bachelor’s or master’s degree in the same fields listed above but

also had several years of hands-on experience in academic or industrial laboratories in this area.

      66.      Based on my education and experience set out above and in my CV at Exhibit 3, I

believe I am qualified to offer an expert opinion on the state of the art as of the relevant time

period and the validity of the asserted claims of the ’083 patent. In any event, I have provided

my opinions herein from the perspective of a POSA during the relevant time period.




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        B.          The Scope And Content Of The Prior Art

       67.          In determining the scope and content of the prior art, I reviewed the well-known

prior art in the area of which I was aware. In addition, I have searched for and reviewed

references from the same field of endeavor as the claimed invention. I have set forth here a

general background of development of cell culture media for eukaryotic cells and, in particular,

mammalian cells. In addition to providing a general background on the state of the art as of

2003-2004, I have been asked to comment more specifically on what a POSA would have

understood at or before the time of invention.

       68.          The asserted claims of the ’083 patent are directed generally to cell culture media

comprising chemically defined ingredients. See e.g., Ex. 55 (Deposition transcript of David

Epstein taken June 9, 2016 (“Epstein Dep. Tr.”) at 19:25-20:8. I understand that according to

Plaintiffs, however, the composition of claims 1 and 2 are not limited to chemically defined

ingredients. As discussed above, I understand that the Court has construed the term “cell culture

media” broadly, such that the composition claimed in claims 1 and 2 are not limited to only

chemically defined ingredients. Therefore, technically, the claims, in my opinion, are not limited

to such ingredients and supplements such as serum or other animal derived products can be

included. For at least this reason, I believe that any teaching in the prior art that includes serum

or other animal-based supplements is relevant to my opinion and a general understanding of the

art prior to 2003. That said, consideration of cell culture media that does include, or is even

limited to, chemically defined ingredients is also highly pertinent to the asserted claims and the

state of the art.




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      69.      There is an abundance of prior art related to the subject matter of the ’083 patent.

Although it is beyond the scope of this report to describe all of the prior art, I discuss some of the

exemplary prior art below.

               1.      Background On The History and Development of Cell Culture Media

      70.      Scientists have been able to grow animal, and even human, cells in a laboratory

setting for decades. These cells are typically grown in a liquid-based environment where the

cells either attach to the surface of the growth vessel (such as flasks or tubes) or float in

suspension. The liquid in which the cells grow is often referred to as “cell culture media” or

“tissue culture media.” See Ex. 18 (Animal This media must provide all the nutrients that these

cells require for growth, including basic growth factors and specialized ions or elements, if

needed. These include amino acids or proteins, an energy source such as glucose or other

carbohydrates, elements such as iron, lipids or fats, vitamins, and other well-known factors. I

will refer to these factors as “nutrients” or “ingredients.”

      71.        Early cells that were grown in this fashion were literally grown in blood extracts

from the animal from which they were isolated to provide the necessary nutrients. As one would

expect, this approach was expensive, difficult, and potentially dangerous with respect to

transmittal of disease from the extracts. See e.g., Ex. 55 (Epstein Dep. Tr.) at 37:15-38:9.

      72.      The ability to grow cells isolated from animals or humans has greatly advanced

medical and basic science research related to numerous areas of interest. Cells that can be grown

in such cultures range from primary cells isolated from various organs, such as kidney or liver, to

cells that are immortal, such as cancer cells.




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      73.      As the use of these cells becomes more diverse with the advancement of science,

more cells have been cultured and more cells have been used for expression of human proteins –

such as insulin or other biopharmaceuticals.

      74.      As the demands for more cells in higher numbers grew, so did research on more

cost-effective, reproducible, and safe methods for culturing such cells which began in the 1950s.

      75.      I believe that the foundation of modern mammalian medium development began

with Harry Eagle in the late 1950s. Ex. 15 (Eagle H., “Nutritional needs of mammalian cells in

tissue culture,” SCIENCE, 122:501-504 (1955) (“Eagle 1955”)). Prior to Eagle, tissues and other

biological specimens were bathed in bodily fluids, such as lymph, serum, or plasma or at best

were maintained in simple salt solutions that kept the sample viable long enough to execute brief

studies. The development of continuous cell lines, such as HeLa and L929, allowed researchers

to conduct studies without having to always harvest living biological specimens. The advantage,

however, was muted if these cell lines had to be continuously bathed in bodily fluids or tissue

extracts. Kitano teaches that including serum “has several disadvantages…[because] serum is

very expensive, …the quality of the serum is not necessarily uniform from lot to lot; and…serum

contains many unknown compounds that may disturb the downstream purification process.” Ex.

49 (Kitano) at 74. Thus, there was a need for synthetic media. As of 1955, it was known that “in

a medium consisting of an arbitrary mixture of amino acids, vitamins, cofactors, carbohydrates,

and salts, supplemented with a small amount of serum protein,” “the omission of a single

essential component resulted in the early death of the culture.” Ex. 15 (Eagle 1955) at 501. It

was possible as of 1955 to “determine most of the specific nutrients that are essential for the

growth and multiplication of mammalian cells in tissue culture.” Id.




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                       a.     Eagle’s Basal Media (1955)

        76.    Eagle’s seminal work in 1955 identified a medium consisting of a “mixture of

amino acids, vitamins, cofactors, carbohydrates, and salts, supplemented with a small amount of

serum protein, the latter supplied as dialyzed horse or human serum.” Ex. 15 (Eagle 1955) at

501. Specifically, Eagle identified 13 amino acids, 8 vitamins, 6 salts, and glucose as essential

components, along with a small amount of dialyzed serum (less than 0.1%) which allowed the

growth of two established cell lines.




Ex. 15 (Eagle 1955) at 504.

        77.    The omission of any one of these components resulted in cell death in two to three

days.    Ex. 15 ((Eagle H., “Amino acid metabolism in mammalian cell culture,” SCIENCE,

130:432-437 (1959) (“Eagle 1959”))) at 504. The medium described by Eagle included the non-

essential vitamin biotin. By supplementing his basal medium with serum, Eagle found that this

medium allowed the rapid cell growth of many other cell lines without optimization of the

medium components. See Ex. 11 (Jayme 1997) at 96.




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      78.      Serum, a protein-rich formulation isolated from any number of animal blood

samples, has been used in cell culture for decades. See e.g., Ex. 15 (Eagle 1955). It provides

numerous growth factors, hormones, amino acids, vitamins, trace elements, and various other

ingredients helpful for cell growth. Ex. 18 (Animal Cell Culture Methods, 57, edited by Mather

& Barnes, 1998 (“Animal Cell Culture 1998”)). While attempts to quantitate and identify every

component in serum have likely been undertaken, this is a challenging endeavor. Id.             As I

describe above, serum was used in the earliest of cultures and is still in use today, given its

ability to feed cells with reproducibility. This is particularly the case when cell culture media are

not required to be chemically defined.

                       b.       MEM (1959)

      79.      In 1959, Eagle continued working on artificial media for cells grown in culture

by, for example, increasing the concentration of many of the amino acids to “conform more

closely to the protein composition of cultured human cells” and by replacing the vitamin biotin

with the vitamin inositol. Ex. 17 (Eagle 1959) at 433. This formulation has become known as

“MEM” or Minimal Essential Medium, is still sold commercially, and is the basis for many

future medium formulations 3:




3
 http://www.biochrom.de/fileadmin/user_upload/service/produktinformation/englisch/BC_
catalogue_58_59_60_MEM.pdf


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See also Ex. 11 (Jayme 1997) at 97-98.

      80.      Eagle also noted that non-essential amino acids (alanine, asparagine, aspartic acid,

glycine, glutamic acid, proline, and serine) and pyruvate may be optionally added, with

asparagine, serine, glycine and pyruvate essential for some cell lines and with serine necessary

for clonal growth (i.e., outgrowth from a single cell). Ex. 17 (Eagle 1959) at 933.

      81.      As MEM greatly enhanced the ability of scientists to culture mammalian cells in

the lab, researchers began to create many more cell lines to study. In general, MEM was

adequate for culturing most cell lines. Thus, further medium development focused on other

objectives, such as the identification of nutrients that can replace serum or the optimization of

medium composition to promote propagation of cells to relatively high cell concentrations. The

motivation for the latter objective was to increase the production of a product generated by the

cells, such as a virus, a cellular component, or the cells themselves. This, of course, is the same

motivation that propelled the productivity increases of biopharmaceutical products produced

from mammalian cell culture mentioned below.




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                       c.    DMEM (1959) and RPMI 1640 (1966)

      82.     Two media optimized for high cell concentration cultures were DMEM, or

Dulbecco’s Modification of Eagle’s Medium, developed for virus production, and RPMI 1640,

developed by Moore and his co-workers while at Roswell Park Memorial Institute for

lymphocyte cultures, which include antibody producing cells. Ex. 19 (Dulbecco R and Freeman

G,   “Plaque production by the Polynoma virus,” VIROLOGY 8:396-397 (1959) (“Dulbecco

1959”)), Ex. 20 (Moore GE et. al., “Culture of normal human leukocytes,” JAMA 199:519-524

(1967) (“Moore 1967”)).

      83.     DMEM was formulated by simply increasing the amino acid and vitamin

concentrations four-fold over that in MEM. See Ex. 11 (Jayme 1997) at 96. More nutrients

allowed the growth and accumulation of more cells. Id.

      84.     On the other hand, RPMI was formulated to culture cell types that until that point

were difficult to grow, i.e., normal human lymphocytes. See Ex. 11 (Jayme 1997) at 96, Ex. 20

(Moore 1967) at 519. These cells had to be cultivated at relatively high cell concentrations and

these high cell concentrations had to be supported by the medium. Ex. 20 (Moore 1967) at 521-

522. To allow this, many nutrients in addition to the normal MEM formulation were added: (i)

the non-essential amino acids plus reduced glutathione and hydroxyproline; and (ii) additional

vitamins biotin, cyanocobalamin, and para-aminobenzoic acid. Ex. 20 (Moore 1967) at 519. In

addition, the concentrations of choline and especially inositol were greatly increased. Ex. 20

(Moore 1967) at 519.

                       d.    DMEM/F12 (1979)

      85.     Regarding the second objective of eliminating serum, Ham’s development of

medium F12 is especially noteworthy as it serves as the basis of many serum-free media used


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before and up to 2004. Ex. 21 (Ham R.G., “Clonal growth of mammalian cells in chemically

defined synthetic medium,” PROC. NATL. ACAD. SCI. 53:288-293 (1965) (“Ham 1965”)); see also

Ex. 11 (Jayme 1997) at 96. Ham’s F12 medium was designed in the 1960s to support the serum-

free clonal growth of a CHO cell line, the same type of cell line used to manufacture the majority

of biopharmaceuticals produced from mammalian cells. The following shows the composition

of Ham’s F12 in liquid 4:




      86.      Clonal growth refers to the outgrowth from a single cell in a culture plate. At low

cell concentrations, key metabolites can diffuse out of the cells into the medium until equilibrium

between intracellular and extracellular concentrations are attained.       At clonal conditions,


4
 http://www.biochrom.de/fileadmin/user_upload/service/produktinformation/englisch/BC_
catalogue_47_F12.pdf


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equilibrium for some metabolites may not be attained until the intracellular level is effectively

depleted, thus retarding outgrowth.

      87.      To prevent this from occurring, these metabolites need to be added to the clonal

medium. Prior to Ham’s F12 medium, these metabolites were provided by adding serum to a

precursor of F12 (F10). F12, however, supported clonal growth in the absence of serum with the

same efficiency of outgrowth from single cells as the serum-supplemented medium.              The

additional metabolites formulated with F12 compared to MEM medium were: (i) all the non-

essential amino acids; (ii) pyruvate; (iii) the vitamins biotin and B-12; (iv) the fatty acid and

antioxidant lipoic acid, a co-factor for many enzymatic reactions; (v) linoleic acid, a fatty acid

that cannot be synthesized by mammalian cells and is essential for cellular membrane formation;

(vi) the nucleic acids, thymidine and hypoxanthine, the building blocks for DNA and RNA; (vii)

the polyamine, putrescine, a growth factor essential for cell division (see Ex. 22 (Heby O., “Role

of polyamines in the control of cell proliferation and differentiation,” DIFFERENTIATION 19:1-20

(1981) (“Heby 1981”))) and (viii) the metal ions— iron, zinc, and copper—co-factors for

enzymatic reactions.

      88.      Although F12 supports the clonal growth of CHO cells, it does not support the

growth of cells to even moderately high concentrations. On the other hand, DMEM can support

growth to high cell concentrations, but is a relatively simple medium that cannot support serum-

free cultivation. So what does one do to culture cells to high cell concentrations without serum?

Combine DMEM and F12. Ex. 55 (Epstein Dep. Tr.) at 100:20-101:14. This is exactly what

was done by Bottenstein and Sato in 1979 and has been a standard feature of most serum-free

medium development since that time. Ex. 23 ((Bottenstein J and Sato G., “Growth of a rat

neuroblastoma cell line in serum-free supplemented medium,” PROC. NAT. ACAD. SCI. 76:514-


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517 (1979) (“Bottenstein 1979”)).          Supplemented with serum, it was well known that

DMEM/F12 “was capable of sustaining bioreactor production applications” as well as “clonal

isolation and high density culture.” Ex. 11 (Jayme 1997) at 96, see also Ex. 55 (Epstein Dep.

Tr.) at 29:7-23.

       89.     As a side note, the move towards serum-free media and the rationale for removing

serum from media for the academic study of cellular metabolism and physiology is apparent, as

the inclusion of an undefined component like serum in the medium could complicate, render

ambiguous, or outright mislead the interpretation of the results of any study. On the other hand,

the original motivation for removing serum from cell culture medium when developing

biopharmaceutical processes in the 1980s was to reduce manufacturing costs and to eliminate the

presence of contaminating serum proteins that complicated the purification of the product of

interest.

       90.         I should note that it was in the early 1970s that in vitro expression of monoclonal

antibodies was first developed, where mouse myeloma cells were fused with lymphocytes that

had been exposed to a certain antigen. Ex. 24 (Ozturk Dissertation 1990) at 13. The resulting

“hybridoma” cells were capable of expressing, into the cell culture media, milligrams of

antibodies specific for the antigen to which the lymphocyte was exposed. Ex. 24 (Dissertation

Thesis of Sadettin S. Ozturk, “Kinetic Characterization of Hybridoma Growth, Metabolism, and

Monoclonal Antibody Production Rates,” University of Michigan (1990) (“Ozturk Dissertation

1990”) at 13. Similarly, because the myeloma cell was immortal, it created a ‘factory’ for use in

expressing and then subsequently purifying antibodies very specific to an antigen – referred to as

monoclonal antibodies.       Ex. 24 (Ozturk Dissertation 1990) at 13-14.         As early as 1990,

companies were generating more than $150 million in sales of monoclonal antibodies. Ex. 24


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(Ozturk Dissertation 1990) at 14. Therapeutic roles for these antibodies were also recognized in

the early 1990s with the need for more reproducible and controllable growth conditions in order

to facilitate the use of these antibodies for treatment or diagnosis of disease.    Ex. 24 (Ozturk

Dissertation 1990) at 14.

      91.      Patient safety was of utmost importance in the early 2000s as biopharmaceuticals

became more widespread. As serum is harvested from animals, contamination by viruses and

prions is a possibility and constitutes an unnecessary risk. See e.g., Ex. 18 (Mather) at 25; Ex. 24

(Ozturk Dissertation 1990) at 18; see also Ex. 1 (’083 patent) at 1:17-24. Regulatory authorities

expect manufacturers to either eliminate or limit to the extent technically possible any exposure

of the manufacturing process to animal-derived substances, which of course would include

serum.

      92.      Cell culture media development was largely driven in the direction of chemically

defined media, because of the desire to express and purify biopharmaceutical products like

monoclonal antibodies from cell culture and be able to provide the purified products to humans,

and due to the interest in avoiding animal-derived components. Ex. 1 (’083 patent) at 1:17-67;

see also Ex. 55 (Epstein Dep. Tr.) at 37:15-38:9.

                       e.     MCDB 301 (1977)

      93.      DMEM/F12 was the gold standard for cell culture media for decades. See Ex. 11

(Jayme 1997) at 96. But additional development was required to adapt the medium for various

cell types and if one wanted to maximize cell concentration and product production. Indeed,

Ham found that his CHO cell line stopped growing in his F12 medium unless a bit of serum was

added.   Ex. 26 (Hamilton 1977) at 537.        The authors suspected that contaminants in the




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chemicals used in the original formulation were likely essential for the serum-free clonal growth.

Ex. 26 (Hamilton 1977) at 544-546.

      94.      The authors were able to restore growth in the absence of serum by adding trace

amounts of metal ion salts and other elements: aluminum, silver, barium, bromine, cadmium,

chromium, cobalt, fluorine, germanium, iodine, manganese, molybdenum, nickel, rubidium,

selenium, silicon, tin, titanium, vanadium, and zirconium. This medium is known as MCDB

301. Ex. 26 (Hamilton 1977) at 538-539. An important concept introduced with this study was

that whether or not trace elements are intentionally introduced into a medium, these elements are

nonetheless likely present in the medium, entering as contaminants in other chemicals. Ex. 26

(Hamilton 1977) at 544. The paper also described adding insulin to MCDB 301 to allow the

growth of another cell line (Chinese hamster lung). Ex. 26 (Hamilton 1977) at 544.




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                      f.     ITES (1982) and eRDF (1987)

      95.     In 1982, Murakami (discussed in more detail below) and coworkers introduced

the concept of the ITES supplement – insulin, transferrin, ethanolamine and selenium – for

serum-free hybridoma and myeloma culture (the same cell type specified in the ’083 patent),

although all but ethanolamine had been described previously in other serum-free medium. Ex.

27 (Murakami H et. al., “Growth of hybridoma cells in serum free medium: Ethanolamine is an

essential component,” PROC. NATL. ACAD. SCI. 79:1158-1162 (1982) (“Murakami 1982”)).

Murakami also disclosed a popular serum-free medium formulation, eRDF. Ex. 28 (Murakami

H, “Serum free medium use for the cultivation of hybridomas,” in MONOCLONAL ANTIBODIES:

PRODUCTION AND APPLICATION, pp. 107-140 (1989) (“Murakami 1989”)) at 112.

      96.     The “eRDF” is a combination of three basal media, RPMI (“R”), DMEM (“D”)

and F12 (“F”), that is enhanced (“e”) with greater concentrations of amino acids and vitamins to

promote growth to high cell concentrations.   Ex. 28 (Murakami 1989) at 111. Supplementing

eRDF with ITES enabled the serum-free growth of a hybridoma-related cell line to very high cell

concentrations. Ex. 28 (Murakami 1989) at 112-113.

      97.     And, by the early 1990’s, trends were leading away from serum “with the

emergence and widespread customer acceptance of several high quality serum-free media for

specialty applications.” Ex. 25 (Jayme, D. and Greenwold, D., “Media selection and design:

wise choices and common mistakes,” BIOTECHNOLOGY, pp. 716-721 (1991) (August 1991)

(“Jayme 1991”) at 718. By this time, it was recognized that “the traditional approach” was to

use well-known media with “serum supplementations.”       Ex. 25 (Jayme 1991) at 716. Indeed,

media containing serum had been used and “developed 20-30 years” before 1991—making such




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formulations well known three to four decades before the ’083 patent was filed. Ex. 25 (Jayme

1991) at 718.

      98.       Cell culture media were also well known by 2003, and, in particular, the required

ingredients for such cells to be propagated was well known. Ex 11 (Jayme 1997) at 95; Ex. 26

(Hamilton 1977) at 537-538 and Table 1. It was well known that such media required at least

amino acids, inorganic salts, vitamins, carbohydrates, trace elements, and a buffering agent. See

e.g., Ex. 11 (Jayme 1997) at 95.

                         g.       Serum-Free and Chemically Defined Media (1990s)

      99.       The use of animal sera in cell culture media was identified as an issue for

biopharmaceutical production by at least the early 1990s. In early cell culture media, animal

serum was used primarily because it provided the essential nutrients in physiologically

acceptable concentrations for cells to grow in culture. Ex. 59 (U.S. Pat. No. 4,657,866 (“the ’866

patent”)), at 1:26-33.        But the main disadvantage with serum was its undefined nature—a

complex mixture of nutrients, growth factors, hormones, lipids, minerals, and proteins. Ex. 24

(Ozturk Dissertation 1990) at 83.

     100.       While cells grew well in the presence of serum because of the presence of various

necessary factors such as amino acids, vitamins, and trace elements, its undefined nature caused

issues when it was important to know exactly what was in the media, such as when antibodies or

other proteins needed to be purified from the cell media. Ex. 30 (WO 01/16294 (“the ’294

application”)) at 4. Further, sera were known to exhibit batch to batch variation with respect to

content, potential cytotoxicity, and contamination. Ex. 24 (Ozturk Dissertation 1990) at 83.

     101.       The goal of expressing and isolating monoclonal antibodies (and other desired

proteins) was complicated when attempting to isolate pure fractions of the protein of interest


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from serum-containing media. With no real knowledge of what proteins were preexisting in the

media when animal sera were used, it made purification of the proteins of interest more

challenging. Ex. 24 (Ozturk Dissertation 1990) at 83, Ex. 31 (U.S. Pat. No. 5,045,468 (“the ’468

patent”) at 3:36-46; Ex. 29 (’866 patent) at 2:18-29. Purification from other proteins and factors

in the tissue culture medium was also known to be critical because of potential viral

contamination as well as contamination by other small, potentially life-threatening molecules

such as prions. Ex. 32 (US20030203448 (“the ‘448 application”)) at ¶ [0006].

     102.       The use of serum-free media enabled more efficient and robust purification of

expressed proteins and was, in some instances, cheaper than serum-containing media. However,

most early serum-free media were very simplistic, and deficient in ingredients necessary for

extensive cell growth, such as hormones and other nutritional factors. Ex. 30 (’294 application)

at 4-5. This was easily addressed by the addition of known, required ingredients to the basal

media. For example, as early as 1977, MCDB 301’s serum-free formulation was well known to

support cell growth. Ex. 26 (Hamilton 1977) at 538-539.

     103.       As a result of routine experimentation and what was well known in the art, several

cell culture media recipes have been disclosed and comprised combinations of needed nutrients

and factors for most cultured cells to grow—it was basic knowledge that a medium must provide

at least vitamins, amino acids, lipids, nucleic acid precursors, carbohydrates, trace elements, and

bulk ions. Ex. 29 (‘866 patent) at 1:23-26; see also Ex. 55 (Epstein Dep. Tr.) at 26:16-27:15.

Modifications of these nutrients and factors were considered common place for different cell

types and desired protein production, if appropriate, and well within the expertise of one of

ordinary skill in this art.




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     104.      It was also well known prior to 2003 that cultured cells could grow and, more

importantly, prosper such that high levels of desired proteins could be expressed in chemically

defined media (“CDM”). Ex. 31 (’468 patent) at 3:1. In the ’468 patent, the CDM medium was

compared to a serum-supplemented media and performed similarly. Id. at Abstract. CDM was

designed such that the user knew exactly what was included in the formulation to facilitate easier

purification of expressed proteins and decrease risks of potentially dangerous contamination.

     105.      It was well known that, at a minimum, as with serum-free media, the CDM must

provide an energy source, essential amino acids (or precursors of the same that could be

converted to the essential amino acid metabolite), vitamins, ions, trace elements, and other

factors needed for cell growth. The factors needed for cell growth were well known by 2003.

The general concentration ranges needed for each were also well known by 2003.

     106.      As discussed previously, traditional or conventional cell culture media have been

available for decades; particularly supplemented with serum.          After approximately 1984,

development of cell culture media took two general tracks: (1) to elucidate the “nutrients

required to eliminate serum while supporting proliferation of clonal isolates of targeted cell

types”; and (2) while focusing less on eliminating serum, to “optimiz[e] nutrient levels for high

density culture of immortalized cell types.” Ex. 11 (Jayme 1997) at 96.

     107.      In my own experience, I also know that as of 2003, many companies had been

developing nutritive cell culture media internally for their own purposes for decades. This work

is not openly published for primarily competitive reasons.         But while the formulas were

proprietary, it was well known that these media worked, i.e., they were nutritive.




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               2.      The Art Available Before 2003 Was Replete With Information
                       Relevant To The ’083 Patent.

     108.      Below, I provide exemplary disclosures from certain of the prior art references

available prior to 2003. I do not intend these descriptions to be restrictive, I have reviewed the

entirety of each reference and rely on its entire disclosure as well as what was known regarding

the art that I have learned in the last 35 years from attending conferences, speaking with other

POSAs, and my own experience. This list is also not the universe of references I have reviewed

and considered for my opinion. Those are set forth in full in Exhibit 2.

                       a.     Hamilton, W. Gregory et al., “Clonal Growth Of Chinese
                              Hamster Cell Lines In Protein-free Media,” IN VITRO, Vol. 13,
                              No. 9, 1977, p. 537 (“Hamilton 1977”) (Ex. 26)

     109.      Hamilton 1997 was published in 1977. I understand it is prior art under § 102(b).

I understand that Hamilton 1977 was not before the Patent Office during the prosecution of the

’083 patent.

     110.      Hamilton 1977 discloses “a protein-free synthetic medium, MCDB 301, has been

developed for clonal growth of Chinese hamster ovary cell lines.” Further, “Medium F12 (1)

was developed to support clonal growth of Chinese hamster cell lines without the addition of

serum or other undefined supplements.” Ex. 26 at 537.

     111.      Hamilton 1977 discloses a medium that is a modification of well-known F12

medium:




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Id. at 538-539.

      112.        Hamilton 1977 explains that “[e]xcept for altered concentrations of cysteine,

glutamine and calcium chloride, and the addition of trace elements not in medium F12, the

medium is prepared exactly as described for medium F12 by Ham (9, Appendix A ).” Id. at 538.

Changes were denoted as: “changes from medium F12 (1): U = unchanged; H = higher

concentration than in F12; L = lower concentration than in F12; N = new component not in F12.”

Id.

      113.        It is important to note here that as early as 1977, the importance of trace elements

to the serum-free cultivating of mammalian cells was known. It is also important to note that all




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the trace elements listed in claim 1 of the ‘083 patent are contained within the trace elements

listed in the table above.

                        b.    Cleveland W.L. et al., “Routine Large-Scale Production of
                              Monoclonal Antibodies in a Protein-Free Culture Medium,” J.
                              IMMUNOLOGICAL METHODS, 56:221-234 (1983) (“Cleveland
                              1983”) (Ex. 33)

     114.       Cleveland 1983 published in 1983 and I understand it is prior art under § 102(b).

Cleveland 1983 is listed on the face of the ’083 patent.

     115.       Cleveland 1983 describes “a defined culture medium and cultivation technique…

which allow the long-term production on a large scale of monoclonal antibodies and myeloma

proteins without the use of serum, serum proteins, or protein-containing liposomes.” Ex 33

(Cleveland 1983) at Abstract. More specifically, Cleveland 1983 explains that “the starting point

of our efforts was to develop a protein-free medium for in vitro production of monoclonal

antibodies was the medium (IMDM + F12 + α-thioglycerol + progesterone + ½ TEI) developed

by Mosier (1981) for in vitro induction of primary antibody responses.” Id. at 232. Then,

“following the success of Ham and coworkers … in replacing serum components with mixtures

of trace elements, we modified Mosier’s formulation by adding a second, more complex mixture

of trace elements (TEII).” Id. Cleveland 1983 reported that “with this modified formulation, it

was found possible to eliminate the liposomes and all protein supplements making the medium

totally synthetic and chemically defined within the limits imposed by the purities of the

substances used.” Id.

     116.       The compositions of the trace element mixtures TEI and TEII, as described in

Cleveland 1983, are provided below:




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                       c.     U.S. Pat. No. 4,767,704 (“the ’704 patent”) (Ex. 12)

     117.      The ’704 patent issued on August 30, 1988 and I understand it is prior art under

§ 102(b). The ’704 patent is listed on the face of the ’083 patent.

     118.      The ’704 patent is directed to “a protein-free culture medium useful for the

routine large-scale production of monoclonal antibodies and other cell-produced substances of

biological and clinical importance.” Ex. 12 at 1:10-13.

     119.      The ’704 patent discloses “[a] trace element mixture suitable for use in a protein-

free tissue culture medium, which comprises water-soluble compounds selected from acids,

bases, and salts containing copper, iron, zinc, manganese, silicon, molybdenum, vanadium,

nickel, tin, aluminum, silver, barium, bromine, cadmium, cobalt, chromium, fluorine,

germanium, iodine, rubidium, zirconium, or selenium….” Id. at Abstract.              And the trace

“compounds [can] produce a solution containing specified minimum concentrations of the listed

elements when dissolved in an amount of water sufficient to produce a concentration for one of

the elements equal to the corresponding minimum concentration of the one element while

maintaining each remaining element at a concentration equal to or greater than the minimum

concentration for the remaining element [that] is disclosed along with cell culture media

containing these trace elements and methods of culturing cells using these media.” Id.

     120.      The ’704 patent notes that the prior art disclosed “[a] trace element mixture … to

replace serum in producing the protein-free medium MCDB 301, which is capable of supporting

the growth of Chinese hamster ovary cell lines (Hamilton[] (1977)).” Id. at 2:3-7.

     121.      The ’704 patent’s objective was to “provide a protein-free culture medium

suitable for the long-term growth of antibody-producing hybridoma cells and other cells which

produce biologically or clinically useful substances.” Id. at 2:15-18. It should be noted that


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these are the same cell types – hybridomas and myelomas – that are the target cell lines for the

’083 medium. This included the disclosure of “a trace element mixture suitable for use with a

protein-free tissue culture medium whereby the necessity of providing serum or proteins is

avoided.”    The ’704 patent’s “trace element mixture consists essentially of water-soluble

compounds selected from acids, bases, and salts containing copper, iron, zinc, manganese,

silicon, molybdenum, vanadium, nickel, tin, aluminum, silver, barium, bromine, cadmium,

cobalt, chromium, fluorine, germanium, iodine, rubidium, zirconium, or selenium….” Id. at

2:24-30. It should be noted that all the trace elements listed in claim 1 of the ’083 patent are

contained within this list.

     122.         The ’704 patent disclosed minimum concentrations of each of these trace

elements:




Id. at 2:35-58.

     123.         The ’704 patent teaches that “protein supplements could be eliminated from

media used to grow monoclonal antibody-producing hybridoma cell lines by replacing the

protein supplements in an otherwise rich, balanced basal media with a mixture of trace elements.



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It has been demonstrated that this mixture of trace elements can be used to replace serum

components in media known to be useful for growing hybridoma cell lines and other animal

cells.” It should be noted that eRDF would qualify as a “rich, balanced basal media.” Id. at

3:20-29. This replacement would result in “eliminat[ion of] all protein supplements, making the

medium totally synthetic and chemically defined..”          Id. at 3:31-34.   This “elimination of

albumin, transferrin, and insulin is an important advance in hybridoma media since these

substances are expensive and are potential sources of artifacts, for example, in the use of

monoclonal antibodies to determine cell surface antigens.” Id. at 3:35-39.

     124.      The ’704 patent disclosed that “commercially available albumin and transferrin

are far from being pure substances and may contain traces of immunoglobulins, which would be

difficult to separate from the desired monoclonal antibodies.” Id. at 3:49-53.

     125.      It was also well known that “the elimination of proteins facilitates the purification

of monoclonal antibodies for use as therapeutic agents that can be given to humans, since

vigorous standards of purity can more easily be met. Although various protein-free media for the

growth of bacteria exist, no protein-free medium capable of providing the long-term growth

requirements of mammalian myeloma and hybridoma cell lines existed prior to the present

invention.” Id. at 3:53-62. Again, it is important to note that hybridomas and myeloma cells are

the same cell line types that are the subject of the ’083 patent.

     126.      The goal was to grow cells for “more than 10 days and preferably more than one

month with fresh medium supplied as necessary.” Id. at 3:62-64.

     127.      It was also known that “[a]ny protein-free basal medium which will support the

long term growth of a hybridoma cell line when supplemented with 5% fetal calf serum or

similar serum or protein components can be supplemented with the trace elements of the


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invention instead of the serum or protein components which are normally used for that cell line.”

Id. at 4:4-10. In addition, “[b]asal media useful for the growth of various types of cell lines

when supplemented with serum or protein sources are well-known, as exemplified by the

American Type Culture Collection Catalogue of Strains II, Third edition, 1981, pages 29-185.”

Id. at 4:10-14. These media included:

         Ham’s F10 medium, which is often supplemented with fetal bovine
         serum, is supplemented instead with the trace element mixture of this
         invention to produce a protein-free medium of the invention. Preferred
         are basal media which do not contain any protein or serum components,
         although a known basal medium may be modified by removing protein
         and serum components and thereafter used with the trace elements of
         this invention. Preferred media include Medium 199, CMRL 1066,
         CMRL 1415, CMRL 1066, CMRL 1415, Eagle's Basal Medium,
         Eagle's Minimum Essential Medium, Dulbecco's Modification of
         Eagle's Medium, NCTC 109, NCTC 135, Puck's N15, Puck's N16,
         Ham's F10, Ham's F12, Ham's F12M, Ham's F12K, MCD 101, MCDB
         102, MCDB 103, MCDB 104, Waymoth's MB 752/1, McCoy's 5A,
         RPMI 1603, RPMI 1634, RPMI 1640, Leibovitz's L15, and ATCC-
         CRCM 30. Of these, Ham's F10, Ham's F12, Ham's F12M, Ham's
         F12K, MCD 101, MCDB 102, MCDB 103, MCDB 104, Waymoth's
         MB 752/1, McCoy's 5A, RPMI 1603, RPMI 1634, RPMI 1640,
         Leibovitz's LI5, and ATCC-CRCM 30 are most preferred.

Id. at 4:15-37. It should be noted that DMEM and F12, the starting mixture for the development

of the ‘083 formulation, are listed as is DMEM, F12 and RPMI 1640, the components of eRDF.

    128.      It was also well known that “media [were typically] prepared by mixing two or

more known basal media. For example, a particularly preferred basal medium of the present

invention comprises a 1:1 mixture of IMDM and Ham's F12. IMDM is Iscove’s Modification of

Dulbecco's Medium (previously listed) and is described in Iscove and Melchers, J. EXP. MED.,

147, 423 (1978).” Id. at 4:37-43. It should be noted here that DMEM/F12, the starting point for

the development of the ’083 formulation is a mixture of two or more known basal medium as is

eRDF.


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     129.      The ’704 patent disclosed that “the basal medium may be made suitable for

general use by including all naturally occurring amino acids and by including other common

biological reagents such as putrescine, hypoxanthine, linoleic acid, lipoic acid, α−thioglycerol

(or a different reducing agent), and thymidine. Other essential ingredients for growth may be

included as needed in preparing a basal medium for use with the present invention. Typical

examples include vitamins, such as biotin, pantothenate, choline, folic acid, inositol,

nicotinamide, pyridoxal, pyridoxine, riboflavin, thiamine, and vitamin B12. Other reagents

which may be included in the basal medium include an energy source as a saccharide or

polysaccharide. Of these, glucose is commonly used and is preferred. Pyruvate may be also be

added.” Id. at 4:53-68.

     130.      The ’704 patent effectively disclosed “a trace element mixture used to replace

serum and protein components in tissue culture media” where “[t]he individual components of

the trace element mixture are added to the basal medium in the form of water-soluble compounds

selected from acids, bases, and salts containing the essential trace elements.” Id. at 5:24-35.

     131.      Preferred ranges of the disclosed elements were as follows:




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Id. at cols. 7-8.

                           d.     U.S. Pat. No. 4,816,401 (“the ’401 patent”) (Ex. 34)

     132.           The ’401 patent issued on March 28, 1989. I understand that it is prior art under

§ 102(b). I further understand that the ’401 patent was not provided to the Patent Office while

the ’083 patent was being prosecuted.

     133.           The ’401 patent is directed to “a serum free cell culture medium containing less

than 10 ug/mL protein.” Ex. 34 (’401 patent) at Abstract. The ’401 patent explains that “[s]ince

the advent of growth of mammalian cells in culture, efforts have been made to better define the

requirements necessary for optimal cell growth. However, traditional supplementation of these

media with serum of equine or bovine origin, which contains a myriad of undefined components,

has present complications in many areas of study.” Id. at 1:14-20. Further, most serum-free

medium for growth of hybridoma cells “contain quite high levels of exogenous protein

necessitating purification steps such as ammonium sulfate precipitation or acid elution from an

affinity column, either of which may inactive some of the antibody desired.” Id. at 1:38-42. To

overcome these disadvantages, the ’401 patent describes “a serum free very low protein medium


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for long term cell culture (MAT/P) … containing less than 10 µg/mL total protein which will

support the growth of a wide variety of cell cultures.” Id. at 2:1-8.

     134.      The MAT/P medium was derived by combining glutamine free RPMI 1640 with

glutamine free Dulbecco’s modified Eagle’s medium and Ham’s F12 at a ratio of 2:1:1. Id. at

4:45-55. To this mixture, “40 ml/L of minimal essential amino acids and either Moiser’s trace

element mixture or 2 x 10-8 M Na2SeO3, 1.6 gm/L of NaHCO3” was added and the pH adjusted

to 7.2. Id. The medium was then sterilized by filtration prior to storage. Id. “At the time of use,

600 µM 2-aminoethanol, 50 µM 2-mercaptoethanol, 332.5 mg/L L-glutamine, 5 µg/mL insulin

and 2-10 µg/mL one third iron saturated transferrin are added. This medium is buffered to be

used in a 5% CO2 culture conditions.” Id. at 4:55-60. “Table 1 provides a complete breakdown

of all the components of MAT/P.” Id. at 4:60-61.




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                     e.      Murakami, Hiroki, et al., “Serum-free media used for
                             cultivation of hybridomas,” in Advances in Biotechnological
                             Processes, Vol. II, Monoclonal Antibodies: Production and
                             Application, Alan R. Liss, Inc., New York, ed. 1989
                             (“Murakami 1989”) (Ex. 27).

    135.      Murakami was published in February 1989. I understand it is prior art under

§ 102(b). I further understand that Murakami was not provided to the Patent Office while the

’083 patent was being prosecuted.

    136.      Murakami discloses that “considerable effort has been invested in producing

monoclonal antibodies for basic research.” Ex. 27 (Murakami 1989) at 107. In addition, “[t]o

obtain highly purified antibodies which are not contaminated with exogenous immunoglobulin,

serum-free culture of hybridomas is most important.” Ex. 27 (Murakami 1989) at 108.

    137.      Murakami also disclosed that “[s]erum-free medium is composed of basal

medium containing inorganic salts, amino acids, vitamins and cofactors, and supplements

including growth factors and other trace nutrients.     Basal medium of relatively simple



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composition can be used for the culture of hybridomas in serum-supplemented medium, since

serum can provide many components the basal medium lacks.” Id.

       138.   It was well known that “[m]any basal media have been formulated [9-13] to grow

varieties of cells in serum-supplemented condition. Ham [14] and Waymouth [15] extensively

assessed requirements of amino acids, vitamins, and inorganic salts. Moore et al. [16] developed

a series of RPMI media for culturing lymphocytes in the supplementation with serum.” Id. at

111.

       139.   Murakami noted that, when tested with a mouse myeloma cell line, “[t]here was

no significant different in the cellular growth with regard to such basal media as Dulbecco’s

modified Eagle’s MEM (DME), Ham’s F12, Eagle’s minimal essential medium (MEM), or

RPMI 1640 if 10% fetal calf serum was added.” Id. at 108.

       140.   Murakami disclosed its formulation of “eRDF” named after the “enhanced”

combination of RPMI, DMEM, F/12 media:




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Id. at 112.

     141.     Murakami disclosed that inclusion of “[t]he ITES [insulin, transferrin,

ethanolamine, selenium] combination supported the serum-free growth of various types of

hybridomas (Table III).” Id. at 116. Also, this media supported “[h]ybridoma lines made by



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fusion of H0-323 with human lymphocytes secreting antipolynucleotide monoclonal antibodies

[that] were also grown indefinitely in the serum-free ITES-RDF medium [29].” Id. at 118.

     142.     Murakami also noted that “Imai et al. [26] reported that murine hybridomas

derived from Sp2/0 and X63-653 grew better in ITES-RDF medium than in serum medium.” Id.

at 116. This is important to note, as the C743B cell line used in the example presented in the

‘083 patent was derived from Sp2/0. Thus, in 1983 a serum-free medium was shown to be

“nutritive” for the same type of myeloma cell line used as the example in the ‘083 patent.

Moreover, not only was the medium “nutritive” for this type of cell line, it provided growth

equivalent to serum supplemented medium.

     143.     Murakami also disclosed that “Kováŕ. and Franěk [31] formulated a serum-free

medium (SFH[sic]) in which a basal medium of RPMI 1640 was supplemented with insulin,

transferrin, ethanolamine, linoleic acid, fatty-acid-free bovine albumin, hydrocortisone, and

twelve trace elements including selenium and manganese.” Id. at 118.

     144.     As Murakami noted, “[s]ignificant stimulation of hybridoma growth was found by

the addition of ethanolamine. The optimal concentration of the amine was about 20 µM, but the

stimulating effect decreased sharply at concentrations higher than 40 µM.” Id.

                      f.     Darfler, F., “A Protein-Free Medium For The Growth Of
                             Hybridomas and Other Cells Of The Immune System,” IN
                             VITRO CELL. DEV. BIOL., 26:769-778 (“Darfler 1990”) (Ex. 35)

     145.     Darfler was published in August 1990 and I understand it is 102(b) prior art. I

also understand that Darfler was not before the Patent Office during prosecution of the ’083

patent.

     146.     Darfler 1990 discloses “[a] protein free medium…which essentially eliminates the

need for serum proteins.” Ex. 35 (Darfler 1990) at 769. This media “supports the long term


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growth of murine hybridomas as well as other transformed cells of the immune system.” Id.

Also, the need for transferrin by these cells “has been met by substituting” other

compounds. Id. It was well known that “the inclusion of serum to tissue culture media” was

associated with problems “including carry-over of adventitious microbes, its ill-defined nature,

and its relatively high protein level which hinders purification of secretory proteins.” Id.

     147.      Darfler 1990 noted in the development of his serum-free medium that

“[s]ubstantial improvement in the growth of hybridomas was afforded by the inclusion of 18

trace elements.” Id. It should be noted that hybridomas are of the same cell type as is the subject

of the ‘083 patent.

     148.      Darfler 1990 noted that “[t]he requirement of hybridoma growth for transferrin

has been met by substituting the soluble organo-iron compound, sodium nitroprusside.” Id. This

again illustrates the motivation by at least the 1990s for eliminating transferrin from cell culture

media and substituting with iron chelators.

     149.      Also, Darfler 1990 discloses a reference showing that “hybridomas could grow in

an anchorage-dependent setting in a basal medium of Iscove’s:Ham’s F12 media (1:1) if

supplement[ed] with 22 trace elements.” Id.             Darfler started his serum-free medium

development on the components in DMEM. “DMEM was chosen because it has been previously

observed that a 1:1 mixture of Ham’s F12 and DMEM often is suitable for the serum-free growth

of mammalian cells (1), including hybridomas.” Id. at 772. It should be noted here that

DMEM/F12 was the starting point for the development of the ’083 formulation. “Many other

compounds were tested for cell growth, chiefly because they occur physiologically or have been

previously described as being beneficial. The final formulation was chosen when the medium

performed as well or better than the currently available serum-free media.” Id.


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     150.        Darfler’s medium, known as “ABC,” is described below.




Id. at 771.
                        g.     Ozturk, Sadettin, S., “Kinetic Characterization of Hybridoma
                               Growth, Metabolism, and Monoclonal Antibody Production
                               Rates,” Dissertation for The University of Michigan, 1990
                               (“Ozturk Dissertation 1990”) (Ex. 24).

     151.        Ozturk Dissertation 1990 was published in 1990 and I understand it is prior art

under § 102(b)


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     152.      Ozturk Dissertation 1990 reports Dr. Ozturk’s (a listed inventor of the ’083

patent) doctoral dissertation work related to “develop[ing] mass culture procedures . . . [that] are

aimed at reducing the cost of monoclonal antibody (MAb) production.” Ex. 24 at 1. Ozturk

1990 discloses that “[m]ammalian cells show a complex cell metabolism in culture conditions.”

Id. at 7. Also, “[s]pecially-designed growth media contain nutrients, vitamins, amino acids, and

growth factors.” Id. Ozturk 1990 disclosed that eukaryotic and prokaryotic cells are different.

For example, “mammalian cells tend to be more fragile than bacteria since they do not have a

protective cell wall, and thus are more susceptible to shear damage introduced by agitation.” Id.

at 19. Ozturk 1990 also disclosed that while serum had been used to support growth of

mammalian cells in large-scale bioreactors, it had been determined to be “undesirable because of

its high cost and the complications introduced by the serum proteins for separation of products.”

Id. at 229. Therefore, Ozturk 1990 disclosed that “several serum-free and protein-free media”

had been developed. Id. However, as Ozturk 1990 disclosed, “[t]he media developed [we]re, in

many cases, cell line specific. Hence each cell line ha[d] to be treated separately.” Id.

                       h.      U.S. Pat. No. 5,045,468 (“the ’468 patent”) (Ex. 31).

     153.      The ’468 patent issued on September 3, 1991 and I understand it is prior art under

§ 102(b). The ’468 patent is listed on the face of the ’083 patent.

     154.      The ’468 patent discloses “[a] chemically-defined, stable, protein-free medium

has been devised which is capable of supporting the growth of lymphoid cells, particularly

hybridomas, even in anchorage-independent cultures” which contained “a nonproteinaceous

organo-iron compound, especially a nitroprusside salt, an iron chelator such as EDTA, and a

selenium compound . . ..” Ex. 31 at Abstract. It is important to note that hybridomas are of the

same cell type as the cell lines that are the subject of the ’083 patent.


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     155.      The ‘468 patent specifies relative performance of hybridoma cell growth in this

serum-free medium versus serum-supplemented medium: “Doubling rates are close to those

obtained in serum-supplemented medium.” Id. It is important to note that the ’083 patent does

not offer any relative performance metrics between the ’083 medium, serum-supplemented

medium, other serum-free medium or any other medium.

     156.      The ’468 patent disclosed prior art medium by Cleveland, et al., J. IMMUNOL.

Meth. 56:221 (1983) that was “protein-free [and] for hybridoma cultivation.” Id. at 1:21-23. As

is common in the prior art, this “basal medium was [formulated from] Ham’s F12 and IMDM

[combined] in 1:1 ratio…” which “was supplemented with two trace element mixtures, providing

Cu, Mn, Si, Mo, V, Ni, Sn, Zn, Se, Al, Ag, Ba, K, Cd, Co, Cr, Na, Fe, Ge, Rb and Zr.” Id. at

1:2-28. It is important to note that the ‘083 medium was developed from F12 and DMEM, and

that IMDM is a minor modification of DMEM.

     157.      The ’468 patent discloses that both “L-[o]rnithine[, ] a precursor of putrescine, L-

arginine, L-citrulline and L-glutamic acid,” and “[t]aurine (ethanolamine sulfonic acid) [which]

probably serves as a precursor for ethanolamine for the synthesis of phosphatidyl ethanolamine”

could be used in serum-free media. Id. at 8:15-26.

                      i.      Keenan, J. and Clynes, M., “Replacement of Transferrin by
                              Simple Iron Compounds for MDCK Cells Grown and Sub-
                              cultured in Serum-free Medium,” IN VITRO CELLULAR &
                              DEVELOPMENT BIOLOGY, ANIMAL, 32(8):451-453 (Sept. 1996)
                              (“Keenan 1996”) (Ex. 36)

     158.      Keenan 1996 published in September 1996 and I understand it is prior art under §

102(b). I also understand that Keenan was not before the Patent Office during the prosecution of

the ’083 patent.




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     159.      Keenan 1996 disclosed that “[i]ron is required by eukaryotic cells in several

important metabolic processes and has been closely associated with cell growth and DNA

synthesis (Anderson et al., 1982).” Ex. 36 at 451. Also, “[t]ransferrin has been traditionally

used to supply iron in a biologically available form to cells and is an almost universal component

of serum-free media (SFM).” Id.

     160.      Keenan 1996 disclosed that “[t]he use of simple iron compounds or more complex

iron carriers without transferrin has also been reported (Chitambar and Zivkovic, 1990)” and that

because “there are many paths by which iron can enter cells, it may be possible to replace

transferrin with simple iron compounds or iron chelators.” Id. “This is especially desirable as

the most widely used source of transferrin is of human origin because of its low cost and

effectiveness. The use of synthetic compounds would result in a more defined medium with less

batch variation and should greatly reduce the possibility of viral contamination.” Id.

     161.      In Keenan, “[t]he ability of transferrin (Tf) and transferrin replacements [sodium

nitroprusside (SNP), ferric nitrate (FN), iron choline citrate (ICC), ferric citrate (FC), ferric

ammonium citrate (FAC), ferric ammonium sulfate (FAS), and ferrous sulfate (Fe2SO4)] to

stimulate growth was assessed by acid phosphatase production” and found that “ the order of

activity at maximum stimulation was Fe2SO4 ≥ Tf > SNP > FAS ≥ ICC > FAC ≥ FC > FN.” Id.

at 451-452.

     162.      Keenan disclosed that “[o]f the iron-containing compounds and salts tested,

Fe2SO4, FAS, ICC, and SNP were chosen for further analysis as these stimulated growth almost

equal to that of the bovine transferrin control (at 0.1 µg Fe2SO4/ml, 0.5 µg FAS/ml, 0.5 µg

SNP/ml, and 0.5 µg ICC/ml.” Id. at 452.




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                       j.     Jayme D. et al., “Basal medium development for serum-free
                              culture: a historical perspective,” CYTOTECHNOLOGY, 23:95-
                              101 (1997) (“Jayme 1997”) (Ex. 11)

     163.      Jayme published in 1997 and I understand it is prior art under § 102(b). I further

understand that Jayme 1997 was not provided to the Patent Office while the ’083 patent was

being prosecuted.

     164.      Jayme 1997 disclosed that “[d]evelopmental progress of nutrient media, from

initial reports in the late 19th century to the present day, has been characterized by evolutionary

advances (Jayme and Blackman, 1985; Gruber and Jayme, 1994). The external fluids for

mammalian cells and tissues evolved from bathing environments of isosmotic salt solutions to

approximations of the native cellular environment through addition of buffering components,

more complex salt species, and substrates and co-factors to support intermediary metabolism,

such as carbohydrates, amino acids, and vitamins (Ham, 1982).” Ex. 11 at 95.

     165.      Jayme 1997 also noted that “[w]hile these nutrients were adequate to maintain

viability and biological function for brief studies, supplemental additives (e.g., serum, tissue

extracts, other humoral fluids) were required to support proliferation and to sustain cellular

activity for extended periods.” Id. Persons of ordinary skill were “[m]otivat[ed] to reduce these

ill-defined additives [because of a] desire to minimize lot-to-lot variation, limited availability,

cost, interference with product purification, inability to cultivate certain cell types, and concern

with foreign antigens or adventitious viral contaminants (Ham, 1982; Jayme and Greenwald,

1991).” Id.

     166.      Jayme 1997 disclosed that “[i]nitial efforts to develop serum-free media

exclusively through addition of defined growth factors failed to account for the broader

contributions of serum (Jayme, 1991) [which] included both specific biological activities (such


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as cytokines, supplemental metabolites, nutrient binding and transport factors, and substratum

conditioning factors) and bulk protein functions (such as pH buffering, toxin inactivation,

protease activity, and protection from shear stress and vessel adsorption) (Jayme and Blackman,

1985; Gruber and Jayme, 1994).” Id. Also,

             [p]rimary historical elements for this discussion begin with Eagle’s 1955 publication of
             a basal nutrient formulation (Eagle, 1955), an ‘isosmotic, pH-balanced mixture of salts,
             amino acids, sugars, vitamins, and other necessary nutrients’. Four years later, Eagle
             published a modified formulation (Eagle, 1959), termed ‘Minimal Essential Medium
             (MEM)’, which augmented the original basal amino acid composition based upon the
             protein composition of cultured human cells. This modified formulation, while more
             nutritionally complex than most previous synthetic media, still required supplemental
             protein in the form of plasma, serum, or tissue extracts to support cell growth. The
             components of Eagle’s basal medium formulations provided the basis for most nutrient
             media prepared today (Gruber and Jayme, 1994). Table 1 compares the biochemical
             composition of selected basal media used for mammalian cell culture applications.”

Id. at 96.

     167.         Jayme 1997 disclosed that “[o]f these formulations, the media most frequently

cited and consumed in the greatest quantity are Ham’s Nutrient Mixtures (F–12 and F–10) and

several formulations of the MCDB series.” Id.

     168.         As Jayme 1997 notes, “[a]lthough other combinations of classical formulations

(e.g., IMDM/F12, M199/F10) have been implemented for selected applications, DMEM/F12 has

emerged as the most widely utilized basal synthetic medium.” Id. It should be noted here that

DMEM/F12 was the starting point for the development of the ‘083 medium (reference Epstein

deposition).      “Supplemented by serum, it was capable of sustaining bioreactor production

applications.” Id. Jayme 1997 disclosed a comparison of various well-known media that were

frequently combined together, such as the case for eRDF:




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Id. at 97-98.

     169.       According to Jayme 1997, “Murakami’s careful studies identified yet another

nutrient commonly required as an ingredient for serum-free cultivation of hybridomas and other

rapidly-proliferating cell types, ethanolamine (Murakami et al., 1982). This cocktail of four

additives (insulin, transferrin, selenium, ethanolamine) (ITES) has been commercialized by


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several suppliers, both as a serum extender to permit superior culture performance with reduced

serum supplementation and as an additive to DMEM/F12 and similar basal media to permit

serum-free cultivation of many cell types.” Id. at 98.

                       k.     WO 1998/08934 (“the ’934 application”) (Ex. 38)

     170.      The ’934 application published on March 5, 1998 and I understand that it is prior

art under § 102(b). The ’934 application is listed on the face of the ’083 patent.

     171.      The ’934 application provides “a cell culture medium formulation that supports

the in vitro cultivation, particularly in suspension, of mammalian cells, particularly epithelial

cells and fibroblast cells.” Ex. 38 (’934 application) at Abstract. The ’934 application further

provides “chemically defined, protein-free eukaryotic cell culture media comprising an iron

chelate and zinc, which is capable of supporting the growth (and particularly the high-density

growth of mammalian cells) in suspension culture, increasing the level of expression of

recombinant protein in cultured cells, and/or increasing virus production in cultured cells.” Id. at

Abstract.   The ’934 application refer to these media as the “suspension medium” and the

“replacement medium,” respectively. Id. at p. 13, ll. 9-11.

     172.      The suspension medium of the ’934 application is “a serum-free cell culture

medium comprising one or more polyanionic or polycationic compounds, wherein the media are

capable of supporting the suspension cultivation of a mammalian epithelial of fibroblast cells in

vitro.” Id. at p. 13, ll. 13-16. In particular, this suspension medium “comprise[s] one or more

ingredients selected from the group of ingredients consisting of one or more amino acids, one or

more vitamins, one or more inorganic salts, one or more sugars, one or more buffering salts, one

or more lipids, one or more insulins (or insulin substitutes) and one or more transferrins (or




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transferrin substitutes.” Id. at p. 13, ll. 21-26. An example of the suspension medium is

provided in Table 1 of the ’934 application. Id. at p. 33, ll. 8-15.




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     173.      The replacement medium of the ’934 application provides a medium that does not

require supplementation with the proteins transferrin and insulin. Id. at p. 13, ll. 4-8. In

particular, the replacement medium is a “chemically defined, protein-free eukaryotic (e.g.

mammalian) cell culture medium comprising a Fe2+ and/or Fe3+ chelate and/or a Zn2+ salt,” in

place of transferrin and insulin. Id. at p. 19, ll. 4-12; p. 40, ll. 4-10. The ’934 application

provides in Table 2 an example of the replacement medium, which may be prepared by

combining the “Acid Soluble I” mixture, the “Acid Soluble II” mixture, the “Salts I” mixture, the

Salts II mixture, and optionally, the “Lipid” mixture (each provided below). Id. at p. 47, ll. 5 – p.

52, l. 4.




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                      l.      WO 1998/15614 (“the ’614 application”) (Ex. 13)

     174.      The ’614 application published on April 16, 1998 and I understand it is § 102(b)

prior art to the ’083 patent. I understand that the ’614 application was not before the Patent

Office during the prosecution of the ’083 patent.

     175.      The ’614 application discloses “serum-free cell culture media formulations which

are capable of supporting the in vitro cultivation of animal cells.” Ex. 13 (’614 application) at

Abstract. The ’614 application explains that early “cell culture media formulations are

supplemented with a range of additives, including undefined components such as fetal bovine

serum (FBS) (10-20% v/v) or extracts from animal embryos, organs or glands (0.5-10% v/v).”

Id. at p. 2, ll. 22-26. But there are many disadvantages of media that use serum or animal

extracts, including variability between lots, contamination with infectious agents, difficulty in

defining the nutritional and hormonal requirements of cell cultures, and increased complexity

and cost in the purification of biopharmaceutical products derived from the culture media. Id. at


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p. 3, ll. 7-29. To overcome these disadvantages, serum-free media were developed. While this

minimized the concerns associated with serum, those serum-free media that contained animal-

derived supplements still risked an immunogenic response. Id. at p. 5, ll. 1-8. Thus, there was a

“need for a serum-free, low protein-culture medium suitable for cultivation of animal cells,

which is completely devoid of animal or human proteins.” Id. at p. 6, ll. 20-22. The ’614

application sought to meet that need by providing “such an animal cell culture medium

formulation.” Id. at p. 6, ll. 26-27.

     176.       The ’614 application teaches a basal cell culture medium that may include “amino

acids, vitamins, organic and/or inorganic salts, trace elements, buffering salts and sugars.” Id. at

p. 11, ll. 23-36. Specifically, the ’614 application teaches that the basal media of the claimed

invention may contain the following ingredients:

    Amino Acids                  Vitamins               Inorganic Salts             Trace Elements
                              Ascorbic acid
      L-alanine                                              CaCl2                      Barium
                             magnesium salt
     L-arginine                    Biotin                      KCl                    Bromium
    L-asparagine             Choline chloride                MgCl2                     Cobalt
   L-aspartic acid         D-Ca++-pantothenate               MgSO4                     Iodine
      L-cystine                 Folic acid                    NaCl                    Manganese
     L-cysteine                  i-inositol                 NaHCO3                    Chromium
   L-glutamic acid             Menadione                    Na2HPO4                    Copper
    L-glutamine                Niacinamide               NaH2PO4.H2O                   Nickel
       glycine                Nicotinic acid          Ferric citrate chelate          Selenium
                            Paraaminobenzoic
      L-histidine                                  Ferrous sulfate chelate             Vanadium
                              acid (PABA)
     L-isoleucine               Pyridoxal                                             Titanium
      L-leucine                 Pyridoxine                                           Germanium
       L-lysine                 Riboflavin                                           Molybdenum
    L-methionine              Thiamine-HCl                                             Silicon
   L-phenylalanine          Vitamin A acetate                                           Iron
      L-proline                Vitamin B12                                            Fluorine
       L-serine                Vitamin D2                                              Silver
     L-threonine                                                                      Rubidium



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     Amino Acids                   Vitamins             Inorganic Salts         Trace Elements
     L-tryptophan                                                                     Tin
      L-tyrosine                                                                   Zirconium
       L-valine                                                                    Cadmium
                                                                                      Zinc
                                                                                   Aluminum

Id. at p. 12, l. 6 – p. 13, l. 2. The ’614 application further states that the trace elements may be

provided in the following exemplary salt forms: “Ba(C2H3O2)2, KBr, CoCl2.6H2O, KI,

MnCl2.4H2O, Cr(SO4)3.15H2O, CuSO4.5H2O, NiSO4.6H2O, H2SeO3, NaVO3, TiCl4, GeO2,

(NH4)6Mo7O24.4H2O, Na2SiO3.9H2O, FeSO4.7H2O, NaF, AgNO3, RbCl, SnCl2, ZrOCl2.8H2O,

CdSO4.8H2O, ZnSO4.7H2O, Fe(NO3)3.9H2O, AlCl3.6H2O.” Id. at p. 12, l. 27 – p. 13, l. 2. It

should be noted that all the trace elements listed in claim 1 of the ‘083 patent are contained

within this list.

     177.           The ’614 application provides in Table 1 “the specific combinations of the above

ingredients, their concentration ranges and preferred concentrations in the basal media.” Id. at p.

13, ll. 3-4. Also, the ’614 media formulation “may further optionally comprise an enzymatic

digest or extract of yeast cells.” Id. The ’614 application discloses that “[m]edia formulations

have been used to cultivate a number of cell types including animal, plant and bacterial

cells.” Id. at p. 1, ll. 2-3. “Typical components of cell culture media include amino acids,

organic and inorganic salts, vitamins, trace metals, sugars, lipids and nucleic acids, the types and

amounts of which may vary depending upon the particular requirements of a given cell or tissue

type.” Id. at p. 2, ll. 18-20. As the ’614 application discloses, “[t]ypically, cell culture media

formulations are supplemented with a range of additives, including undefined components such

as fetal bovine serum (FBS) (10-20% v/v) or extracts from animal embryos, organs or glands

(0.5-10%).” Id. at p. 2, ll. 22-24.


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Ex 13 (’614 application) at pp. 14-18.

     178.      In Example 1, the ’614 application provides the formulation of a basal cell culture

medium of the claimed invention. 5 Id. at p. 28, l. 15 – p. 30, l. 2. The ’614 application describes

in Example 2 a study comparing the use of the basal cell culture medium supplemented with a

variety of non-animal hydrolysates—including wheat, soy, and rice hydrolysates. Id. at p. 30, ll.

4-20. “These results demonstrate that, of the plant peptides tested as supplements for the culture

media, the hydrolysate of rice performed most optimally.” Id. at p. 31, ll. 9-10. In Example 3,

the basal cell culture media supplemented with rice hydrolysates were compared against the

Earle’s Modified Eagle’s Medium (“EMEM”) supplemented with 5% fetal bovine serum (FBS).

Id. at p. 32, ll. 1- 25. The results “demonstrate that the use of basal medium supplemented with


5
  I note that Example 1 describes the method for preparing the basal cell culture medium,
including the specific amounts of each of the ingredients provided in the medium. Id. at p. 28, l.
15 – p. 30, l. 2. The final volume of the solution is 25.0 liters. Id. at p. 29, ll. 27-29. Thus, the
final concentration of each of the ingredients may be calculated by dividing the mass by the total
volume of the solution.


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rice hydrolysate at concentrations as low as 100 mg/liter support the growth of VERO cells at

least as well as the use of EMEM supplemented with 5% FBS.” Id. at p. 34, ll. 9-22.

     179.         Further experiments “indicate that an optimal culture medium formulation for

supporting the cultivation of animal cells is the basal medium formulation shown in Table 1 [of

the ’614 application], supplemented with EGF [epidermal growth factor] at 5-10 mg/liter, yeast

extract (preferably yeast extract ultrafiltrate) at 50-100 mg/liter, and at least one plant peptide

(preferably rice peptides or hydrolysate) at 100-200 mg/liter.” Id. at p. 38, ll. 1-6. This medium

was compared against a control of EMEM supplemented with 5% FBS to grow BHK-21 cells in

suspension on a shaker platform. Id. at p. 38, ll. 7-13. “In this experiment, 0.2% PLURONIC

F68 was added to both the test medium and the EMEM FBS 5% control to reduce shear

damage.” Id. at p. 38, ll. 8-9. The results, as provided in Table 9, show that the “test medium

performed as well as or better than the control.” Id. at p. 38, ll. 10-11.

                         m.     U.S. Pat. No. 6,171,825 (“the ’825 patent”) (Ex. 39)

     180.         The ’825 patent issued on January 9, 2001 and I understand it is prior art under §

102(b). I understand that the ’825 patent is listed on the face of the ’083 patent.

     181.         The ’825 patent discloses that in a “very preferred embodiment[], the medium

includes a polyglycol known as Pluronic F-68, copper sulfate, ferrous sulfate/EDTA complex,

and salts of trace metals such as manganese, molybdenum, silicon, lithium and chromium.” Ex.

39 at Abstract.

     182.         As the ’825 patent discloses, it was well-known that “Pluronic F-68, a polyglycol,

(BASF, Wyandot) is commonly used to prevent foaming that occurs in stirred cultures, and to

protect cells from shear stress and bubble damage in sparged cultures. Pluronic F-68 is a

nonionic block copolymer with an average molecular weight of 8400, consisting of a center


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block of poly(oxypropylene) (20% by weight) and blocks of poly(oxyethylene) at both ends.

Extensive research on the role of Pluronic F-68 indicates that Pluronic F-68 acts as a surfactant

and prevents damage to cells by allowing the drainage of cells away from bubbles formed in the

bioreactors during stirring or sparging.” Id. at 3:13-23.

                       n.     WO 02/077202 (“the ’202 application”) (Ex. 40)

     183.      The ’202 application published on October 3, 2002, and I understand that it is

prior art under § 102(b). I further understand that the ’202 application was not provided to the

Patent Office while the ’083 patent was being prosecuted.

     184.      The ’202 application teaches “cell culture media (particularly serum free, non-

animal derived, and/or chemically defined media) which are useful for introducing

macromolecules and compounds (e.g. nucleic acid molecules) into cells (e.g., eukaryotic cells.”

Ex. 40 (’202 application) at Abstract. The ’202 application teaches that “[t]ypically, cell culture

media formulations are supplemented with a range of additives, including undefined components

such as fetal bovine serum (FBS) (5-20% v/v) or extracts from animal embryos, organs or glands

(0.5-10% v/v).” Id. at p. 5, ll. 25-28. But “the use of serum or organ/gland extracts in tissue

culture applications has several drawbacks,” including variation between lots, contamination

with infectious agents, difficulty in the defining the nutritional and hormonal requirements of

cultured cells, and increased complication and cost in the purification of a desired

biopharmaceutical product from the culture media. Id. at p. 6, l. 17 – p. 7, l. 4.       Likewise,

serum-free medium that contain other animal-derived proteins have certain drawbacks, including

risk of an immunogenic response. Id. at p. 8, l. 18 – p. 9, l. 13. But “[n]otwithstanding the

potential difficulties posed by the addition of animal derived supplements to cell culture media,

such supplements are in routine use,” including transferrin which “functions in vivo to deliver


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iron to cells.” Id. at p. 10, ll. 20-23. “To overcome the limitations of using naturally derived

metal carriers, certain metal binding compounds are being explored for use in supplying metals,

particularly zinc, iron, manganese and magnesium, to cultured cells. Simple carriers such as

chelating agents (e.g., EDTA) and certain acids or salts thereof (e.g., citrate, picolinate, and

derivatives of benzoic acid or hydroxamic acid) have been shown to be useful in certain serum-

free growth media.” Id. at p. 11, ll. 4-12. Thus, the ’202 application sought to address a need for

“a serum-free and/or chemically defined and/or protein-free medium and/or a medium lacking

animal derived materials which facilitates the growth of mammalian cells to high density and/or

increases the level of expression of recombinant protein, reduces cell clumping, and which does

not require supplementation with animal proteins, such as serum, transferrin, insulin and the

like.” Id. at p. 13, ll. 6-20.

     185.       Table 1 of the ’202 application provides an example of a cell culture medium of

the claimed invention. Id. at p. 42, ll. 18-24.




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                       o.      U.S. Pat. No. 6,475,725 (“the ’725 patent”) (Ex. 41)

     186.      The ’725 patent issued on November 5, 2002 and I understand it is prior art under

§ 102(b). I understand that the ’725 patent is listed on the face of the ’083 patent.

     187.      The ’725 patent “relates to the production of a recombinant protein in a serum-

and protein-free synthetic minimum medium” with similar focus on “serum- and protein free

medium for culturing cells expressing a recombinant protein.” Ex. 41 at 1:17-22.

     188.      The ’725 patent also discloses that “a non-ionic surface-active agent, such as, e.g.,

polypropylene glycol (PLURONIC F-61, PLURONIC F-68, SYNPERONIC F-68, PLURONIC

F-71 OR PLURONIC F-108) may be added to the medium as a defoaming agent.” Id.at 8:1-5.

Also, “[t]his agent is generally applied to protect the cells from the negative effects of aeration,

since [w]ithout the addition of a surface-active agent, the rising and bursting air bubbles may

damage those cells [w]hich are at the surface of these air bubbles. (“sparging”).[]. The amount of

non-ionic surface-active agent may range between 0.05 and 10 g/l, particularly preferred is as

low an amount as possible, between 0.1 and 5 g/l.” Id. at 8:5-13 (internal citations omitted).

                       p.      U.S. Pat. App. Publ. No. 2003/0096402 (“the ’402 application”)
                               (Ex. 42)

     189.      The ’402 application published on May 22, 2003, and I understand that it is prior

art under § 102(b). I further understand that the ’402 application was not provided to the Patent

Office while the ’083 patent was being prosecuted.

     190.      The ’402 application is directed to “methods and compositions for chemically

defined media for growth of mammalian cells for production of commercially useful amounts of

expressed proteins.” Ex. 42 (’402 application) at Abstract. Specifically, the ’402 application

“provides chemically defined media (CDF) formulations and methods that provide certain




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compounds, amino acids, lipids, carbohydrates, trace elements and/or vitamins that provide a

chemically defined media that excludes the use of non-defined animal derived raw materials

(e.g., but not limited to, primatone, albumin and Excyte™, as well as other similar materials

derived from serum or other animal derived proteins or products).” Id. at [0007]. In paragraphs

21-27, the ’402 application provides non-limiting examples of inorganic salts, carbohydrates,

vitamins and co-factors, proteins and amino acids, and trace elements and minerals. Id. at

[0021]-[0027]. The “suitable media that can be modified according to the present invention can

include one or more or a combination of Iscove’s modified media, Dulbecco’s Modified Eagle

Medium, Ham’s F-12 media.” Id. at [0030]-[0032].

    191.      In particular, the ’402 application reports that “trace elements and vitamins are

essential for the growth of myeloma cells in the absence of bovine serum and non-defined animal

derived materials.” Id. at [0039]. A chemically defined formulation of the claimed invention

may be developed “based on the addition of trace elements and vitamins to a suitable serum free

media system.” Id. The method for preparing a CDM of the ’402 application is described in

Table A1, which entails adding the components of the medium as reported in Tables A2-A3 and

B1-B4. Id. at [0042].




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     192.      The CDM from Table I of the ’402 application was compared against other

commercial chemically defined media in the growth of C463A cells, a cell line derived from

Sp2/O. Id. at [0017], [0054]-[0055]. As shown in Table II of the ’402 application, “the CDM

culture reached the highest viable and total densities among the group.” Id. at [0055].




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     193.      The ’402 application concludes that the “CDM Medium supports high cell growth

and IgG production of C1680, a Remicade producing cell line.” Id. at [0056]. As shown in

Figures A-D, the CDM medium can support high cell density, specific productivity, IgG

production, and cell viability. Id. at [0057], Figs. A-D.

                       q.      U.S. Pat. No. 6,593,140 (“the ’140 patent”) (Ex. 43)

     194.      The ’140 patent issued on July 15, 2003 and I understand it is prior art under §

102(b).     I understand that the ’140 patent was not before the Patent Office during the

prosecution of the ’083 patent.

     195.      The ’140 patent discloses that “[a]nimal cells in culture require a basal nutrient

mixture of salts, sugars, amino acids and vitamins.” Ex. 43 at 1:20-21. The “mixture is

supplemented with a biological fluid or extract, in the absence of which most cells lose viability

or fail to proliferate. The most commonly used supplement is serum.” Ex. 43 at 1:21-24.


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     196.       The ’140 patent also discloses that “[m]etal ions, especially ferrous and ferric

ions, are essential for animal cell metabolism, and are present in culture media as components of

undefined supplements such as serum, or as components of salts and trace elements included in

supplement-free media.” Id. at 1:55-59. It was well known that “[c]ellular demand for metal

ions can become high in animal cell culture, especially when high cell densities are reached and

in practice this means that metal ions need to be made continuously available in culture to

support the growth and viability of cells. To achieve this in a supplement-free medium, high

concentrations of a simple salt of the metal can be used, but it is often necessary for the metal to

be in a chelated form in the medium to facilitate cellular uptake of the metal and/or to avoid the

solubility and toxicity problems which can be associated with high metal ion concentrations.”

Id. at 1:59-2:2. According to the ’140 patent, “[t]o supply sufficient iron to cells growing in

supplement free media, simple or complex iron salts such as ferrous sulphate, ferric chloride,

ferric nitrate or ferric ammonium citrate have been used…” Id. at 2:3-12. It is important to note

that ferric ammonium citrate is the form of iron chelator specified in the ’083 patent.

                       r.     WO 2004/078955 (“the ’955 application”) (Ex. 14)

     197.       The ’955 application published on September 16, 2004. I understand it is prior art

under §§ 102 (a) and (e) to the ’083 patent. I further understand that the ’955 application was not

provided to the Patent Office while the ’083 patent was being prosecuted.

     198.       The ’955 application discloses “a cell culture medium substantially free of

exogenous components of primary animal origin suitable for” culturing animal, preferably

human, cells.    Ex. 14 (’955 application) at Abstract.       The ’955 application teaches that

“[c]onventionally, anchorage-dependent cells are cultured in media containing serum or other

animal-origin components as substitutes for the serum, such as bovine serum albumin (BSA) or


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protein hydrolysates . . .. Serum is a major source for metabolites, hormones, vitamins, iron

(transferrin), transport proteins, attachment factors (e.g. fibronectin), spreading and growth

factors. It is required for the growth of many animal cells culture in vitro.” Id. at p. 1, ll. 26-33.

However, “[t]here are various disadvantages linked to the use of serum and of animal-derived

components in these processes, mainly their cost, the batch to batch variability in their

composition, their association with a higher contamination risk by adventitious agents, and the

subsequent difficulties encountered in downstream processing (e.g. purification to get rid of the

serum-proteins or of the introduced animal-derived proteins).” Id. at p. 2, ll. 17-22.

     199.      The ’955 application describes “a cell culture medium substantially free from

exogenous components of primary animal origin and comprising at least one exogenous growth

factor of non-animal secondary origin, [that] can advantageously replace conventional culture

media and serum-free media which are known to contain components from exogenous primary

and/or secondary animal origin.” Id. at p. 3, ll. 25-29. Specifically, the cell culture medium

preferably comprises “more than one, exogenous growth factor of non-animal secondary origin

selected from the list consisting of EGF, FGF, tri-iodo-L tyronine and hydrocortisone and at least

one IGF-1 and/or Insulin of non-animal secondary origin.” Id. at p. 4, ll. 4-9. Table 2 of the

’955 application “shows the concentration range, and the preferred concentration of growth

factor(s) and protein hydrolysates as added in the fresh medium.”




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Id. at p. 11, ll. 14-20.

       200.      The ’955 application teaches that suitable cell culture media for use with the

claimed invention are “animal-free standard media such as DMEM-based (high glucose

Dulbecco’s Modified Eagle’s Media), MEM (Minimum Essential Medium Eagle, (Medium 199,

RPM-1 1640, all commercially available … and further adequately supplemented with growth

factor(s) and optionally with a protein hydrolysate of non-animal origin as taught above,” such as

in Table 2. Id. at p. 12, ll. 4-9. “Alternatively, depending on the cell type to be cultivated, the

fresh medium is an animal-free medium prepared from each of the individual components and

comprises (list non-exhaustive) a source of carbohydrates, inorganic salts ingredients, trace of

elements, amino acids (including non-essential), vitamins, nucleotides/nucleosides, fatty acids,

antibiotics, oxidation stabilisers and water, suitably supplemented with non-animal origin

exogenous growth factor(s) and optionally but preferably with non-animal origin protein

hydrolysate as taught above.” Id. at p. 12, ll. 12-18. Example I.1 and Table 3 provide “an

example of a basic composition of such a medium.” Id. at p. 12, ll. 19-20; see also id. at p. 21, ll.

5-7.




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     201.       In Example I.2, a cell culture medium comprising the cell culture medium

described in Example I.1 and Table 3 was compared against a control, referred to as

supplemented Ultra-MEM. See e.g., Id. at p. 24, ll. 9-15. Ultra-MEM is a commercially

available medium, sold by BioWhittaker, that is “free from components of animal-origin but is

classically designed, according to the manufacturer’s instruction, to be supplemented with a

small quantity of serum (such as less than 10%) and other additives (ITES = Insulin (animal

origin) + Transferrin (animal origin) + Ethanolamine + Selenium).” Id. In this comparative

study, the Ultra-MEM was supplemented with the following ingredients: IGF-1, EGF, βFGF,

triiodo-L-tyrosine (T3), wheat peptone EI, ferric fructose, and sodium pyruvate. Id. at p. 24, ll.

18-27. The ingredients glutamine, glucose, selenium (Na2SeO3), and ethanolamine were added

“to optimize the culture process carried out in the absence of components of animal-origin.” Id.

at p. 24, l. 29 – p. 25 l. 3. As illustrated in Figures 4-6, the medium as defined in Example I.2

(supplemented ultra-MEM medium) provided equivalent results in cell density, cell viability, and

cell growth as the medium defined in Example I.1 (individual components). Id. at Figs. 4-6; p.

19, ll. 26-34; p. 25, ll. 16-25.




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       C.      Differences Between The Claimed Invention And The Prior Art

     202.      In determining the differences between the prior art and the claims, I have been

informed that the question is whether the differences between the claimed invention and the prior

art are such that the claimed invention as a whole would have been obvious. I understand that a

prior art’s disclosure, as a whole, must be considered, and the mere disclosure of more than one

alternative does not constitute a teaching away from any of these alternatives because such

disclosure does not criticize, discredit, or otherwise discourage the solution claimed.

     203.      As explained above, as of the 1990s and early 2000s, many researchers were

creating and experimenting with new cell culture media, particularly basal media that are serum

free. See Ex. 55 (Epstein Dep. Tr.) at 26:16-27:15. A basal media that was serum free and

chemically defined was particularly preferred, because not only was serum expensive, the

ingredients were all known chemical compounds. A CDM also facilitated easier purification of

expressed proteins and decreased risks of potentially dangerous contamination. In that regard, in

the early 1990s, a number of commercially serum-free media became available, including serum-

free media for hybridomas (e,g., Hybridoma-SFM in 1990). As of the early 2000s, there existed

a number of popular commercially available chemically defined media, such as CD-Hybridoma,

which were designed for recombinant myeloma lines as well as traditional hybridomas. Ex. 44

(Gibco, Cell Culture (Summer 2002)).          According to its manufacturer at the time, CD

Hybridoma medium “streamlines purification and downstream processing.” Id. at 3. Moreover,

“[b]ecause it is manufactured without animal-derived materials, it is less likely to contain

adventitious agents.” Id. Its formulation, however, was proprietary and not known publicly.

     204.      Therefore, a POSA working in the field of cell culture media in the early 1990s

had a strong motivation to develop one’s own synthetic cell culture media that was not


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dependent upon serum. Among other reasons, one would have known exactly what was included

in the formulation, so the medium could then be adjusted or supplemented as needed for a

particular cell line or recombinant protein product. Developing one’s own medium, particularly

for biopharmaceutical manufacturers, would have been a priority, because one’s own medium

gives the company a proprietary formulation that is not controlled by a third-party company. If

the manufacturing of the third-party medium is shut down for some reason, the company may

experience significant delays in getting a new medium approved for manufacture of the

recombinant protein product.

     205.      As of 2003, a POSA would have started with several well-known principles and

options in formulating one’s own proprietary basal cell culture media. A POSA would have

known that a cell culture medium needs a number of categories of ingredients, such as amino

acids, vitamins, inorganic salts, trace elements, buffers, and other components, and would have

known of specific ingredients within these categories that are beneficial for inclusion in cell

culture media. A POSA also would have known that there already existed several well-tested,

publicly-known basal media, such as DMEM:F12 and eRDF and serum-replacement factors such

as trace elements (Ex. 49 (Kitano) at 77-78) and ITES (Ex. 11 (Jayme 1997) at 98), as well as

optimized media for particular cell lines, and would have had at his or her disposal the literature

disclosing the specific ingredients and quantities of ingredients in such media. This knowledge

and literature would have served as good starting points from which to create one’s own

proprietary optimized media.

     206.      As discussed in more detail below, the asserted claims of the ’083 patent are

invalid, because they would have been obvious to a POSA in view of, at a minimum, (1) Jayme

1997, in view of the ’704 patent and knowledge of a person of ordinary skill in the art; (2) the


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’614 application in view of the knowledge of a person of ordinary skill in the art; or (3) the ’955

application in view of the knowledge of a person of ordinary skill in the art. Because the state of

the art in the field of cell culture media, including particularly the types and quantities of

ingredients beneficial to growing eukaryotic cells and propagating eukaryotic cell lines, was well

developed and well understood as of October 2003, numerous publications support and evidence

the knowledge of POSA as of and prior to October 2003, and also provide additional support for

motivation to combine prior art references.

     207.      Further, to the extent that the inventors are merely providing a list of ingredients

where other, unclaimed ingredients can be added, then, in my opinion, this is merely an

invitation for a POSA to perform routine experimentation to develop a nutritive cell culture

medium, a process and a goal that had been used for decades prior to the ’083 patent. See e.g.,

Ex. 54 (Epstein Dep. Tr.) at 19:14-20:8.

               1.     The Asserted Claims of the ’083 Patent Would Have Been Obvious
                      Over Jayme (1997) In View Of The ’704 Patent And The Knowledge
                      Of A POSA.

     208.      A POSA would have viewed Jayme 1997, as a good starting point, because it

described the history of basal medium development for serum-free culture. Jayme described the

evolution of basal synthetic formulations to support mammalian cell culture applications, with

particular emphasis on DMEM/F12 and eRDF basal media formulations. Jayme 1997 noted that

although other combinations of classical formulations (e.g., IMDM/F12, M199/F10) have been

implemented for selected applications, DMEM/F12 was “the most widely utilized basal synthetic

medium.” Ex. 11 (Jayme 1997) at 96. Indeed, DMEM/F12 was used as the starting point for the

’083 medium development. See Ex. 54 (Epstein Dep. Tr.) at 29:7-19.




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    209.        Jayme 1997 describes how, beginning with the basal DMEM/F12 formulation,

researchers came up with ITES and eRDF. Jayme 1997 noted that as of 1997, Dr. Murakami’s

basal formulation eRDF, in particular, “is widely used, either by name or by composition,

throughout much of the global biotechnology community.” Ex. 11(Jayme 1997) at 99. Jayme

1997 further encourages other researchers to engage in stepwise improvement of basal medium

formulations.

    210.        In reviewing Jayme 1997, a POSA would have focused in particular on

DMEM/F12 and eRDF for developing a serum-free medium promoting rapid cell growth to high

cell concentrations in bioreactors. As discussed above, eRDF is a combination of three well-

known media: RPMI (“R”), DMEM (“D”) and F12 (“F”) that is enhanced (“e”) with greater

concentrations of amino acids and vitamins, thereby promoting greater cell densities. Id., at 97-

98. As Jayme 1997 notes, eRDF had withstood the test of time and industry, as it is “widely

used” throughout the world and biotechnology industry. Id. at 99.         A POSA would have

recognized, however, that eRDF omits several ingredients that were disclosed in the prior art

DMEM/F12 composition as being essential.

    211.        Therefore, as demonstrated in Glacken Table 1 below, eRDF and DMEM/F12—

in view of the disclosures in Jayme 1997—contain almost every ingredient claimed in claim 1 of

the ’083 patent (as well as some others). As discussed below, those ingredients that are missing

(highlighted below in light orange) were well-known trace ingredients used in cell culture media.




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                                  Glacken Table 1:
          Comparison of ’083 Patent Claims 1 & 2 and Jayme 1997 Disclosure
                                                                                Jayme
                                                           7,598,083            1997 6
                                                        Low        High
          Components                  Formula          (mg/L)     (mg/L)        mg/L
                7
    L-Alanine                                              0.00     150.00       6.68
    L-Arginine HCl                                       200.00    5000.00      582.00
    L-Asparagine.H2O                                      40.00     250.00      94.50
    L-Aspartic Acid                                       20.00    1000.00      39.90
    L-Cysteine.HCl.H2O                                    25.00     250.00      105.40
    L-Cystine.2HCl                                        15.00     150.00      31.29 8
    L-Glutamic Acid                                        0.00    1000.00      39.70
    L-Glutamine                                            0.00    1022.00     1000.00
    Glycine                                                0.00     150.00      42.80
    L-Histidine.HCl.H2O                                  100.00     500.00      75.00
    L-lsoleucine                                          50.00    1000.00      157.50
    L-Leucine                                             50.00    1000.00      165.30
    L-Lysine.HCl                                         100.00    1000.00      197.30
    L-Methionine                                          50.00     500.00      49.20
    L-ornithine.HCl                                        0.00     100.00
    L-Phenylalanine                                       25.00    1000.00      74.30
    L-Serine                                              50.00     500.00      85.10


6
  As disclosed in Ex. 1 (Jayme 1997). Jayme also describes in detail Ex. 28 (Murakami 1989).
7
   I note that any ingredient disclosed in claim 1 that has a minimum concentration range
beginning at “0” or zero is optional. This ingredient does not need to be added to the claimed
cell culture media. Therefore, even though these ingredients were available in the prior art
specifically for inclusion in cell culture media, there is no reason for me to further opine on these
ingredients. (See e.g., Ex. 31 (’468 patent) at 1:62-2:10; 5:34-6:14 (disclosing “L-ornithine” at
line 54); 8:15-18; 1:62-2:10; 5:34-6:14 (disclosing “taurine” at line 58)). I also understand that
Janssen has conceded this point by asserting that the HyClone medium infringes claim, despite
the fact that it lacks sodium hypoxanthine and thymidine. Ex. 45 (Plaintiffs’ Preliminary
Infringement Contentions) at 5, 7 (acknowledging that HyClone’s cell media do not contain the
recited ingredients sodium hypoxanthine and thymidine, yet still asserts infringement of these
claim limitations)).
8
  L-Cystine.2HCl is part of DMEM/F12. Cystine is formed from two cysteine molecules and L-
cysteine is oxidized to L-cystine relatively easily, in vitro. See Ex. 6. By 2003, a POSA would
have recognized that both cysteine and cystine may be helpful to a cell culture.


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                                   Glacken Table 1:
           Comparison of ’083 Patent Claims 1 & 2 and Jayme 1997 Disclosure
                                                                              Jayme
                                                          7,598,083           1997 6
                                                       Low        High
           Components                Formula          (mg/L)     (mg/L)        mg/L
    L-Taurine                                             0.00    1000.00
    L-Threonine                                          50.00     600.00     110.80
    L-Tryptophan                                          2.00     500.00      18.40
    L-Tyrosine.2Na.2H2O                                  25.00     250.00     87.00 9
    L-Valine                                            100.00    1000.00     108.90
    D-Glucose                                           500.00    8000.00     3424.00
    Vitamin B-12                                          0.05          5      0.34
                 10
    (D-)Biotin                                            0.04       1.00      0.10
    Choline Chloride                                      1.00     100.00      12.29
    Folic Acid                                            1.00      10.00      1.81
    i-Inositol                                           10.00    1000.00      46.80
    Niacinamide (nicotinamide) 11                         0.50      30.00      1.50
    D-Calcium Pantothenate                                0.10       5.00      0.67
    Pyridoxine HCl                                      0.5000    30.0000     0.5000
    Riboflavin                                            0.05       5.00      0.21
    Thiamine HCl                                          0.50      20.00      1.60
    Thymidine                                             0.00       3.00      0.18
    Putrescine.2HCl                                       0.03       0.25      0.04
    Pyruvate (Na salt)                                    0.00    1000.00     110.00
    DL-α-Lipoic acid 12                                   0.03       1.00      0.05
    Linoleic Acid                                         0.01       2.00      0.02
    p-Aminobenzoic acid                                   0.10      20.00      0.51


9
  eRDF uses L-Tyrosine. In my experience, tyrosine in its native state is not particularly soluble.
Using this salt form would increase the solubility of this amino acid.
10
   I note that Jayme 1997 disclosed “biotin” which is more generic than D-biotin, as disclosed in
the ’083 patent and would include, to a POSA, D-biotin.
11
   Niacinamide and nicotinamide are interchangeable terms for the same compound. Jayme 1997
discloses Niacinamide.
12
   Jayme 1997 discloses lipoic acid, a generic term that would encompass the species “DL-α-
lipoic acid”


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                                   Glacken Table 1:
           Comparison of ’083 Patent Claims 1 & 2 and Jayme 1997 Disclosure
                                                                              Jayme
                                                          7,598,083           1997 6
                                                       Low        High
           Components                Formula          (mg/L)     (mg/L)       mg/L
                    13
     Ethanolamine                                         2.00     100.00        *
                                  MgCl2                  15.00      50.00     28.64 14
                                  MgSO4                  20.00      80.00     66.20
                                  KCl                   280.00     500.00     373.00
                                  Na2HPO4                30.00     100.00     71.02 15
                                  NaCl                5000.00     7500.00    6435.00
                                  NaH2PO4.H2O            30.00     100.00     62.50 16
                                  CaCl2                   5.00     200.00    116.60 17
     HEPES buffer (claim 2)                          “Buffering Molecule”   1190.00 18
                                  CoCl2.6H2O         0.001000    0.100000
                                  (NH4)6Mo7O24       0.001000    0.005000
                                  NiSO4.6H2O         0.000025    0.000500
                                  Na2SeO3            0.004000    0.070000
                                  Na2Si03.9H2O       0.020000    0.400000
                                  SnCl2.2H2O         0.000025    0.000500
                                  NH4VO3             0.000010    0.002500
                                  CuSO4.5H2O              0.00       0.01    0.00075


13
   Although ethanolamine is not specifically named as part of eRDF, Dr. Murakami—who made
eRDF—taught that for certain cell lies, such as hybridomas, ethanolamine was “an essential
component.” Ex. 11 (Jayme 1997) at 101 (citing Ex. 27 (Murakami 1982)). Therefore, a POSA
would have viewed eRDF as requiring ethanolamine when being developed for a cell line
including hybridomas. “Murakami’s careful studies identified yet another nutrient commonly
required as an ingredient for serum-free cultivation of hybridomas and other rapidly proliferating
cell types, ethanolamine.” Ex. 11 (Jayme 1997) at 98. Further, Kitano discloses the importance
of ethanolamine. Ex. 49 at 84.
14
   As disclosed by DMEM/F12 in Jayme 1997.
15
   As disclosed by DMEM/F12 in Jayme 1997. eRDF uses sodium phosphate dibasic anhydrous
at 1220.00 mg/L.
16
   As disclosed by DMEM/F12 in Jayme 1997.
17
   As disclosed by DMEM/F12.
18
   HEPES is a well-known buffering agent, as required by asserted claim 2.


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                                      Glacken Table 1:
              Comparison of ’083 Patent Claims 1 & 2 and Jayme 1997 Disclosure
                                                                                 Jayme
                                                             7,598,083           1997 6
                                                          Low        High
              Components                 Formula         (mg/L)     (mg/L)       mg/L
                                     FeSO4.7H2O             0.05       0.50       0.22
                                     Fe(NO3)3.9H2O          0.01       0.08
      Ferric ammonium citrate                               0.04     200.00
                                     ZnSO4.7H2O             0.40       1.20       0.23
                                     MnSO4.H2O           0.00007    0.00800
      Na Hypoxanthine                                       0.00      20.00       1.00
      Cell protectant (Claim 2)                                                Serum 19


       212.       Starting with eRDF, in creating a proprietary cell culture medium for mammalian

cells, a POSA would have made a number of routine adjustments, including the addition of

ethanolamine and trace elements. Ex. 11 (Jayme 1997) at 98.

                          a.      A person of ordinary skill in the art would have included the
                                  well-known ingredient, ethanolamine.

       213.       First, Jayme 1997 suggests the use of ethanolamine. Jayme emphasizes that

“ethanolamine” was a “nutrient commonly required as an ingredient for serum-free cultivation

of hybridomas and other rapidly-proliferating cell types”—exactly like the cells tested in the

’083 patent. Ex. 11 (Jayme 1997) at 98; see also Ex. 1 (’083 patent) at 9:48-52 (disclosing SP2

cells – a hybridoma/rapidly proliferating cell type). Specifically, it has been known since at least

1981 that ethanolamine is a “necessary growth-promoting material[]” for cells such as SP2 cells

(the ones tested in the ’083 patent). Ex. 27 (Murakami 1982) at 1158. Also, ITES “has been

commercialized by several suppliers, both as a serum extender to permit superior culture



19
     Jayme 1997 discloses the use of serum as “protecti[ng] from shear stress.” Ex. 11 at 95.


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performance with reduced serum supplementation and as an additive to DMEM/F12 and similar

basal media to permit serum-free cultivation of many cell types.” Ex. 11 (Jayme 1997) at 98. As

eRDF comprises DMEM/F12 and it was well known to often be supplemented with ITES, as

instructed by at least Jayme 1997 and Murakami 1987, which included ethanolamine, a person of

ordinary skill in the art would be motivated to combine that supplement with eRDF or

DMEM/F12 to improve the nutritive nature of the cell media.

                      b.      A person of ordinary skill in the art would have included the
                              well-known trace elements.

     214.      Second, Jayme 1997 suggests that there was a “common requirement for

supplementation of the basal formulation with…various trace elements (including selenium)

[which] persist[ed] as universal constituents of serum-free media.” Ex. 11 (Jayme 1997) at 98.

Trace metals were readily available and had been used in cell culture media for years. For

example, the ’704 patent discloses “a trace element mixture suitable for use in a protein-free

tissue culture medium.” Ex. 12 (’704 patent) at Abstract. As the ’704 patent discloses, “protein

supplements could be eliminated from media used to grow monoclonal antibody-producing

hybridoma cell lines by replacing the protein supplements in an otherwise rich, balanced basal

media with a mixture of trace elements.” Ex. 12 (’704 patent) at 3:21-26. Further, “th[e] mixture

of trace elements can be used to replace serum components in media known to be useful for

growing hybridoma cell lines and other animal cells.” Ex. 12 (’704 patent) at 3:26-29. The ’704

patent discloses every trace metal claimed in claim 1 of the ’083 patent—cobalt, molybdenum,

nickel, selenium, silicon, tin, vanadium, copper, iron, zinc, and manganese:




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Ex. 12 (’704 patent) at 2:36-58.

     215.      In addition, as set forth in Glacken Table 2, the concentrations claimed in the ’083

patent and disclosed by the ’704 patent of the trace elements completely overlap:

                                      Glacken Table 2:
       Comparison of ’083 patent claim 1 and the ’704 patent trace element supplements
                                                           US Patent
                                                         7,598,083 B2          ’704 patent 20
                                                       Low           High        Minimum
         Components                  Formula          (mg/L)        (mg/L)        mg/L21
                                    CoCl2.6H2O        0.001000     0.100000         6.0 x 10-10
                                   (NH4)6Mo7O24       0.001000     0.005000         4.8 x 10-11
                                    NiSO4.6H2O        0.000025     0.000500         1.4 x 10-11
                                      Na2SeO3         0.004000     0.070000         2.6 x 10-9
                                    Na2Si03.9H2O      0.020000     0.400000         7.0 x 10-9
                                     SnCl2.2H2O       0.000025     0.000500         3.1 x 10-11




20
  Ex. 12 (’704 patent) at 2:36-57.
21
   Appendix 2 provides the calculations to establish that all of these ingredients are within the
claimed ranges, other than molybdenum. As set forth in Appendix 2, this difference is very
small and per the discussion here, would not be considered a critical difference.


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                                      Glacken Table 2:
       Comparison of ’083 patent claim 1 and the ’704 patent trace element supplements
                                                           US Patent
                                                         7,598,083 B2          ’704 patent 20
                                                       Low           High        Minimum
         Components                  Formula          (mg/L)        (mg/L)        mg/L21
                                     Na4VO3 22         0.000010    0.002500      1.3 x 10-10
                                    CuSO4.5H2O           0.00        0.01        3.1 x 10-10
                                    FeSO4.7H2O           0.05        0.50         8.4 x 10-8
                                   Fe(NO3)3.9H2O         0.01        0.08         8.4 x 10-8
      Ferric ammonium citrate                            0.04       200.00       8.4 x 10-823
                                    ZnSO4.7H2O           0.40        1.20         9.9 x 10-8
                                   MnSO4.4H2O          0.00007     0.00800       2.8 x 10-11


     216.     These minimum concentrations disclosed in the ’704 patent are “for the elements

listed, not including the compound or the ionic source of the element (e.g., for Se, not for

Na2SeO3 or SeO32-).” Ex. 12 (’704 patent) at 7:2-4. Further, “[t]he amount of compound needed

to produce these concentrations can be determined by a simple mathematical calculation from

the known atomic weight of the element and the formula weight of the compound containing

each element. In all cases, the maximum concentration of each individual element is limited by

solubility and by toxicity . . . and can be easily determined by simple experimentation if not

already known.” Ex. 12 (’704 patent) at 7:4-12.

     217.     The trace elements disclosed by the ’704 patent are known to “contain various

inorganic ions other than those which are being added as the trace elements.” Ex. 12 (’704

patent) at 5:1-3. It was also well known that “[i]ons that exist in more than one oxidation state


22
   The ’704 patent discloses a sodium form of vanadate, rather than a ammonium salt. As set
forth herein, this variation in salt form would have been well-known to a POSA and would have
been performed with a reasonable expectation of success.
23
   The ’704 patent discloses iron as a trace element used in cell culture media.


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may be provided in any convenient oxidation state.” Ex. 12 (’704 patent) at 6:9-10. Indeed, the

patent lists as examples several salt forms that can be added for each trace element. For

example, the copper salts that are listed as “[s]uitable water-soluble compounds containing the

essential trace elements for use with this invention” are ammonium copper (II) iodide, copper

(II) acetate, hexamine copper (II) chloride, copper (II) chloride, copper (I) salicylate, copper (II)

sulfate.” Id. at 6:16-63. The ’704 patent assigns no importance to the salt forms of any trace

element that is added. Therefore, in my opinion, the ’704 patent not only discloses every trace

element claimed in the ’083 asserted claims but also clearly would have motivated a person of

ordinary skill in the art to include these trace elements in media in which protein (or serum) was

not being included, such as eRDF. As noted, a person of ordinary skill in the art would have had

a reasonable expectation of success in formulating a nutritive cell culture medium by using the

eRDF media disclosed by Jayme with the addition of trace metals as taught by at least the ’704

patent.

     218.      In addition, the trace metals claimed in the ’083 asserted claims have been

commercially available for years. Evidence of this may be found in the patents of Cunningham

(EP 1754784 (Ex. 60)) and Lee (Ex. 61 (US 20030166146)). In the Cunningham patent, the

seven trace elements were provided by three trace metal mixtures provided by Gibco BRL: (i)

selenium was provided by Trace Metals A (cat #: 99-182), (ii) cobalt was provided by Trace

Metals C (cat #: 99-176); and (iii) the other five trace elements were provided by Trace Metals B

(cat #: 99-175). In the Lee patent, these trace elements were provided by trace metal mixtures

sold by Mediatech. Ex. 61 at [0109].

     219.      Glacken Table 3 illustrates the similarity of the Jayme 1997 and ’704 patent

combination in view of the asserted claims:


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                                       Glacken Table 3:
        Comparison of claims 1 &2 of the ’083 patent to Jayme 1997 and ’704 disclosures
                                                                              Jayme 1997 24/
                                                           7,598,083               ’704
                                                        Low        High
         Components                   Formula         (mg/L)      (mg/L)          mg/L
             L-Alanine 25                                0.00       150.00             6.68
           L-Arginine.HCl                               200.00     5000.00            582.00
          L-Asparagine.H2O                               40.00      250.00             94.50
           L-Aspartic Acid                               20.00     1000.00             39.90
         L-Cysteine.HCl.H2O                              25.00      250.00            105.40
           L-Cystine.2HCl                                15.00      150.00            31.29 26
           L-Glutamic Acid                               0.00      1000.00             39.70
            L-Glutamine                                  0.00      1022.00            1000.00
               Glycine                                   0.00       150.00             42.80
         L-Histidine.HCl.H2O                            100.00      500.00             75.00
             L-isoleucine                                50.00     1000.00            157.50
              L-Leucine                                  50.00     1000.00            165.30
            L-Lysine.HCl                                100.00     1000.00            197.30
            L-Methionine                                 50.00      500.00             49.20
           L-ornithine.HCl                               0.00       100.00
           L-Phenylalanine                               25.00     1000.00             74.30
              L-Proline                                  0.00      1000.00             55.30

24
   As disclosed in Ex. 1 (Jayme 1997), Ex. 12 (’704 patent). Jayme 1997 also describes in detail
Ex. 28 (Murakami 1989)..
25
   I note that any ingredient disclosed in claim 1 that has a minimum concentration range
beginning at “0” or zero is optional. This ingredient does not need to be added to the claimed
cell culture media. Therefore, even though these ingredients were available in the prior art
specifically for inclusion in cell culture media, there is no reason for me to further opine on these
ingredients. See e.g., Ex. 31 (’468 patent) at 1:62-2:10; 5:34-6:14 (disclosing “L-ornithine” at
line 54), 8:15-18, 1:62-2:10; 5:34-6:14 (disclosing “taurine” at line 58). I also understand that
Janssen has conceded this point by asserting that the HyClone medium infringes claim, despite
the fact that it lacks sodium hypoxanthine and thymidine. Ex. 45 (Plaintiffs’ Preliminary
Infringement Contentions) at 5, 7 (acknowledging that HyClone’s cell media do not contain the
recited ingredients sodium hypoxanthine and thymidine, yet still asserts infringement of these
claim limitations).
26
   L-Cystine.2HCl is part of DMEM/F12. Cystine is formed from two cysteine molecules and L-
cysteine is oxidized to L-cystine relatively easily, in vitro. See Ex. 6. By 2003, a POSA would
have recognized that both cysteine and cystine may be helpful to a cell culture.


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                                         Glacken Table 3:
          Comparison of claims 1 &2 of the ’083 patent to Jayme 1997 and ’704 disclosures
                                                                                Jayme 1997 24/
                                                             7,598,083               ’704
                                                          Low        High
           Components                   Formula         (mg/L)      (mg/L)          mg/L
               L-Alanine 25                              0.00      150.00             6.68
                L-Serine                                 50.00     500.00             85.10
                L-taurine                                0.00      1000.00
              L-Threonine                                50.00     600.00            110.80
              L-Tryptophan                               2.00      500.00             18.40
          L-Tyrosine.2Na.2H2O                            25.00     250.00            87.00 27
                L-Valine                                100.00     1000.00           108.90
               D-Glucose                                500.00     8000.00           3424.00
              Vitamin B-12                               0.05         5               0.34
               (D)-Biotin                                0.04       1.00              0.10
            Choline Chloride                             1.00      100.00             12.29
               Folic Acid                                1.00       10.00             1.81
                i-Inositol                               10.00     1000.00            46.80
        Niacinamide/nicotinamide                         0.50       30.00             1.50
           D-Cal Pantothenate                            0.10       5.00              0.67
             Pyridoxine HCl                             0.5000     30.0000            0.50
               Riboflavin                                0.05       5.00              0.21
             Thiamine HCl                                0.50       20.00             1.60
               Thymidine                                 0.00       3.00              0.18
            Putrescine.2HCl                              0.03       0.25              0.04
            Pyruvate (Na salt)                           0.00      1000.00           110.00
            DL-α-Lipoic acid                             0.03       1.00              0.05
              Linoleic Acid                              0.01       2.00              0.02
          P-Aminobenzoic acid                            0.10       20.00             0.51




27
     eRDF uses L-Tyrosine.


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                                      Glacken Table 3:
       Comparison of claims 1 &2 of the ’083 patent to Jayme 1997 and ’704 disclosures
                                                                             Jayme 1997 24/
                                                          7,598,083               ’704
                                                       Low        High
        Components                   Formula         (mg/L)      (mg/L)          mg/L
            L-Alanine 25                                0.00       150.00              6.68
           Ethanolamine                                 2.00       100.00              * 28
                                      MgCl2             15.00      50.00             28.64 29
                                      MgSO4             20.00      80.00              66.20
                                       KCl             280.00      500.00            373.00

                                     Na2HPO4            30.00      100.00            71.02 30
                                       NaCl           5000.00     7500.00            6435.00

                                   NaH2PO4.H2O          30.00      100.00            62.50 31

                                       CaCl2            5.00       200.00           116.60 32
                                                     “Buffering
                                                     Molecule”
                                                         33
       HEPES buffer (Claim 2)                                                        1190.00
                                    CoCl2.6H2O        0.001000    0.100000          6.0 x 10-10
                                   (NH4)6Mo7O24       0.001000    0.005000          4.8 x 10-11
                                   NiSO4.6H2O         0.000025    0.000500          1.4 x 10-11
                                     Na2SeO3          0.004000    0.070000          2.6 x 10-9
                                   Na2SiO3.9H2O       0.020000    0.400000          7.0 x 10-9
                                    SnCl2.2H2O        0.000025    0.000500          3.1 x 10-11
                                       VO3            0.000010    0.002500          1.3 x 10-10


28
   Although ethanolamine is not specifically named as part of eRDF, Dr. Murakami—who made
eRDF—taught that for certain cell lines, such as hybridomas, ethanolamine was “an essential
component.” Ex. 11 (Jayme 1997) at 101 (citing Ex. 27 (Murakami 1982)). Therefore, a POSA
would have viewed eRDF as requiring ethanolamine when being developed for a cell line
including hybridomas. Also, Murakami’s careful studies identified yet another nutrient
commonly required as an ingredient for serum-free cultivation of hybridomas and other rapidly
proliferating cell types, ethanolamine.” Ex. 11 (Jayme 1997) at 98.
29
   As disclosed by DMEM/F12. Ex. 11 (Jayme 1997) at Table 1.
30
   As disclosed by DMEM/F12. eRDF uses sodium phosphate dibasic anhydrous at 1220.00
mg/L. Ex. 11 (Jayme 1997) at Table 1.
31
   As disclosed by DMEM/F12. Ex. 11 (Jayme 1997) at Table 1.
32
   As disclosed by DMEM/F12. Ex. 11 (Jayme 1997) at Table 1.
33
   HEPES is a well-known buffering agent, as required by asserted claim 2.


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                                       Glacken Table 3:
        Comparison of claims 1 &2 of the ’083 patent to Jayme 1997 and ’704 disclosures
                                                                              Jayme 1997 24/
                                                           7,598,083               ’704
                                                        Low        High
         Components                   Formula         (mg/L)      (mg/L)          mg/L
             L-Alanine 25                                  0.00      150.00              6.68

                                         CuSO4.5H2O        0.00       0.01             .00075

                                         FeSO4.7H2O        0.05       0.50               .222

                                        Fe(NO3)3.9H2O      0.01       0.08               .025
      Ferric ammonium citrate 34                           0.04      200.00

                                         ZnSO4.7H2O        0.40       1.20               .23
             Manganese                    MnSO4.H2O       0.00007    0.00800          2.8 x 10-11
        Hypoxanthine (Na salt)                             0.00       20.00              1.00
       Cell Protectant (Claim 2)                                                      “Serum” 35

                         c.        A POSA would have made small changes to the concentrations
                                   of certain ingredients with a reasonable expectation of success.

     220.       I note that the only ingredients that fall outside the literal ranges reported in the

’083 patent are L-Histidine.HCl.H2O and L-Methionine. L-histidine is just 25% lower (75

mg/mL vs. 100 mg/L). L-methionine is only slightly less : vs. 50 mg/L. I understand that

Janssen has alleged that the accused media still infringes the asserted claims even though several

ingredients’ concentrations in the HyClone media fall outside the claimed ranges. See Ex. 45

(Janssen’s Preliminary Infringement Contentions) at 11 (arguing that CoCl2.6H2O which is

present in a third of the minimum concentration still infringes), 13 (despite Na2HPO4 being

provided at 374.5 mg, when the maximum concentration range value in the ’083 patent is 100

mg, alleged still infringes). The variance of these ingredients is far less than that demonstrated



34
   The ’704 patent discloses the need for iron elements in cell culture media. See e.g., Ex. 12 at
Abstract.
35
   Jayme 1997 discloses the use of serum as “protecti[ng cells] from shear stress.” Ex. 11 at 95.


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by the accused products. Therefore, to the extent that HyClone’s media are deemed to infringe

the claims of the ’083 patent, the prior art ingredients that have concentrations outside the

specific range should also be viewed to disclose the concentrations of claim 1.

     221.      Even so, to the extent Janssen argues that this concentration difference is

substantial, it is well established that amino acids levels would have been routinely adjusted to

suit the cell type before October 2003. For example, Kitano instructed that “[t]he consumption

rate of amino acids during cultivation must be analyzed and the limiting ones have to be

supplemented on a case-by-case basis”. See Ex. 49 (Kitano, K., “Serum-Free Media” in Animal

Cell Bioreactors, 1991) (“Kitano”) at 77. Epstein in his deposition followed this teaching,

indicating that he tested the spent medium for amino acids so as to adjust their concentration.

Ex. 55 (Epstein Dep.) at 101:10-12. Adjusting the individual amino acid levels to improve

culture performance may also be performed empirically from statistically designed experiments

as shown by Castro et. al., 1992. Ex. 46 (Castro, P., et al., “Application of a statistical design to

the optimization of culture medium for recombinant interferon-gamma production by Chinese

hamster ovary cells,” APPL. MICROBIOL. BIOTECHNOL., 38:84-90 (1992) (“Castro 1992”) at 84.

Thus, it is not unexpected that one or two amino acids need to be adjusted outside the range to

accommodate a specific cell line or cell clone. This is confirmed by Ozturk Dissertation 1990

which disclosed, “[t]he media developed [we]re, in many cases, cell line specific. Hence each

cell line ha[d] to be treated separately.” Ex. 24 (Ozturk Dissertation 1990) at 229.

                       d.      Active moieties, regardless of their salt and hydration forms
                               would have been obvious to a POSA, who would have included
                               these ingredients with a reasonable expectation of success.

     222.      To the extent Janssen argues that any of the ionic forms, active moieties, or

sources of the same differ between the prior art and the ’083 patent, I disagree.            First, I


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understand that Janssen has alleged that various ionic states of certain ingredients do not limit the

scope of these claims, for example, the claims apparently read on the HyClone media, despite

the fact that the ionic states do not match exactly. Ex. 45 (Plaintiffs’ Preliminary Infringement

Contentions served March 3, 2016) at 9 (arguing that the “active moiety,” such as copper, is the

critical inquiry, not the hydration state.) To the extent Plaintiffs maintain this assertion, the same

is also true of the prior art and the knowledge of a person of ordinary skill in the art. For

example, it was well known in the prior art, such as in U.S. 5,232,848, Table 1 disclosed a listing

of the components of a specific cell medium, including the molecular weight and the

concentration of each component. Ex. 47 (’848 patent) at Table 1, 4:3-5.

     223.      Second, it was well known that those components were “given in the physical and

ionization states common in the art of media formulation” but may be replaced with “other

physical and/or ionization states…if desired.” Ex. 47 (’848 patent) at 4:64-68. Further, “[t]he

concentration of [most] of the ingredients … may be varied from that listed in TABLE 1 by as

much as a factor of two as long as the osmolarity, pH, and sodium-to-potassium ratio” were

maintained in the ranges disclosed. Ex. 47 (’848 patent) at 4:68-5:5.

     224.      Therefore, in my opinion, as confirmed by the prior art, the specific ionic source

or hydration of the trace elements is, in general, not a critical distinction. The compounds will

disassociate when placed in the aqueous cell culture media and function the same.                One

exception could be the phosphate salts for laboratory scale cell culture as the ratio of the

monobasic to dibasic phosphate salts would act to buffer the pH. On the other hand, in medium

with high concentrations of strong buffers, such as sodium bicarbonate or MOPS or in bioreactor

cultures (such as those disclosed by the ’083 patent (Ex. 1 at 7:6-27)) where the pH is controlled

via an on-line controller that adds acids or base as required, the ratio of the phosphate salts would


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be rendered unimportant. I note that the ’083 patent specification makes no mention of any

critical ionic source for any of the ingredients. Therefore, one of ordinary skill in the art would

understand that, as confirmed by the ’704 patent, any ionic source could be reasonably used to

achieve the claimed element concentration.

                       e.      Using different, but suitable forms of iron was well known in
                               the art and a POSA would have used them to replace
                               transferrin in serum-containing media.

     225.       To the extent that Janssen argues that the prior art does not disclose suitable forms

of iron for use in cell culture media, the ’704 patent instructs that iron ions, in various and well-

known forms, could be added to cell culture media, along with the other trace elements. Ex. 12

(’704 patent) at 6:9-66. Specifically, the replacement of transferrin with ferric ammonium citrate

was described in the prior art decades before the ’083 patent was filed. As early as 1995, it was

well known that ferric ammonium citrate (along with other iron-containing compounds) could be

used to replace transferrin in serum-free media. Ex. 36 (Keenan 1996) at 453. Also, it was well

known to a person of ordinary skill in the art that all cells grown in CDM require iron. See e.g.,

Ex. 31 (’468 patent) at 9:19-20; Ex. 43 (’140 patent) at 1:55-59. Such media were known to

include iron sources besides transferrin such as ferric nitrate or ferric ammonium citrate. Ex. 31

(’468 patent) at 1:62-2:10; Ex. 47 (’848 patent) at 3:13-20 (disclosing a motivation to replace

transferrin, a protein, with inorganic iron supplements because they were less expensive and

resulted in easier antibody purification from the hybridoma’s growth media); Ex. 43 (’140

patent) at 2:3-8.

     226.       For at least these reasons, one of ordinary skill in the art, in view of Jayme in

combination with the ’704 patent, and the abundant art and common general knowledge directed

specifically at developing cell culture media for hybridomas in order to express and purify


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monoclonal antibodies, would be motivated to develop a serum-free medium containing all the

ingredients claimed in claim 1 of the ’083 patent with a reasonable expectation of success.

                      f.      A POSA would have been motivated to combine Jayme 1997
                              and the ’704 patent based on his knowledge and explicit
                              disclosures in the prior art directing POSA to do so.

     227.      Further, a POSA would be motivated to combine references such as Jayme 1997

and the ’704 patent, as directed by Kitano. Ex. 49 (Kitano). Kitano discloses that “combinations

of commercially available basal media have been effectively employed for serum-free cultures”

as Kitano discloses at Table 4-1. Ex. 49 (Kitano) at 75. Specifically, Kitano discloses that a

serum free media “consisting of RDF medium, ITES…” is effectively used with hybridomas.

Ex. 49 (Kitano) at 94. Also, on the same page, Kitano discloses that supplements of “22 trace

elements” were well known for use in producing monoclonal antibodies in protein-free media –

which includes eRDF. Id. Kitano cites one of Cleveland’s publications (the author of the ’704

patent) as prior art that discloses including trace elements in tissue culture media for producing

monoclonal antibodies. Therefore, a POSA would clearly be motivated to combine well-known

media and trace element supplements to manufacture a cell culture medium. Moreover, Kitano

also instructs in this single reference, the replacement of transferrin with ammonium ferric

citrate. Ex. 49 (Kitano) at 83 (“Two highly water soluble iron salts, ferric ammonium citrate and

ferric ammonium sulfate, can completely replace transferrin to support growth.”)

     228.      Therefore, in this one reference, Kitano instructs a POSA to use “[c]ombinations

of commercially available basal media” as an “easy way to complement ingredients required in

serum-free culture.” Ex. 49 (Kitano) at 75. Kitano also gives examples of such combinations as

DMEM:F12 and eRDF. Id. To this, Kitano teaches to use a “medium supplemented with 22

trace elements” and teaches “ferric ammonium citrate . . . .can replace transferrin.” Id. Thus,


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this reference would have clearly motivated a POSA to create a cell culture medium comprising

all the ingredients disclosed in the ’083 patent.

                       g.      Claim 2 provides no novel aspects: Cell protectants and buffers
                               were well known in the art as of 2003.

     229.      Claim 2, which depends on claim 1, merely requires the addition of a cell

protectant and a buffering agent with a pKa between 5.9 and 7.8. Both of these limitations were

well known in the art and thus, in my opinion, would have also been obvious in view of the prior

art and the knowledge of a POSA.

     230.      Cell protectants have been known to be important for tissue culture for years. It

was well known that protectants such as pluronics worked to prevent cells from adhering to the

surface of bubbles formed in the liquid media. See e.g., Ex. 63 (Chalmers, J., “Cells and bubbles

in sparged bioreactors”, CYTOTECHNOLOGY 15:31-320 (1994)). When these bubbles detached

from the surface, it was well known that this would kill the attached cells. Id. These protectants

were known to include serum, bovine serum albumin, or pluronics (such as Pluronic® or

Tween® compounds). Ex. 12 (’704 patent), Ex. 24 (Ozturk Dissertation 1990) at 77; Ex. 31

(’468 patent) at 1:62-2:10; 5:34-6:14 (disclosing “Tween 80” at line 41); 8:30-37 (disclosing

Tween 80 as an ingredient in CDM for hybridomas and identifying Pluronic F-68, a nonionic

surfactant as a well-known substitute); Ex. 41 (’725 patent) at 8:1-10; Ex. 39 (’825 patent) at

3:12-34 (disclosing Pluronic® F-68 as commonly used “to protect cells from shear stress.”).

Jayme 1997 confirms that serum was well-known to provide “protection from shear stress and

vessel adsorption” for cells grown in serum-containing cell culture media. Ex. 11 (Jayme 1997)

at 95.




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     231.      Buffering agents were routinely included in all cell culture medium starting from

Eagle (1955), including CDMs, to control the pH of the solution.           Buffering systems are

important for laboratory scale cultures as the cells acidify the medium as they grow, which can

become inhibitory if the pH is allowed to drop too low. See e.g. Glacken, M.W., “Bioreactor

Control and Optimization,” in Animal Cell Bioreactors, Ho, Wang, Eds., 373-404 (1991).

Extensive attention is paid to the buffering issues in CDM. It was well known that the pKa of

zwitterionic buffers such as HEPES, MOPS, BES, or TAPSO were 7.3, 6.75, 6.9, and 7.4

respectively. These values all fall within the claimed pKa range of claim 2. The ’704 patent also

teaches inclusion of HEPES buffer in cell culture media. Ex. 12 (’704 patent) at 10:61-68. The

’704 patent further discloses that a desired pH was between 7.0-7.7. Id. Jayme also discloses

that the well-known eRDF media contained HEPES buffer. Ex. 11 (Jayme 1997) at 98.

     232.      For at least these reasons, at the time of the alleged invention of the asserted

claims of the ’083 patent, it would have been obvious to one of ordinary skill in the art to

combine the references cited herein so as to practice the alleged invention claimed in the asserted

claims of the ’083 patent. The differences, if any, between the relevant prior art references and

the asserted claims of the ’083 patent would have been obvious and within the knowledge and

experience of one of ordinary skill in the art. Any modification, if needed, to achieve the

claimed invention would have been a routine experimental choice with a reasonable expectation

of success, even if not expressly disclosed in relevant prior art. See e.g., Ex. 55 (Epstein Dep.

Tr.) at 26:16-27:15.

     233.      For at least these reasons, claims 1 and 2 of the ‘083 patent would have been

obvious in view of Jayme and the ’704 patent in view of the prior art and knowledge of a POSA.




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A summary of the disclosure in the prior art regarding claims 1 and 2, in view of Jayme 1997 and

the ’704 patent is provided at Appendix 3 to my report.

              2.      The Asserted Claims of the ’083 Patent Would have Been Obvious
                      Over WO 98/15614 In View Of The Knowledge Of A POSA.

    234.      For substantially the same reasons and as shown below, the ’083 patent also is

obvious over WO 98/15614 (Ex. 13) in view of the knowledge of a POSA.

                      a.     The ’614 Application Teaches A Serum-Free, Low Protein-
                             Culture Medium Suitable For The Cultivation Of Animal
                             Cells.

    235.      As discussed above, since Dr. Eagle first published his basal medium formulation,

steady improvements have been made to his original formulation. In particular, at least as of

1997, the improvement DMEM/F12 medium “has emerged as the most widely utilized basal

synthetic medium” and “when supplemented by serum, it was capable of sustaining bioreactor

production applications.” Ex. 25 (Jayme 1997) at 96.

    236.      The ’614 application, which published in 1998, sought to address a need in the art

for a “serum-free, low protein-culture medium suitable for cultivation of animal cells, which is

completely devoid of animal or human proteins.” Ex. 13 (’614 application) at p. 6, ll. 20-22.

The ’614 application describes in Table 1 such a cell culture medium. Id. at pp. 14-18. The ’614

application teaches that “an optimal culture medium formulation for supporting the cultivation of

animal cells is the basal medium formulation shown in Table 1 [of the ’614 application],

supplemented with EGF [epidermal growth factor] at 5-10 mg/liter, yeast extract (preferably

yeast extract ultrafiltrate) at 50-100 mg/liter, and at least one plant peptide (preferably rice

peptides or hydrolysate) at 100-200 mg/liter.” Ex. 13 (’614 application) at p. 38, ll. 1-6. As

shown in Example 6, in tests for growth of BHK-21 cells in suspension, this optimal culture




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medium “performed as well as or better than the control,” which was Earle’s Modified Eagle’s

Medium (EMEM) supplemented with 5% fetal bovine serum. Id. at p. 38, ll. 10-11. Thus, the

’614 application demonstrated that serum-free, low protein cell culture medium could perform

just as well as conventional serum-supplemented media, without the disadvantages associated

with serum.

     237.      As demonstrated in Glacken Table 4 below, the basal cell culture medium of the

’614 application contains almost every ingredient recited in claims 1 and 2 of the ’083 patent

within the claimed ranges. The only exceptions (as highlighted in light orange below) are five

ingredients that have the same active moiety but a different form from the claimed ingredients,

and a single ingredient that is present in an amount outside of the claimed range.


                                     Glacken Table 4:
               Comparison Of ’083 Patent Claims And ’614 Application Medium
                                         Table 1 of ’614                Table 1 of ’614
  Claim 1 of the ’083 Patent              Component                     Range (mg/L)
  anhydrous CaCl2, 5-200 mg;                 CaCl2                           1-500
  anhydrous MgCl2, 15-50 mg;                 MgCl2                           1-500
 anhydrous MgSO4, 20-80 mg;                  MgSO4                          10-500
  FeSO4.7H2O, 0.05-0.50 mg;               FeSO4.7H2O                      0.0001-0.5
 Fe(NO3)3.9H2O, 0.01-0.08 mg;            Fe(NO3)3.9H2O                      0.05-5
  ZnSO4.7H2O, 0.40-1.20 mg;               ZnSO4.7H2O                      0.0002-1.0
 ferric ammonium citrate, 0.04-
           200 mg;                    Ferric Citrate Chelate                0.01-2
       KCl, 280-500 mg;                       KCl                            1-500
     NaCl, 5000-7500 mg;                      NaCl                        3000-9000
   NaH2PO4.H2O, 30-100 mg;               NaH2PO4.H2O                        10-750
     Na2HPO4, 30-100 mg;                    Na2HPO4                          1-500
 CuSO4.5H2O, 0.001-0.005 mg;              CuSO4.5H2O                     0.00001-0.005



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                                    Glacken Table 4:
              Comparison Of ’083 Patent Claims And ’614 Application Medium
                                     Table 1 of ’614              Table 1 of ’614
  Claim 1 of the ’083 Patent          Component                   Range (mg/L)
  CoCl2.6H2O, 0.001-0.10 mg;          CoCl2.6H2O                  0.00001-0.005
  (NH4)6Mo7O24•4H2O, 0.001-
          0.005 mg;                (NH4)6Mo7O24 4H2O               0.00001-0.01
 MnSO4•H2O, 0.000070-0.0080
             mg;                      MnCl2•4H2O                  0.000001-0.001
 NiSO4•6H2O, 0.000025-0.0005
             mg;                      NiSO4.6H2O                 0.000001-0.0001
   Na2SeO3, 0.004-0.07 mg;              H2SeO3                    0.00001-0.005
  Na2SiO3.9H2O, 0.02-0.4 mg;         Na2SiO3.9H2O                   0.001-0.2
 SnCl2.2H2O, 0.000025-0.0005
             mg;                         SnCl2                   0.000001-0.0001
  NH4VO3, 0.0001-0.0025 mg;              NaVO3                    0.00001-0.001
   D-Glucose, 500-8000 mg;             D-Glucose                    1500-5000
 sodium pyruvate, 0.0-1000 mg;      sodium pyruvate                   10-300
 sodium hypoxanthine, 0.0-20.0
             mg;                    Hypoxanthine.Na+                  0.1-15
     glycine, 0.0-150 mg;                glycine                      1-200
    L-alanine, 0.0-150 mg;              L-alanine                     1-250
 L-arginine.HCl, 200-5000 mg;        L-arginine.HCl                   10-500
 L-asparagine.H2O, 40-250 mg;       L-asparagine.H2O                  5-150
  L-aspartic acid, 20-1000 mg;       L-aspartic acid                  5-125
 L-cysteine.HCl.H2O, 25.0-250
               mg;                 L-cysteine.HCl H2O                 2-250
  L-cystine.2HCl, 15-150 mg;         L-cystine.2HCl                  0.1-250
  L-glutamic acid, 0-1000 mg;        L-glutamic acid                  5-250
 L-histidine.HCl.H2O, 100-500
              mg;                  L-histidine.HCl.H2O                5-250
   L-isoleucine, 50-1000 mg;          L-isoleucine                    5-500
    L-leucine, 50-1000 mg;              L-leucine                     25-350
  L-lysine.HCl, 100-1000 mg;          L-lysine.HCl                    25-500
   L-methionine, 50-500 mg;           L-methionine                    5-200
  L-ornithine.HCl, 0-100 mg;         L-ornithine.HCl                    0


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                                     Glacken Table 4:
               Comparison Of ’083 Patent Claims And ’614 Application Medium
                                      Table 1 of ’614              Table 1 of ’614
  Claim 1 of the ’083 Patent           Component                   Range (mg/L)
 L-phenylalanine, 25-1000 mg;         L-phenylalanine                  5-250
     L-proline, 0-1000 mg;               L-proline                     1-250
     L-serine, 50-500 mg;                L-serine                      5-250
     L-taurine, 0-1000 mg;               L-taurine                       0
    L-threonine, 50-600 mg;             L-threonine                    10-300
   L-tryptophan, 2-500 mg;             L-tryptophan                    2-110
 L-tyrosine.2Na.2H2O, 25-250
             mg;                   L-tyrosine•2Na+•2H2O                5-400
    L-valine, 100-1000 mg;               L-valine                      5-400
    d-biotin, 0.04-1.0 mg;                 biotin                      0.01-1
 D-calcium pantothenate, 0.1-
           5.0 mg;                  D-Ca++ pantothenate               0.05-10
  choline chloride, 1-100 mg;         choline chloride                 1-150
      folic acid, 1-10 mg;               folic acid                    0.1-10
    i-Inositol, 10-1000 mg;              i-Inositol                     1-75
    nicotinamide, 0.5-30 mg;           niacinamide                     0.1-5
  p-aminobenzoic acid, 0.1-20
              mg;                         PABA                       0.001-0.1
    riboflavin, 0.05-5.0 mg;             riboflavin                    0.01-5
   thiamine.HCl, 0.5-20 mg;           Thiamine.HCl                     0.1-5
     thymidine, 0-3.0 mg;               thymidine                     0.05-25
   vitamin B12, 0.05-5.0 mg;           Vitamin B12                     0.01-5
   linoleic acid, 0.01-2.0 mg;         linoleic acid                 0.001-0.1
 DL-α-lipoic acid, 0.03-1.0 mg;         lipoic acid                   0.01-10
  pyridoxine.HCl, 0.5-30 mg;          Pyridoxine.HCl                  0.005-10
  putrescine.2HCl, 0.025-0.25
            mg; and                   putrescine.2HCl               0.0001-0.01
 ethanolamine.HCl, 2-100 mg.         ethanolamine HCl                0.1-10
                                         Table 1 of                Table 1 of
                                      WO 1998/15614               WO 1998/15614
  Claim 2 of the ’083 Patent            Component                 Range (mg/L)


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                                      Glacken Table 4:
                Comparison Of ’083 Patent Claims And ’614 Application Medium
                                         Table 1 of ’614                 Table 1 of ’614
   Claim 1 of the ’083 Patent             Component                      Range (mg/L)
   a buffering molecule with a
  pKa between 5.9 and 7.8 and                HEPES                      No range specified.
        a cell protectant.            Pluronic (in Example 6)           No range specified.

     238.       The ’614 application includes the ingredient HEPES in the cell culture media

described in Table 1. Ex. 13 at Table 1. As discussed above, HEPES is a well-known buffering

molecule with a pKa between 5.9 and 7.8.

     239.       The ’614 application further describes in Example 6 an experiment that used the

cell culture medium of Table 1—supplemented with epidermal growth factors, yeast extract, and

a plant peptide—to grow BHK-21 cells in suspension on a shaker platform. Id. at 38:1-6. To

this composition, 0.2% Pluronic F68 was added “to reduce shear damage.” Id. at 38:7-9. As

discussed above, a POSA would recognize that pluronics, such as Pluronic F68, act as a cell

protectant when reducing shear damage to cells.            Indeed, the ’083 patent recognizes that

“examples of cell protectants are non-ionic surfactants such as Pluronic-F68 ….” Ex. 1 (’083

patent) at 7:14-18.

                         b.      A POSA Would Have Known Of Alternative Forms Of Trace
                                 Elements That May Be Added In Place Of The Exemplary
                                 Trace Element Salts Recited In The ’614 Application.

     240.       The cell culture medium of the ’083 patent is an obvious variant of the basal

medium described in Table 1 of the ’614 application.

     241.       As illustrated above, several of the ingredients disclosed in Table 1 of the ’614

application have the same active moiety as the claimed ingredients, albeit in a different salt form.

At least with respect to the trace elements, the ’614 application teaches that the active moiety—




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not the specific salt form—is needed for the cell culture media. More specifically, the ’614

application teaches that the “trace elements which may be used in the media of the present

invention include ions of barium, bromium, cobalt, iodine, manganese, chromium, copper,

nickel, selenium, vanadium, titanium, germanium, molybdenum, silicon, iron, fluorine, silver,

rubidium, tin, zirconium, cadmium, zinc and aluminum.” Ex. 12 (’614 application) at p. 12, ll.

23-26 (emphasis added). The specifically recited salts are merely examples of the salt forms that

can deliver these trace element ions to the cell culture medium. Id. at p. 12, l. 26 – p. 13, l. 2. As

discussed above with respect to the ’704 patent, a POSA would understand that different salt

forms of a trace element are interchangeable at least because these salts will dissociate into the

desired iconic form of the trace element when placed in the aqueous cell culture media. 36

     242.      A POSA in 2003 would have known that the claimed trace element salts were

commonly available forms of the trace elements recited in the ’614 application. To the extent

that Janssen disputes that these claimed trace element salts were not within the knowledge of a

POSA, I list below several references reflecting the state of the art which used these claimed

trace element salts to deliver the trace elements recited in the ’614 application. There is nothing

novel in the selection of any of particular trace element salt as instructed by the ’614 application,

and it would have been obvious for a POSA to try the claimed trace element salts in place of the

exemplary salts listed in the ’614 application.



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  I understand that Janssen’s infringement contentions recognize that different salt forms of the
same active moiety are interchangeable. See Ex. 45 (Plaintiffs’ Preliminary Infringement
Contentions) at 9-10. For instance, Janssen asserts that “CuSO4.5H2O and CuCl2.2H2O are
sources of copper in its +2 oxidation state (i.e., copper (II) or cupric copper). The ‘active
moiety’ of both ingredients is copper(II) and their function is there not substantially similar, but
identical.” Id. at 9. Janssen later refers to these two copper salts (as well as other sets of
ingredients) as “interchangeable ingredients.” Id. at 10.


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                                i.      A POSA Would Have Known That Ferric Ammonium
                                        Citrate Was A Ferric Citrate Chelate Used In Cell
                                        Culture Media.

     243.       The ’614 application teaches that a “ferric citrate chelate or ferrous sulfate can be

used in the present media as a substitute for transferrin,” a protein found in animal serum. Ex. 13

at p. 13, ll. 28-29. The claimed ingredient, ferric ammonium citrate, is an example of ferric

citrate chelate that was well-known in the art for use in cell culture media to replace transferrin.

See, e.g., Ex. 36 (Keenan 1996) at 453; Ex. 43 (’140 patent) at 2:3-7. The ’614 application

teaches adding a ferric citrate chelate in the amount of 0.01-2 mg/L, which is identical to the

claimed amount of ferric ammonium citrate of 0.01-2 mg/L. Compare Ex. 13 (’614 application)

at p. 18, l. 12; with Ex. 1 (’083 patent) at claim 1.

                                ii.     A POSA Would Have Known That MnSO4.H2O, Like
                                        MnCl2.4H2O, Was A Common Source For The
                                        Manganese (II) Trace Element Ion.

     244.       With respect to the claimed ingredient MnSO4.H2O, the ’614 application teaches

that the “trace elements which may be used in the media of the present invention include ions of

… manganese.” Ex. 13 (’614 application) at p. 12, ll. 23-26. The ’614 application teaches that

the manganese ion “may be provided, for example in trace element salts such as …

MnCl2.4H2O.” Id. at p. 12, l. 26 – p. 13, l. 2. Thus the inventors are teaching that the manganese

ion is the important moiety that is to be added to the culture, not the specific salt form. It was

well within the scope of knowledge of POSA prior to October 2003 that the claimed ingredient,

MnSO4.H2O, is a commonly used source of the manganese (II) trace element ion in cell culture

media. See, e.g., Ex. 26 (Hamilton 1977) at Table 1 (composition of medium MCDB 301); Ex.

38 (the ’934 application) at Table 2 (composition of Acid Soluble II); Ex. 38 ( the ’402

application) at Table B4 (composition of Trace Metals 3); Ex. 14 (’955 application) at Table 3


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(composition of medium free from components of animal origin); Ex. 33 (Cleveland 1983) at

Table 1.   It would have been obvious that the claimed ingredient MnSO4.H2O would be

equivalent to the source of the manganese (II) ion provided by MnCl2.4H2O disclosed in the ’614

application and could be freely added as a manganese (II) source depending on local availability

and price. As illustrated in Glacken Table 5, the ’614 application teaches adding 0.000001-0.001

mg MnSO4.H2O, which will deliver an amount of manganese (II) ion that overlaps with that

provided by the claimed amount of 0.000070-0.0080 mg MnSO4.H2O.

                                         Glacken Table 5

             ’083 Patent Claim 1                               Table 1 of WO 1998/15614

                          Molar Amount of                                        Molar Amount of
     Ingredient            Manganese (II)                  Ingredient             Manganese (II)

MnSO4.H2O, 0.000070-    4.14 x 10-4 – 4.73 x 10-2    MnCl2.4H2O, 0.000001-     5.05 x 10-6 – 5.05 x 10-3
   0.0080 mg/L                  µmol/L                    0.001 mg/L                   µmol/L

                        4.14 x 10-4 – 4.73 x 10-2                              5.05 x 10-6 – 5.05 x 10-3
Total Manganese (II)            µmol/L                Total Manganese (II)             µmol/L


                             iii.     A POSA Would Have Known That Na2SeO3, Like
                                      H2SeO3, Was A Common Source For The Selenium
                                      Trace Element Ion.

    245.      The ’614 application teaches that the “trace elements which may be used in the

media of the present invention include ions of … selenium.” Ex. 13 (’614 application) at p. 12,

ll. 23-26. The ’614 application teaches that the selenium ion “may be provided, for example in

trace element salts such as … H2SeO3.” Id. at p. 12, l. 26 – p. 13, l. 2. It was well within the

scope of knowledge of POSA prior to October 2003 that the claimed ingredient, Na2SeO3, is a

commonly used source of the selenium trace element (and the selenite ion, SeO3-) in cell culture

media. See, e.g., Ex. 35 (Darfler 1990) at Table 1 (compositions of F12 + FBS and ABC); Ex. 34




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(the ’401 patent) at Table 1 (MAT/P:Formulation); Ex. 38 (’934 application) at Table 2

(composition of Salts II); Ex. 40 (’202 application) at Table 1; Ex 42 (’402 application) at Table

B2 (composition of Trace Metals 1); Ex. 14 (’955 application) at Table 3 (composition of

medium free from components of animal origin). Since it is a common form of selenium in

many media, it would have been obvious that the claimed ingredient Na2SeO3 as a source of the

selenium ion is equivalent to and can substitute for, the salt H2SeO3 disclosed in the ’614

application depending on local availability and price. As illustrated in the Glacken Table 6

below, the ’614 application teaches adding 0.00001-0.005 mg H2SeO3, which will deliver an

amount of selenium (and the selenite ion) that overlaps with that provided by the claimed amount

of 0.004-0.07 mg Na2SeO3.

                                          Glacken Table 6

             ’083 Patent Claim 1                                 Table 1 of WO 1998/15614

                           Molar Amount of                                         Molar Amount of
      Ingredient                                             Ingredient
                               Selenite                                                Selenite

      Na2SeO3,           2.31 x 10-2 – 4.05 x 10-1     H2SeO3, 0.00001-0.005     7.75 x 10-5 – 3.88 x 10-2
   0.004-0.07 mg/L               µmol/L                        mg/L                      µmol/L

                         2.31 x 10-2 – 4.05 x 10-1                               7.75 x 10-5 – 3.88 x 10-2
   Total Selenium                                          Total Selenium
                                 µmol/L                                                  µmol/L


                              iv.      A POSA Would Have Known That SnCl2.H2O, Like
                                       SnCl2, Was A Common Source For The Tin Trace
                                       Element Ion.

     246.      The ’614 application teaches that the “trace elements which may be used in the

media of the present invention include ions of … tin.” Ex. 13 (’614 application) at p. 12, ll. 23-

26. The ’614 application teaches that the tin ion “may be provided, for example in trace element

salts such as … SnCl2.” Id. at p. 12, l. 26 – p. 13, l. 2 (emphasis added). A POSA would have




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known that the claimed ingredient, SnCl2 in its hydrous form, is a commonly used source of the

tin (II) trace element ion in cell culture media. See, e.g., Ex. 26 (Hamilton 1977) at Table 1

(composition of medium MCDB 301); Ex. 38 (’934 application) at Table 2 (composition of Acid

Soluble II); Ex. 14 (’955 application) at Table 3 (composition of medium free from components

of animal origin); Ex. 33 (Cleveland 1983) at Table 1. It would have been obvious that the

claimed ingredient SnCl2.2H2O as the source of the tin(II) ion is equivalent to the salt SnCl2

disclosed in the ’614 application. As illustrated in Glacken Table 7 below, the ’614 application

teaches adding 0.000001-0.0001 mg SnCl2, which will deliver an amount of the tin (II) ion that

overlaps with that provided by the claimed amount of 0.000025-0.0005 mg SnCl2.2H2O.

                                        Glacken Table 7

              ’083 Patent Claim 1                              Table 1 of WO 1998/15614

                          Molar Amount of                                       Molar Amount of
     Ingredient                                           Ingredient
                              Tin (II)                                              Tin (II)

     SnCl2•2H2O,       1.11 x 10-4 — 2.22 x 10-3            SnCl2,            5.27 x 10-6 – 5.27 x 10-4
0.000025-0.0005 mg/L           µmol/L                0.000001-0.0001 mg/L             µmol/L

                       1.11 x 10-4 — 2.22 x 10-3                              5.27 x 10-6 – 5.27 x 10-4
    Total Tin (II)                                       Total Tin (II)
                               µmol/L                                                 µmol/L



                             v.      A POSA Would Have Known That NH4VO3, Like
                                     NaVO3, Was A Common Source For The Vanadium
                                     Trace Element Ion.

    247.       The ’614 application teaches that the “trace elements which may be used in the

media of the present invention include ions of … vanadium.” Ex. 13 (’614 application) at p. 12,

ll. 23-26. The ’614 application teaches that the vanadium ion “may be provided, for example in

trace element salts such as … NaVO3.” Id. at p. 12, l. 26 – p. 13, l. 2 (emphasis added). It was

well within the scope of knowledge of POSA prior to October 2003 that the claimed ingredient,


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NH4VO3, is a commonly used source of the vanadium trace element (and the metavanadate ion,

VO3-) in cell culture media. See, e.g., Ex. 26 (Hamilton 1977) at Table 1 (composition of

medium MCDB 301); Ex. 35 (Darfler 1990) at Table 1 (compositions of F12 + FBS and ABC);

Ex. 29 (U.S. Patent No. 5,135,866) at Table 1; Ex. 42 (’402 application) at Table B4

(composition of Trace Metals 3); Ex. 33 (Cleveland 1983) at Table 1. It would have been

obvious that the claimed ingredient NH4VO3 as the source of the vanadium ion, is equivalent to

the salt NaVO3 disclosed in the ’614 application. As illustrated in Glacken Table 8 below, the

’614 application teaches adding 0.00001-0.001 mg NaVO3, which will deliver an amount of

vanadium (and the metavanadate ion) that overlaps with that provided by the claimed amount of

0.0001-0.0025 mg NH4VO3.


                                            Glacken Table 8

             ’083 Patent Claim 1                                     Table 1 of WO 1998/15614

                             Molar Amount of                                          Molar Amount of
     Ingredient                                                  Ingredient
                              Metavanadate                                             Metavanadate

      NH4VO3,              8.55 x 10-4 – 2.14 x 10-2               NaVO3,           8.20 x 10-5 – 8.20 x 10-3
 0.0001-0.0025 mg/L                µmol/L                    0.00001-0.001 mg/L             µmol/L

                           8.55 x 10-4 – 2.14 x 10-2                                8.20 x 10-5 – 8.20 x 10-3
   Total Vandium                                              Total Vandium
                                   µmol/L                                                   µmol/L


                      c.        A POSA Would Have Had Ordinary Skill To Modify The
                                Amounts Of The Claimed Ingredients Within The Ranges
                                Disclosed In The Prior Art With A Reasonable Expectation Of
                                Success.

    248.      I note that the ingredient putrescine.2HCl is present in the ’614 application in an

amount that is outside of the specific concentration ranges of claim 1. The ’614 application

teaches adding this putrescine.2HCl in an amount ranging from 0.001-0.01 mg. Ex. 13 (’614




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application) at p. 15, l. 17. It was well within the scope of knowledge of POSA prior to October

2003 that cell culture media may contain a greater amount of putrescine.2HCl. See, e.g., Ex. 26

(Hamilton 1977) at Table 1 (composition of medium MCDB 301 contains 0.01611 mg/L

putrescine.2HCl); Ex. 11 (Jayme 1997) at Table 1 (compositions of F-12, DMEM/F12, RDF, and

eRDF contain 0.161, 0.081, 0.04, and 0.04 mg/L putrescrine.2HCl, respectively); Ex. 35 (Darfler

1990) at Table 1 (compositions of F12, F12 + FBS, and ABC each contain 0.161 mg/L

putrescine.2H2O); Ex. 34 (’401 patent) at Table 1 (MAT/P:Formulation contains 0.0405 mg/L

putrescine.2H2O); Ex. 29 (’866) at Table 1 (composition contains 0.048 mg/L putrescine.2H2O);

Ex. 38 (’934 application) at Table 2 (composition of Salts II contains 0.12-1.10 mg/L

putrescine.2H2O); Ex. 40 (’202) at Table 1 (composition contains 0.03-8.0 mg/L

putrescine.2H2O); Ex. 14 (’955 application) at Table 3 (composition of medium free from

components of animal origin contains 0.001-0.09 mg/L putrescine.2H2O).                In light of the

teachings of the prior art, a POSA would have been motivated to add a greater amount of

putrescine.2HCl as disclosed in the prior art, which amount would overlap with the claimed

concentration range of 0.025-0.25 mg/L, and would have had a reasonable expectation of

success. 37 Therefore, this ingredient was also disclosed in the prior art.

     249.      Thus, in my opinion, to a POSA, the claimed cell culture medium is nothing more

than an obvious variation of the medium disclosed in the ’614 application. The ’614 application

teaches the trace elements to be included in a cell culture medium and provides exemplary salt


37
   I understand that Janssen alleges that a medium may still meet the limitations of the asserted
claims, even though several ingredients’ concentrations in that medium fall outside of the
claimed ranges. To the extent that HyClone’s cell culture media are deemed to infringe the
claims of the ’083 patent, under the same reasoning, the prior art should be deemed to read upon
the claimed concentration limitations even if the prior art includes a concentration of an
ingredient that is outside of the claimed range.


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forms of the trace elements. A POSA would have been motivated to select the specifically

claimed salt forms for each of the trace elements, because each of the claimed salt forms were

common ingredients found in many cell culture media. It was well within the skill of a POSA to

make small changes in the concentrations of the ingredients within the claimed ranges with a

reasonable expectation of success. A summary of the disclosure of the prior art in view of the

’614 application is further provided at Appendix 4 to my report.

                3.      The Asserted Claims of the ’083 Patent Would Have Been Obvious
                        Over WO 04/078955 In View Of The Knowledge Of A POSA.

     250.       For substantially the same reasons and as shown below, the ’083 patent also is

obvious over 04/078955 in view of the knowledge of a POSA.

                        a.       The ’955 Application Teaches A Cell Culture Medium.

     251.       The ’955 application discloses “a cell culture medium substantially free of

exogenous components of primary animal origin suitable for” culturing animal, preferably

human, cells. Ex. 14 (’955 application) at Abstract. In particular, the ’955 application sought to

develop “a cell culture medium substantially free from exogenous components of primary animal

origin and comprising at least one exogenous growth factor of non-animal secondary origin,

[that] can advantageously replace conventional culture media and serum-free media which are

known to contain components from exogenous primary and/or secondary animal origin.” Id. at

p. 3, ll. 25-29. The ’955 application provides in Example I.1 and Table 3 an example of an

animal-free cell culture medium. Id. at p. 21, ll. 5-7; see also id. at p. 12, ll. 19-20. As compared

to a conventional medium, supplemented Ultra-MEM, the animal-free medium of Example I.1

and Table 3 provide “equivalent” results in cell density, cell viability, and cell growth. Id. at

Figs. 4-6; p. 19, ll. 26-34; p. 25, ll. 16-25.




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     252.      As demonstrated in Glacken Table 9 below, the basal cell culture medium of the

’955 application contains almost every ingredient recited in claims 1 and 2 of the ’083 patent

within the claimed ranges. The only exceptions (as highlighted in light orange below) are two

ingredients that have the same active moiety but different salt forms from the claimed

ingredients, and another ingredient that is present in an amount outside of the claimed range.


                                     Glacken Table 9:
               Comparison Of ’083 Patent Claims And ’614 Application Medium
  Claim 1 of the ’083 Patent:     Table 3 of WO 2004/78955         Table 3 of WO 2004/78955
  Ingredient (concentration)             Component                       Range (mg/L)
  anhydrous CaCl2, 5-200 mg;                 CaCl2                         100-760
  anhydrous MgCl2, 15-50 mg;                 MgCl2                          5-150
 anhydrous MgSO4, 20-80 mg;                  MgSO4                          20-150
  FeSO4•7H2O, 0.05-0.50 mg;               FeSO4.7H2O                        0.02-2
 Fe(NO3)3•9H2O, 0.01-0.08 mg;           Fe(NO3)3.9H2O                       0.005-1
  ZnSO4•7H2O, 0.40-1.20 mg;               ZnSO4.7H2O                       0.01-0.6

 ferric ammonium citrate, 0.04-         Fe(NO3)3.9H2O                       0.005-1
           200 mg;
                                  Ferric fructose stock solution         50-1000 µL/L
       KCl, 280-500 mg;                       KCl                          180-600
     NaCl, 5000-7500 mg;                      NaCl                        5000-8000
  NaH2PO4.H2O, 30-100 mg;                NaH2PO4.H2O                        60-280
     Na2HPO4, 30-100 mg;                    Na2HPO4                         20-400
 CuSO4.5H2O, 0.001-0.005 mg;              CuSO4.5H2O                    0.00001-0.006
  CoCl2.6H2O, 0.001-0.10 mg;              CoCl2.6H2O                    0.000001-0.003
  (NH4)6Mo7O24•4H2O, 0.001-
          0.005 mg;                   (NH4)6Mo7O24 4H2O                 0.00001-0.002
 MnSO4.H2O, 0.000070-0.0080
             mg;                          MnSO4.H2O                     0.000001-0.005
 NiSO4•6H2O, 0.000025-0.0005
             mg;                          NiSO4.6H2O                   0.000001-0.0002
    Na2SeO3, 0.004-0.07 mg;                 Na2SeO3                       0.001-0.02


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                                    Glacken Table 9:
              Comparison Of ’083 Patent Claims And ’614 Application Medium
  Claim 1 of the ’083 Patent:    Table 3 of WO 2004/78955   Table 3 of WO 2004/78955
  Ingredient (concentration)            Component                 Range (mg/L)
  Na2SiO3.9H2O, 0.02-0.4 mg;          Na2SiO3.9H2O                  0.001-0.2
 SnCl2.2H2O, 0.000025-0.0005
             mg;                       SnCl2.2H2O                 0.00001-0.0009
  NH4VO3, 0.0001-0.0025 mg;               NaVO3                    0.00001-0.2
   D-Glucose, 500-8000 mg;              D-Glucose                   1000-4000
 sodium pyruvate, 0.0-1000 mg;         Na Pyruvate                   10-150
 sodium hypoxanthine, 0.0-20.0
             mg;                     Hypoxanthine Na                  0.01-6
     glycine, 0.0-150 mg;                 glycine                     7-60
    L-alanine, 0.0-150 mg;               L-alanine                    5-50
 L-arginine.HCl, 200-5000 mg;         L-arginine.HCl                 60-500
 L-asparagine.H2O, 40-250 mg;        L-asparagine.H2O                 2-180
  L-aspartic acid, 20-1000 mg;        L-aspartic acid                 5-90
 L-cysteine.HCl H2O, 25.0-250
               mg;                  L-cysteine.HCl H2O                0.1-30
  L-cystine.2HCl, 15-150 mg;          L-cystine.2HCl                 25-130
  L-glutamic acid, 0-1000 mg;         L-glutamic acid                 6-50
 L-histidine.HCl.H2O, 100-500
              mg;                  L-histidine.HCl.H2O                15-70
   L-isoleucine, 50-1000 mg;           L-isoleucine                  10-200
    L-leucine, 50-1000 mg;               L-leucine                   30-200
  L-lysine.HCl, 100-1000 mg;           L-lysine.HCl                  30-240
   L-methionine, 50-500 mg;            L-methionine                   2-60
  L-ornithine.HCl, 0-100 mg;          L-ornithine.HCl                   0
 L-phenylalanine, 25-1000 mg;        L-phenylalanine                  2-45
     L-proline, 0-1000 mg;               L-proline                    2-45
     L-serine, 50-500 mg;                L-serine                     2-50
     L-taurine, 0-1000 mg;               L-taurine                      0
    L-threonine, 50-600 mg;             L-threonine                  20-150




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                                      Glacken Table 9:
                Comparison Of ’083 Patent Claims And ’614 Application Medium
  Claim 1 of the ’083 Patent:     Table 3 of WO 2004/78955    Table 3 of WO 2004/78955
  Ingredient (concentration)             Component                  Range (mg/L)
   L-tryptophan, 2-500 mg;              L-tryptophan                     3-25
 L-tyrosine.2Na.2H2O, 25-250
             mg;                    L-tyrosine.2Na.2H2O                 5-150
    L-valine, 100-1000 mg;                L-valine                      5-150
    d-biotin, 0.04-1.0 mg;          Vitamin H (D-Biotin)              0.0001-0.5
 D-calcium pantothenate, 0.1-
           5.0 mg;                 D-calcium pantothenate               0.01-3
  choline chloride, 1-100 mg;          choline chloride                 0.1-10
      folic acid, 1-10 mg;                folic acid                   0.01-20
    i-Inositol, 10-1000 mg;               i-Inositol                    0.6-20
    nicotinamide, 0.5-30 mg;      nicotinamide/ niacinamide             0.1-15
  p-aminobenzoic acid, 0.1-20
              mg;                  para-aminobenzoic acid             0.001-0.3
    riboflavin, 0.05-5.0 mg;       Vitamin B2 (riboflavin)             0.001-5
                                         Vitamin B1
   thiamine.HCl, 0.5-20 mg;            (Thiamine).HCl                  0.001-20
     thymidine, 0-3.0 mg;                thymidine                      0.01-5
                                        Vitamin B12
   vitamin B12, 0.05-5.0 mg;         (Cyanocobalamine)                 0.001-5
   linoleic acid, 0.01-2.0 mg;           linoleic acid                0.001-0.3
                                          lipoic acid
 DL-α-lipoic acid, 0.03-1.0 mg;         (thioctic acid)               0.001-0.7
                                         Vitamin B6
  pyridoxine.HCl, 0.5-30 mg;          (Pyridoxine).HCl                 0.001-5
  putrescine.2HCl, 0.025-0.25
              mg;                      putrescine.2HCl                0.001-0.09
 ethanolamine.HCl, 2-100 mg.          ethanolamine HCl                 0.1-6
                                          Table 3 of                Table 3 of
                                       WO 2004/78955               WO 2004/78955
   Claim 2 of the ’083 Patent            Component                 Range (mg/L)
   a buffering molecule with a
  pKa between 5.9 and 7.8 and             HEPES                   No range specified.
                                     Oxidation stabiliser
        a cell protectant.            (on pages 11-12)            No range specified.




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     253.      The ’955 application includes the ingredient HEPES in the cell culture media

described in Table 3. Ex. 14 Table 3. As discussed above, HEPES is a well-known buffering

molecule with a pKa between 5.9 and 7.8.

     254.      The ’955 application further teaches that “it will be understood that, depending on

the cell-type cultured and the performance to be achieved, the fresh culture medium according to

the invention may be optionally further supplemented with ingredients classically found in

culture media and of non- animal origin,” including “oxidation stabilisers.” Id. at 11:21-12:2. A

POSA would understand that cell culture media are susceptible to oxidation reactions that may

damage cells and the protein products. Addition of an oxidation stabiliser to a cell culture media

functions as a cell protectant, as defined by the ’083 patent to mean “a substance that protects

eukaryotic cells from damage.” Ex. 1 (’083 patent) at 4:25-29.

                      b.      A POSA Would Have Known Of Alternative Forms Of Trace
                              Elements That May Be Added In Place Of The Trace Element
                              Salts Recited In The ’955 Application.

     255.      The cell culture medium of the ’083 patent is an obvious variant of the cell culture

medium described in Table 3 of the ’955 application.

     256.      As illustrated above, the cell culture medium in Table 3 of the ’955 application

recites all of the claimed ingredients, except for two ingredients—the iron chelator/iron complex

ferric ammonium citrate and NH4VO3. But the medium of the ’955 application includes other

ingredients—the iron chelator/iron complex ferric fructose, and NaVO3— that have the same

active moiety as the claimed ingredients but in a different form. The composition provided in

Table 3 is “an example of a basic composition” that is intended to provide the necessary

components for an animal-free medium, including a “source of … trace of elements.” Ex. 14

(’955 application) at p. 12, ll. 12-20. A POSA would have easily identified the pertinent trace


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elements provided in the ’955 application—such as, iron(III) and vanadium—and known that

other salt forms of these trace elements may be used in cell culture media. Indeed, as discussed

above, the claimed ingredients ferric ammonium citrate and NH4VO3 are commonly used in cell

culture media. To the extent that Janssen disputes that these claimed trace element salts were not

within the knowledge of a POSA, I list below several references reflecting the state of the art

which used these claimed trace element salts to deliver the trace elements recited in the ’955

application. There is nothing novel in the selection of any of particular trace element salt, and it

would have been obvious for a POSA to try the claimed trace element salts in place of the

exemplary salts listed in the ’955 application.

                               i.     A POSA Would Have Known That Ferric Ammonium
                                      Citrate, Like Ferric Fructose, FeSO4.7H2O, and
                                      Fe(NO3)3, Was A Common Source For The Iron Trace
                                      Element Ion.

     257.      The ’955 application includes ferric fructose stock solution, ferrous sulfate, and

ferric nitrate, which provide an “iron source” for the animal-free cell culture medium. Id. at p.

24, ll. 3-4. These sources of iron can substitute for transferrin, which is present in animal serum

as a means for transporting iron. Id. at p. 1, ll. 29-32. It was well within the scope of knowledge

of POSA prior to the filing of the ’083 patent that the claimed ingredient, ferric ammonium

citrate, was used in cell culture media to replace transferrin. See, e.g., Ex. 36 (Keenan 1996) at

453; Ex. 43 (’140 patent) at 2:3-7. It would have been obvious that the claimed ingredient ferric

ammonium citrate as the source of the iron ion, is equivalent to the ferric fructose stock solution,

ferrous sulfate, and ferric nitrate and can be freely substituted depending on cost and availability.

As illustrated in the Glacken Table 10 below, the ’955 application teaches adding a range of

ferric fructose stock solution, ferrous sulfate, and ferric nitrate, which will deliver a combined



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amount of iron trace element that overlaps with that provided by the claimed amount of ferric

ammonium citrate, ferrous sulfate, and ferric nitrate.

                                          Glacken Table 10

               ’083 Patent Claim 1                                 Table 3 of ’955 application

                            Molar Amount of                                           Molar Amount of
       Ingredient                                             Ingredient
                               Iron (III)                                                Iron (III)

     Fe(NO3)3.9H2O,       2.48 x 10-2 – 1.98 x 10-1         Fe(NO3)3•9H2O,             1.24 x 10-2 – 2.48
     0.01-0.08 mg/L               µmol/L                     0.005-1 mg/L                   µmol/L

      FeSO4.7H2O,            1.80 x 10-1 – 1.80              FeSO4.7H2O,               7.19 x 10-2 – 7.19
     0.05-0.50 mg/L               µmol/L                     0.02-2 mg/L                    µmol/L

    ferric ammonium       1.53 x 10-1 – 7.63 x 102       Ferric fructose stock         4.48 x 10-1 – 8.95
 citrate, 0.04-200 mg/L           µmol/L                solution 38, 50-1000 µL             µmol/L

                          3.57 x 10-1 – 7.65 x 102                                  5.32 x 10-1 – 1.86 x 101
     Total Iron (III)                                       Total Iron (III)
                                  µmol/L                                                    µmol/L


                               ii.      A POSA Would Have Known That NH4VO3, Like
                                        NaVO3, Was A Common Source For The Vanadium
                                        Trace Element Ion.

      258.       The ’955 application includes NaVO3, which provides a source of the vanadium

trace element for the animal-free cell culture medium. Ex. 14 (’955 application) at Table 3. It

was well within the scope of knowledge of POSA prior to the filing of the ’083 patent that the

claimed ingredient, NH4VO3, was commonly used as a source of the vanadium trace element

(and the metavanadate ion, VO3-) in cell culture media. See, e.g., Ex. 26 (Hamilton 1977) at

Table 1 (composition of medium MCDB 301); Ex. 35 (Darfler ) at Table 1 (compositions of F12

+ FBS and ABC); Ex. 29 (’866 patent) at Table 1; Ex. 42 (’402 application) at Table B4

(composition of Trace Metals 3); Ex. 33 (Cleveland 1983) at Table 1. It would have been


38
  The ’955 application’s ferric fructose stock solution comprises 2420 mg/L FeCl3.6H2O and
160,000 mg/L D-Fructose. Ex. 14 (’955 application) at 24.


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obvious that the claimed ingredient NH4VO3 as the source of the vanadium ion, is equivalent to

the salt NaVO3 disclosed in the ’955 application and would have been substituted by a POSA in

view of the common, general knowledge in the art at the time. As illustrated in Glacken Table

11 below, the ’955 application teaches adding 0.00001-0.2 mg NaVO3, which will deliver an

amount of vanadium (and the metavanadate ion) that overlaps with that provided by the claimed

amount of 0.0001-0.0025 mg NH4VO3.

                                        Glacken Table 11

             ’083 Patent Claim 1                             Table 3 of WO 2004/078955

                           Molar Amount of                                    Molar Amount of
     Ingredient                                            Ingredient
                            Metavanadate                                       Metavanadate

     NH4VO3,               8.55 x 10-4 – 2.14 x              NaVO3,            8.20 x 10-5 – 1.64
0.0001-0.0025 mg/L             10-2 µmol/L              0.00001-0.2 mg/L            µmol/L

                           8.55 x 10-4 – 2.14 x                                8.20 x 10-5 – 1.64
   Total Vandium                                        Total Vandium
                               10-2 µmol/L                                          µmol/L


                      c.       A POSA Would Have Had Ordinary Skill To Modify The
                               Amounts Of The Claimed Ingredients Within The Ranges
                               Disclosed In The Prior Art With A Reasonable Expectation Of
                               Success.

     259.      I note that the ingredient L-histidine.HCl.H2O is present in the ’955 application in

an amount that is outside of the specific concentration ranges of claim 1. The ’955 application

teaches adding this ingredient in an amount ranging from 15-70 mg. ’955 application at Table 3.

Literature within the prior art teaches that the cell culture media may contain a greater amount of

L-histidine.HCl.H2O. See, e.g., Ex. 38 (’934 application) at Table 2 (composition of Salts II

contains 60-360 mg L-histidine.HCl.H2O); Ex. 13 (’614 application) at Table 1 (composition

contains 5-250 mg L-histidine.HCl.H2O). In light of the teachings of the prior art, a POSA

would have been motivated to add a greater amount of L-histidine.HCl.H2O as disclosed in the


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prior art, which amount overlaps with the claimed concentration range of 100-500 mg/L, and

would have had a reasonable expectation of success. 39

     260.     Thus, in my opinion, to a POSA, the claimed cell culture medium is nothing more

than an obvious variation of the medium disclosed in the ’955 application. The ’955 application

teaches the trace elements to be included in a cell culture medium and provides exemplary salt

forms of the trace elements. A POSA would have been motivated to select the specifically

claimed salt forms for each of the trace elements, because each of the claimed salt forms were

common ingredients found in many cell culture media. It was well within the skill of a POSA to

make small changes in the concentrations of the ingredients within the claimed ranges with a

reasonable expectation of success. A summary of the disclosures of the prior art in view of the

’955 application is provided at Appendix 5 to my report.

       D.     Secondary Considerations of Nonobviousness

     261.     I am not aware of any secondary indicia that would make the ’083 patent

nonobvious. Plaintiffs have not disclosed any secondary indicia of nonobviousness.

     262.     If Plaintiffs’ experts opine on any secondary indicia factors, I reserve the right to

respond in my reply report. Preliminarily, I understand that the supposed invention claimed by

the ’083 patent is not currently commercialized and is not used in the production of Remicade®,

so there is no nexus between any of Remicade®’s alleged commercial success or any other

39
   I understand that Janssen asserts that HyClone’s accused cell culture media contain an amount
of L-histidine.HCl.H2O equivalent to the claimed range of 100-500 mg. I note that HyClone’s
ADCF Mab-New Production Medium contains and Growth Medium contain 15.64 mg and 13.52
mg of L-histidine.HCl.H2O, respectively. The amount of L-histidine.HCl.H2O in HyClone’s cell
culture media are even further from the claimed invention than the ’955 application, which
teaches using 15-70 mg of L-histidine.HCl.H2O. To the extent that HyClone’s cell culture media
are deemed to have infringed the claims of the ’083 patent, under the same reasoning, the prior
art should be deemed to read upon the claimed concentration limitations even if the prior art
includes a concentration of an ingredient that is outside of the claimed range.


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secondary consideration and the alleged nonobviousness of the claimed invention, i.e. the

specific ingredients listed in claim 1 of the ’083 patent or the additional limitations in claim 2.

Indeed, I understand that Janssen does not use an embodiment of the ’083 patent in the

production of Remicade®. See, e.g., Ex. 55 (Epstein Dep. Tr.) at 24:19-22, 36:2-10. Thus, any

alleged commercial success or other secondary considerations of the Remicade® product are not

applicable here.

IX.     Invalidity Under 35 U.S.C. § 112.

        A.     Indefiniteness

      263.     In my opinion, the asserted claims also fail to particularly point out and distinctly

claim the bounds of the claimed invention for at least two reasons.

      264.     To the extent that the accused products are found to infringe the asserted claims,

despite several ingredients present in amounts far outside the specifically claimed concentration

ranges, the claims are indefinite.     Janssen has admitted that the two accused products—

HyClone’s HyQ ADCF Mab New Production medium and HyClone’s HyQ ADCF Mab Growth

medium—do not literally infringe the claimed invention. See Ex. 45 (Janssen’s Preliminary

Infringement Contentions dated March 3, 2016) at 4-8. There can be no dispute that the accused

products do not literally infringe the claimed invention, because at least 12 ingredients in

HyClone’s HyQ ADCF Mab New Production medium and at least 13 ingredients in HyClone’s

HyQ ADCF Mab Growth medium are present in an amount outside of the claimed ranges. See

Ex. 48 (Defendants’ Preliminary Noninfringement Contentions dated March 31, 2016) at 6-8.

Indeed, several of those ingredients are present in an amount less than half of the lower bound of

the claimed range or more than double the higher bound—namely, 9 ingredients in HyClone’s

HyQ ADCF Mab New Production medium and 8 ingredients in HyClone’s HyQ ADCF Mab


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Growth medium. Id. If these media nonetheless were deemed to infringe, particularly if Janssen

asserts that the specific combination of ingredients present in the claimed amounts distinguishes

the claimed invention from the prior art, it is ambiguous how far the patent scope reaches beyond

the claimed concentrations for any of the ingredients. A POSA would not know with any

reasonable certainty whether he or she is free to develop a medium containing the claimed

ingredients in amounts far outside the recited concentration limits without the threat of

infringement.

     265.       If Janssen is contending that any concentration of a claimed ingredient is

sufficient to infringe so long as the accused cell culture medium is “nutritive,” this would

effectively render the claimed concentration ranges meaningless. As Janssen would have it, the

only way for a cell culture medium containing the 52 required ingredients (regardless of the

concentration of the claimed ingredients or regardless of any other ingredients that contribute to

the function of the cell culture medium) not to infringe the asserted claims would be to conduct

extensive testing and to determine if the medium did not support some clear level of “nutritive”

cell growth. In other words, such a cell culture medium must be non-functional to avoid a claim

of infringement.

     266.       In sum, a POSA reading the patent specification would understand that the recited

concentration limits in the asserted claims must have meaning to define the scope of the claims.

But when Janssen asserts that the claimed concentrations do not meaningfully restrict the scope

of the claims so long as all the overall medium is “nutritive,” a POSA would have no reasonable

certainty as to the scope of the claimed invention and no clear notice of how to develop a

noninfringing cell culture medium.




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     267.      Therefore, in my opinion, if the accused media were found to infringe, the

asserted claims are invalid for indefiniteness because a POSA could not reasonably rely on the

claimed concentration limits to meaningfully define the scope of the claims.

       B.      Written Description

     268.      In my opinion, to the extent that the asserted claims of the ’083 patent are found

to be nonobvious to a POSA, the specification does not provide adequate written description

support to convey to that person that the inventors had possession of the claimed inventions as of

the filing date. I understand that a mere wish or plan for obtaining the claimed invention is not

adequate written description.

     269.      The asserted claims recite a class of soluble compositions that are suitable for

producing a cell culture media. Ex. 1 (’083 patent) at claim 1. As discussed, the soluble

compositions of claim 1 comprise 61 claimed ingredients—with only 52 ingredients required—

that are each present in a final cell culture medium in an amount within the recited concentration

ranges. Id. Claim 2 further recites that the composition of claim 1 comprises a buffering

molecule with a pKa between 5.9 and 7.8 and a cell protectant. Id. at claim 2.

     270.      As established previously, each of these ingredients was well known in the art.

See generally, Ex. 11 (Jayme 1997), Ex. 12. (’704 patent), Ex. 13 (’614 application), Ex. 49

(Kitano) . Use of these well-known ingredients in cell culture media was previously disclosed by

a multitude of prior art references described herein. See Section VII, infra. Finally, including

the claimed amount and concentrations of each of the well-known ingredients in cell culture

media was also well known. Id.

     271.      To the extent Janssen argues that any of these facts are not the case for the ’083

patent and that the supposed invention was not obvious, the ’083 patent lacks adequate written


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description. There is no disclosure in the specification establishing why any particular ingredient

in any particular concentration is important for any particular cell line, except for one medium

(MET 1.5) that provides one example of the claimed ingredients’ concentrations for one

particular cell line (SP2/0 myeloma cells) that produces a particular type of antibody. Aside

from this one limited example, there is no disclosure from the inventors to indicate which

ingredients at what concentrations (and in the myriad concentration ratios that could result in

relation to each other) should be used for the variety of cell lines. This is true not even

accounting for the other potential ingredients that could be added in addition to the claimed

ingredients. This complete lack of description—except with respect to this one example—does

not demonstrate to a POSA that the inventors were in possession, at the time of the supposed

invention, what is claimed, i.e., any nutritive cell culture media that includes the claimed

ingredients in their myriad variety of concentrations and ratios for any particular cell line.

     272.      Moreover, the sole example medium shown to work in the specification (MET 1.5

medium) is not representative of the broadly claimed media in claims 1 and 2. MET 1.5

provides not only one specific concentration for each required ingredient but also includes

multiple ingredients in claim 1 that are “optional” or claimed with a minimum concentration of

zero. Despite this, there is no description in the specification that the inventors had possession of

a soluble composition that would be suitable for producing a cell culture medium in the absence

of these ingredients. Indeed, as shown below, these optional ingredients are present in the

example medium (MET 1.5 composition):

                                                           Concentration in the
                  Optional Ingredient
                                                           MET 1.5 Composition
             sodium pyruvate, 0.0-1000 mg                          100 mg
                 L-alanine, 0.0-150 mg                            79.31 mg


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                                                        Concentration in the
                  Optional Ingredient
                                                        MET 1.5 Composition
                   glycine, 0.0-150 mg                         16.23 mg
                  L-proline, 0-1000 mg                         14.94 mg
               L-glutamic acid, 0-1000 mg                       6.36 mg
                  L-taurine, 0-1000 mg                          3.64 mg
                L-ornithine.HCl, 0-100 mg                       2.44 mg
            sodium hypoxanthine, 0.0-20.0 mg                   2.069 mg
                   thymidine, 0-3.0 mg                         0.316 mg

     273.      The specification does not describe how any of these nine ingredients (or any of

the other ingredients) should be included or adjusted for a particular cell line, or otherwise

explain how the other claimed ingredients should be adjusted in the absence or presence of these

optional ingredients. Therefore, the disclosure does not support the broad scope of claim 1.

     274.      Thus, in my opinion, to the extent that the claims are found to be nonobvious, the

specification fails to provide adequate written description support to demonstrate that the

inventors had possession of the claimed invention.

       C.      Enablement

     275.      Further, if the asserted claims were found to be nonobvious, despite the teachings

of the prior art in view of the knowledge of a POSA, the specification would not have enabled a

POSA to practice the full scope of the claimed invention without undue experimentation. As

discussed above in Section VIII, the prior art discloses each of the claimed ingredients in

amounts within the claimed ranges. In my opinion, a POSA would require nothing more than

routine experimentation to follow the teachings of the prior art to develop the claimed cell

culture media. However, to the extent that Janssen argues that this optimization was not well-

known in the art in 2003 and a POSA would not have had a reasonable expectation of success in

combining the teachings of the prior art (a premise with which I disagree), then this POSA also



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would not have had the requisite skill to practice the full scope of the claimed invention without

undue experimentation.

     276.      The specification describes only a single example of a cell culture medium

(referred to as the “MET 1.5” medium) that was shown to grow in a single cell line. Ex 1 (’083

patent) at 6:5 –7:5. The MET 1.5 medium is a recipe for a specific soluble composition

including sixty-one ingredients that are combined in a particular amount for each of the 61

ingredients. Id. By contrast, the cell culture media of the asserted claims are much broader in at

least two material respects. First, the claimed cell culture media may contain the same 61

ingredients recited in the MET 1.5 medium, but 9 of those ingredients may be present in an

amount as little as 0 mg. In other words, the inventors claimed to have invented a cell culture

media that would work with only 52 of the 61 ingredients recited in the MET 1.5 medium.

Second, the claimed concentration ranges for each of the 61 ingredients are not tailored to the

MET 1.5 medium.        For instance, several of the claimed ingredients may be present in

concentration ranges that span at least a hundred-fold difference between the lower and upper

claimed ranges. 40 These features make the scope of the asserted claims exceedingly broad.

     277.      Other than the example of the MET 1.5 medium, the specification provides no

specific guidance, beyond what a POSA would have known in the art, to develop other cell

culture media within the broad scope of the claimed invention. In particular, the specification

does not instruct under what circumstances the 9 optional ingredients may be excluded from the


40
   There is at least a hundred-fold difference between the upper and lower claimed amounts for
the ingredients ferric ammonium citrate (a 5000-fold difference), L-tryptophan (a 250-fold
difference), p-aminobenzoic acid (a 200-fold difference), linoleic acid (a 200-fold difference),
MnSO4.H2O (a 114-fold difference), vitamin B12 (a 100-fold difference), choline chloride (a
100-fold difference), riboflavin (a 100-fold difference), i-Inositol (a 100-fold difference), and
CoCl2.6H2O (a 100-fold difference). Ex. 1(’083 patent) at claim 1.


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cell culture media. If a POSA were to choose to remove these 9 optional ingredients, the

specification does not explain how a POSA should adjust the MET 1.5 medium to account for

their absence. Likewise, the specification provides no guidance for a POSA to determine how to

select a particular concentration among the broad ranges described for each ingredient, or how to

balance the specific amounts of each of the ingredients relative to each other.

     278.      Underlying the specification is an implicit assumption that a POSA has the

knowledge and skill to adjust the MET 1.5 medium to prepare other media within the claimed

ranges for the ingredients. As discussed above, I have applied this level of knowledge and skill

in my own assessment of the obviousness of the claimed invention. The prior art teaches the use

in cell culture media of each of the claimed ingredients in amounts within the claimed ranges. In

my opinion, it was within the ordinary skill of a POSA to select among the known ingredients

commonly used in cell culture media—including alternative forms of the desired ingredients—

and to optimize the amount of the ingredients recited in the prior art. A POSA would have had a

reasonable expectation of success in combining the teachings of the prior art to develop the

claimed cell culture media.

     279.      However, to the extent Janssen argues that a POSA would not have had the

requisite skill to choose these ingredients and to optimize the concentrations as described in the

prior art, then that POSA also would not have had the necessary skill to practice the full scope of

the claimed invention without undue experimentation. In other words, if more than routine

experimentation is required to follow the teachings of the prior art to implement the claimed

invention, then more than routine experimentation would also be required to adapt the MET 1.5

composition to practice the full scope of the claimed invention, because the specification does

not provide any meaningful instruction beyond what was already well known to a POSA.


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     280.      I understand that the test of enablement is not whether any experimentation is

necessary, but whether, if experimentation is necessary, it is undue. Because of the limited

disclosures and the broad scope of the claims, experimentation is necessary. I also believe that if

the invention is not obvious to a POSA (i.e., required more than routine optimization to come up

with claimed ingredients and concentrations), then it would have required a POSA of that level

of skin undue experimentation to practice the full scope of the claimed invention. As discussed,

I understand that the test for undue experimentation involves consideration of the following eight

factors: (1) the quantity of experimentation necessary, (2) the amount of direction or guidance

presented, (3) the presence or absence of working examples, (4) the nature of the invention, (5)

the state of the prior art, (6) the relative skill of those in the art, (7) the predictability or

unpredictability of the art, and (8) the breadth of the claims.

                       a.      Nature Of The Invention.

     281.      The nature of the alleged invention is a cell culture media with 61 well-known

ingredients provided in well-known concentrations.            To the extent this combination of

ingredients in their claimed concentration ranges would not have been obvious to a POSA, the

invention requires undue experimentation to determine which of the innumerable concentrations

present in that range will or will not work, in combination with the other 60 ingredients (also at

innumerable possible concentrations), in view of the lack of disclosure as to the importance of

any of these concentrations.

     282.      I understand that Janssen has previously described the claimed invention as being

“used for growing the cells that have been modified to make biologic products”: 41


41
  Ex. 50 (Brief in Support of Janssen’s Motion to Modify the Protective Order) at 2-3 (emphasis
added).


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       In the early 2000s, Janssen invented the cell culture media of the ’083 patent. A
       cell culture media is [sic] used for growing the cells that have been modified to
       make biologic products like Remicade. Janssen’s patent formula includes 61
       different ingredients and is optimal for the production of antibodies, such as
       Remicade. Use of a cell culture media [sic] is critical to obtain the desired
       characteristics of the biologic, and any substantial changes in the cell culture
       media being used to make a biologic product will change the nature of the
       biologic product.

                       b.      The Breadth of the Claims.

     283.       As discussed above in the context of written description, the breadth of the claims

is exceedingly broad. This is especially true in view of (1) the complete lack of disclosure with

respect to any information as to the relevance of the ingredients, or the relevance of the claimed

concentrations of those ingredients, and their relationship to each other and (2) the amount of

information already known in the prior art. To the extent that these claims would not have been

obvious,    these concentration ranges do not appear to be tailored to any specific soluble

composition. Indeed, the specification does not disclose how these concentration ranges were

chosen or otherwise explain the significance of these concentrations to the function of the

claimed invention. The asserted claims further allow for the removal of up to nine of the claimed

ingredients and permit the addition of any other ingredients to the soluble composition. A POSA

would understand that the claimed invention encompass a vast number of potential soluble

compositions.

                       c.      The Presence Or Absence Of Working Examples, The Amount
                               Of Direction Or Guidance Presented, And The Predictability
                               Or Unpredictability Of The Art.

     284.       As discussed above, there is only a single example of a soluble composition—the

MET 1.5 medium. Despite the expansive breadth of the claimed invention, the specification

provides minimal direction. Other than listing the proposed concentration ranges for each of the




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claimed ingredients, the specification provides no instruction for how a POSA should select a

specific concentration for any ingredient to develop a cell culture medium. For instance, the

specification does not ascribe any particular function to any of the individual ingredients and

does not establish any cause-effect relationship between the concentration of any ingredient and

the function of the cell culture media by itself and in combination with each other. Therefore, to

the extent this knowledge is not already in the prior art as explained above, a POSA could not

predict, prior to conducting experimentation, how adjusting the concentration of an ingredient

would affect the function of the cell culture medium. A POSA must resort to extreme trial and

error—an endeavor involving compensating for at least sixty-one independent variables and

likely many more. Thus, to a POSA, the specification fails to provide any meaningful instruction

for how to make and use the full scope of the claimed soluble compositions to promote cell

culture growth—let alone, a cell culture medium that is optimized for the production of

biopharmaceutical products as Janssen claims for their medium.

                      d.      The State Of The Prior Art.

     285.      The state of the prior art—although advanced at the time of the invention as

discussed in my obviousness analysis—reflected that POSA require specific guidance to make

and use cell culture media for a particular intended use. Unlike many other medium patents that

I have reviewed, the ’083 patent makes no specific comments regarding which specific medium

components or their concentrations are uniquely enabling for promoting cell growth in their

medium.

     286.      For example, the Mather patent (Ex. 51 (U.S. Patent No. 5,122,469)) indicates

that elevated amounts of amino acids and their molar ratios are important for the performance of

the medium. As another example, the Inlow patent (Ex. 52 (U.S. Patent No. 6,048,728)


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specifically calls out the “prescribed combinations” of glutamine, phospholipid precursors

(including ethanolamine), tryptophan and additional amino acids as required for a given cell line

and states that “the deletion of any of the prescribed components diminishes the desired

effect.” Still a third example is the Shinmoto patent (Ex. 53 (U.S. Patent No. 5,573,937)) that

describes the eRDF formulation (Cytotechnology, 23:95-101, 1997) where it is specifically

mentioned that compared to existing formulations, the concentration of amino acids are tripled,

the concentration of glucose is doubled, the level of vitamins are increased and the osmolarity is

increased by 5%. The patent also mentions an ITES-eRDF modification for which insulin (I),

transferrin (T), ethanolamine (E) and selenium (S) are added. As a last example, as discussed

above, the ’704 patent specifically specifies the trace metal concentrations as important for the

protein-free medium formulation described. By contrast, the ’083 patent simply lists the

concentration ranges of sixty-one (only 52 of which are required) components as the invention

without comment regarding the relative importance of any component, combination of

components or their relative concentrations.

     287.      Given that all of the components of the ’083 medium appear in public medium

formulations established prior to the ’083 patent, if the prior art does not enable the claimed

invention, then it is difficult to determine what in the specification further enables the invention.

The ’083 patent merely appears to provide a summary of the prior art ingredients and ranges and

an invitation for a POSA to select a soluble composition within the broad scope of the claimed

invention by conducting experiments. The specification provides no instruction beyond what

information was already known in the prior art for how to select the concentration for each of the

ingredients or how to adjust the concentrations of the ingredients in a specific soluble

composition to produce a nutritive cell culture medium.


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                        e.     The Relative Skill Of Those In The Art.

     288.        As discussed above, in my opinion a POSA would have had a high skill level—a

doctorate degree in biochemistry, molecular biology, or a related field with one or two years of

direct experience in formulation of and use of cell culture media in the context of

biopharmaceutical product production. A person of ordinary skill in the art could also have

fewer years of formal education if they held either a bachelor’s or master’s degree in the same

fields listed above but also had several years of hands-on experience in academic or industrial

laboratories in this area. Although a POSA would have had relevant knowledge of cell culture

media, to the extent that the claims would not have been obvious in view of the prior art and my

discussion at Section VIII, the ordinary skill cannot replace the lack of instruction in the

specification.

                        f.     Quantity Of Experimentation.

     289.        To the extent that Janssen argues that the asserted claims would not have been

obvious to a POSA in view of the prior art as discussed in Section VIII above, in light of the skill

of a POSA, the quantity of experimentation necessary to make the full scope of the claimed

soluble compositions suitable for producing a medium that is useful in promoting cell culture

growth is extensive. The research and development of cell culture media could be a costly and

time consuming endeavor, particularly if the objective of the cell culture media is to produce a

biopharmaceutical product.

     290.        The cell culture experiments commissioned by Janssen in this litigation provide

perspective on the quantity of experimentation necessary in the art if the claims would not have

been obvious. This is particularly true when several of the ingredients are outside the claimed

ranges but still alleged to infringe the claim. Dr. Wurm conducted testing that compared the


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accused media in various formulations to address those ingredients that fall outside the claimed

ranges to study the growth and productivity of a recombinant cell line producing an antibody,

which I will refer to as the “Wurm Test.” 42 I understand that this testing took months to

complete in a sophisticated laboratory, and cost Janssen approximately €914,000. 43

                      g.     Janssen’s Failure To Develop The Claimed Media For
                             Production Of Any Commercial Product.

     291.     Lastly, I understand that the goals for the project that led to the ’083 patent were

two-fold:




42
   See Ex. 56 (Report of Florian M. Wurm, Dr. rer. nat. and Maria J. De Jesus, Dr. es Sc.,
Comparison of medium formulations in a study of growth and productivity of a recombinant
mammalian cell line producing an antibody, April 13, 2006 (“Wurm Test”)).
43
   See Ex. 57 (Janssen’s Response to Defendants’ Interrogatory) at No. 7.

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      292.     Thus, for all of the reasons discussed above, the scope of the claimed invention is

so broad, as compared to the minimal disclosure provided in the specification, that a POSA

would not have been able to make and use the full scope of the claimed invention without undue

experimentation.

X.      Supplementation and Rebuttal

      293.     I reserve the right to supplement my report in response to any facts or evidence to

that comes to light after this report. I also reserve the right to rebut any arguments or evidence

set forth by the plaintiffs in this case in response to any argument or opinion I set forth above. I

further reserve the right to testify that arguments made herein for one invalidity point are equally

applicable for other invalidity points I make in this report.

XI.     Conclusion

      294.     Based upon my review of references cited above and my own experience, it is my

opinion that Claims 1 and 2 of the ’083 patent are obvious in light of the prior art and

information known to a POSA in 2003. While I have set forth specific prior art combinations

above that, in my opinion, render the ’083 patent claims obvious, it is also my opinion that based

upon all of the prior art discussed herein, taken in totality and known to the POSA in 2003-2004,

would render the claims of the ’083 patent obvious.

      295.     To the extent that the asserted claims of the ’083 patent would not have been

obvious in view of the opinions provided above, the asserted claims lack sufficient written

description and enablement and are therefore, invalid.




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    APPENDIX 1: TABLE OF EXHIBITS TO OPENING EXPERT OF MICHAEL
              GLACKEN, PH.D. REGARDING INVALIDITY OF
                  UNITED STATES PATENT NO. 7,598,083

EXHIBIT                          DOCUMENT DESCRIPTION
NUMBER
  1.    U.S. Pat. No. 7,598,083
  2.    List of Materials Considered
  3.    M. Glacken, Ph.D.’s curriculum vitae
   4.    Glacken, M.W., E. Adema, and A. J. Sinskey, “Mathematical descriptions of
         hybridoma culture kinetics I. Initial metabolic rates,” BIOTECHNOLOGY AND
         BIOENGINEERING 32: 491-506, 1988.
   5.    Glacken, M.W., R.J. Fleischaker, and A. J. Sinskey, “Reduction of waste product
         excretion via nutrient control: possible strategies for maximizing product and cell
         yields on serum in cultures of mammalian cells,” BIOTECHNOLOGY AND
         BIOENGINEERING 28: 1376-1389, 1986.
   6.    Glacken, M.W., E. Adema, and A. J. Sinskey, “Mathematical description of
         hybridoma culture kinetics II: The relationship between thiol chemistry and the
         degradation of serum activity,” BIOTECHNOLOGY AND BIOENGINEERING 33: 440-
         450, 1989.
   7.    Glacken, M.W., C. Huang, and A. J. Sinskey, “Mathematical descriptions of
         hybridoma culture kinetics III: Simulation of fed-batch bioreactors,” JOURNAL OF
         BIOTECHNOLOGY 10: 39-66, 1989.
   8.    Glacken, M.W., “Catabolic control of mammalian cell culture,” BIOTECHNOLOGY
         6: 1041-10450 (1988).
   9.    Newell, et al., “Optimizing Vendor Proprietary Serum-Free Media,” in Animal
         Cell Technology: Developments Towards the 21st Century, 1995.
  10.    Glacken, M.W., “High Throughput Biopharmaceutical Process Development,”
         Presentation, June 2004.
  11.    Jayme et al., “Basal medium development for serum-free culture: a historical
         perspective,” CYTOTECHNOLOGY 23:95-101, 1997.
  12.    U.S. Pat. No. 4,767,704
  13.    WO 1998/015614
  14     WO 2004/078955
  15.    Eagle, H., “Nutrition Needs of Mammalian Cells in Tissue Culture,” SCIENCE,
         Vol. 122:501-504, 1955.
  16.    Helmrich et al., “Chapter 1: Animal Cell Culture Equipment and Techniques,
         Division of Cell, Developmental, and Molecular Biology/Genetics American Type
         Culture Collection,” in Methods in Cell Biology, Vol. 57:3-17, 1998
  17.    Eagle, H., “Amino Acid Metabolism in Mammalian Cell Cultures,” SCIENCE, Vol.
         130:432-437, 1959.
  18.    Mather, “Chapter 2: Making Informed Choices: Medium, Serum, and Serum-Free
         Medium How to Choose the Appropriate Medium and Culture System for the
         Model You Wish to Create,” in Methods in Cell Biology, Vol. 57, 1998.
  19.    Dulbecco et al., “A Plaque Assay for the Polyoma Virus,” VIROLOGY, 8(3): 396-
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EXHIBIT                           DOCUMENT DESCRIPTION
NUMBER
          7, May 4, 1959.
  20.     Moore, G.E., et al., “Culture of Normal Human Leukocytes,” JAMA Vol. 199,
          No. 8, February 20, 1967.
  21.     Ham, R.G., “Clonal growth of mammalian cells in chemically defined synthetic
          medium,” PROC. NATL. ACAD. SCI. 53:288-293 (1965).
  22.     Heby, O., “Role of Polyamines in the Control of Cell Proliferation and
          Differentiation,” DIFFERENTIATION, 19: 1-20 (1981).
  23.     Bottenstein, J. E., “Growth of a rat neuroblastoma cell line in serum-free
          supplemented medium,” PROC. NAT. ACAD. SCI. USA, 76:514-517 (1979).
  24.     Ozturk, S. “Kinetic Characterization of Hybridoma Growth, Metabolism, and
          Monoclonal Antibody Production Rates,” Doctoral Dissertation at Univ. of Mich.,
          submitted 1990.
  25.     Jayme, D., et al., “Media Selection and Design: Wise Choices and Common
          Mistakes,”BIOTECHNOLOGY Vol. 9:715-721, August 1991.
  26.     Hamilton, W., et al., “Clonal Growth of Chinese Hamster Cell Lines in Protein-
          Free Media,” IN VITRO, 13(9):537-547, 1977.
  27.     Murakami, H., et al., “Growth of hybridoma cells in serum-free medium:
          Ethanolamine is an essential component,” PROC. NAT. ACAD. SCI. USA, Vol. 79:
          1158-1162, February 1982.
  28.     Murakami, H., “Serum-free media used for cultivation of hybridomas,” in
          Advances in Biotechnological Processes, Vol. 11, Monoclonal Antibodies:
          Production and Application. Alan R. Liss, New York, pp. 107-141, 1989.
  29.     U.S. Pat. No. 5,135,866
  30.     WO 01/16294
  31.     U.S. Pat. No. 5,045,468
  32.     US 2003/0203448
  33.     Cleveland, W. L., “Routine Large-Scale Production of Monoclonal Antibodies in
          a Protein-Free Culture Medium,” J. IMMUNOLOGICAL METHODS, 56:221-234
          (1983).
  34.     U.S. Pat. No. 4,816,401
  35.     Darfler, F., “A Protein-Free Medium for the Growth of Hybridomas and Other
          Cells of the Immune System,” IN VITRO. CELL. DEV. BIOL. 26:769-778, August
          1990.
  36.     Keenan, J., et al., “Replacement of Transferrin by Simple Iron Compounds for
          MDCK Cells Grown and Sub-cultured in Serum-free Medium,” IN VITRO. CELL.
          DEV. BIOL. ANIMAL, 32(8):451-453 (Sept. 1996).
  37.     Ham, R.G., “Importance of the Basal Nutrient Medium in the Design of
          Hormonally Defined Media,” in Growth of cells in Hormonally Defined Media,
          Cold Spring Conferences on Cell Proliferation, 1982.
  38.     WO 98/08934
  39.     U.S. Pat. No. 6,171,825
  40.     WO 02/077202
  41.     U.S. Pat. No. 6,475,725
  42.     U.S. 2003/0096402
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EXHIBIT                            DOCUMENT DESCRIPTION
NUMBER
  43.   U.S. Pat. No. 6,593,140
  44.   Gibco™ “Cell Culture” Brochure (Summer 2002).
  45.   Preliminary Infringement Contentions of Plaintiffs Janssen Biotech, Inc. and New
        York University, dated March 3, 2016 - CONFIDENTIAL
  46.   Castro, P., et al., “Application of a statistical design to the optimization of culture
        medium for recombinant interferon-gamma production by Chinese hamster ovary
        cells,” APPL MICROBIO BIOTECHNOL (1992) 38:84-90.
  47.   U.S. Pat. No. 5,232,848
  48.   Defendants’ Preliminary Noninfringement Contentions dated March 31, 2016 –
        CONFIDENTIAL.
  49.   Kitano, K., “Serum-Free Media,” in Animal Cell Bioreactors, Ho, C.S., Wang,
        D.I.C., eds., Butterworth-Heinman, pub., 1991.
  50.   Brief in Support of Janssen’s Motion to Modify the Protective Order, August 12,
        2015, filed under seal at Dkt. No. 69. CONFIDENTIAL
  51.   U.S. Pat. No. 5,122,469
  52.   U.S. Pat. No. 6,048,728
  53.   U.S. Pat. No. 5,573,937
  54.


   55.       Deposition Transcript of David Epstein taken June 9, 2016 - CONFIDENTIAL
   56.       Wurm, F.M., et al., “Comparison of medium formulations in a study of growth
             and productivity of a recombinant mammalian cell line producing an antibody,”
             dated April 13, 2016
   57.       Plaintiffs’ Objections and Response to Defendants’ First Set of Interrogatories
             served September 22, 2015
   58.       Deposition Transcript of Susan Lenk taken June 7, 2016.
   59.       U.S. Pat. No. 4,657,866
   60.       EP 1754784
   61.       U.S. 2003/0166146 A1
   62.       BIO 2004 Breakout Sessions regarding Ex. 10.
   63.       Chalmers, J., “Cells and bubbles in sparged bioreactors,” 1994, 15:311-320
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Comparison Of The Amounts Of The Trace Elements In Both The ’704 And ’083 Patents



                                     Trace Elements Of The ’704 Patent

                 MW of        Min. Preferred       Max. Preferred        Min. Preferred       Max. Preferred
    Element      Element      Con. of Element      Con. of Element       Con. of Element      Con. of Element
                 (g/mol)          (mg/L)               (mg/L)              (µmol/L)1             (µmol/L)

       iron       55.85           8.40E-03             8.40E-01             1.50E-01             1.50E+01

      zinc        65.38           9.90E-03             9.90E-01             1.51E-01             1.51E+01

     copper       63.55           3.10E-05             3.10E-03             4.88E-04              4.88E-02

      cobalt      58.93           6.00E-05             6.00E-03             1.02E-03              1.02E-01

molybdenum        95.94           4.80E-06             4.80E-04             5.00E-05              5.00E-03

      nickel      58.69           1.40E-06             1.40E-04             2.39E-05              2.39E-03

    selenium      78.96           2.60E-04             2.60E-02             3.29E-03              3.29E-01

     silicon      28.09           7.00E-04             7.00E-02             2.49E-02             2.49E+00

       tin        118.71          3.10E-06             3.10E-04             2.61E-05              2.61E-03

    vandium       50.94           1.30E-05             1.30E-03             2.55E-04              2.55E-02

    manganese     54.94           2.80E-06             2.80E-04             5.10E-05              5.10E-03




1
  I calculated the minimum and maximum preferred micromolar concentrations for each of the elements by dividing
the preferred concentration of the element in mg/L as provided in the ’704 patent by the molecular weight of the
element. I then converted this amount to micromolar units.

                                                       1
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Comparison Of The Amounts Of The Trace Elements In Both The ’704 And ’083 Patents


                                    Trace Element Salts Of The ’083 Patent

     Claimed       MW of          Min. Con. of      Max. Con. of                  Min. Con. of     Max. Con. of
                                                                      Trace
    Compound      Compound        Compound          Compound                        Element         Element
                                                                     Element3
     (mg/L)        (g/mol)         (mol/L)2          (mol/L)                       (µmol/L)4        (µmol/L)
       ferric
   ammonium
                      265           1.51E-07          7.55E-04          iron        1.51E-01         7.55E+02
      citrate,
  0.04-200 mg;
  FeSO4.7H2O,
                   278.01456        1.80E-07          1.80E-06          iron        1.80E-01         1.80E+00
  0.05-0.50 mg;
    Fe(NO3)3.
9H2O, 0.01-0.08    403.99722        2.48E-08          1.98E-07          iron        2.48E-02         1.98E-01
        mg;
  ZnSO4.7H2O,
                   287.54956        1.39E-06          4.17E-06          zinc        1.39E+00         4.17E+00
  0.40-1.20 mg;
  CuSO4.5H2O,
                    249.685         4.01E-09          2.00E-08         copper       4.01E-03         2.00E-02
0.001-0.005 mg;
  CoCl2.6H2O,
                   237.9309         4.20E-09          4.20E-07         cobalt       4.20E-03         4.20E-01
 0.001-0.10 mg;
 (NH4)6Mo7O24
                                                                     Molybden
 •4H2O, 0.001-      1235.86         8.09E-10          4.05E-09                      5.66E-03         2.83E-02
                                                                      um (x7)
    0.005 mg;
  NiSO4•6H2O,
    0.000025-        262.86         9.51E-11          1.90E-09         nickel       9.51E-05         1.90E-03
   0.0005 mg;
Na2SeO3, 0.004-
                   172.93774        2.31E-08          4.05E-07        selenium      2.31E-02         4.05E-01
     0.07 mg;
 Na2SiO3.9H2O,
                     284.2          7.04E-08          1.41E-06         silicon      7.04E-02         1.41E+00
  0.02-0.4 mg;
   SnCl2.2H2O,
    0.000025-        225.65         1.11E-10          2.22E-09           tin        1.11E-04         2.22E-03
   0.0005 mg;
    NH4VO3,
 0.0001-0.0025       116.98         8.55E-10          2.14E-08        vandium       8.55E-04         2.14E-02
        mg;
  MnSO4•H2O,
    0.000070-      223.0618         3.14E-10          3.59E-08       manganese      3.14E-04         3.59E-02
   0.0080 mg;




2
  I determined the minimum and maximum molar concentrations of each of the claimed compounds by dividing the
claimed concentration of each compound in mg/L as listed in the ’083 patent by the molecular weight of the
compound.
3
  I identified the key trace element in the claimed compounds. I note that the molar concentration of each trace
element is equivalent to the molar concentration of the claimed compound, except for molybdenum. There are 7
moles of molybdenum for every mole of ammonium molybdate.
4
  I determined the minimum and maximum molar concentrations of the key trace elements by multiplying the molar
concentrations of each of the claimed compounds by the molar ratio of the trace element in the claimed compound.
I then converted this amount to micromolar units.

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Comparison Of The Amounts Of The Trace Elements In Both The ’704 And ’083 Patents



          Comparison Of The Amounts Of The Trace Elements In Both The ’704 And ’083 Patents

                         Trace Elements Of The ’704 Patent5        Trace Element Of The ’083 Patent

          Element        Min. Preferred       Max. Preferred        Min. Con. of        Max. Con. of
                         Con. of Element      Con. of Element        Element             Element
                            (µmol/L)             (µmol/L)            (µmol/L)            (µmol/L)
                                                                   FAC: 1.51E-01       FAC: 7.55E+02
                                                                  Sulfate: 1.80E-01   Sulfate: 1.80E+00
             iron            1.50E-01            1.50E+01
                                                                  Nitrate: 2.48E-02   Nitrate: 1.98E-01
                                                                   Total: 3.56E-01    Total: 7.57E+02
             zinc            1.51E-01            1.51E+01            1.39E+00            4.17E+00

           copper            4.88E-04            4.88E-02             4.01E-03            2.00E-02

            cobalt           1.02E-03            1.02E-01             4.20E-03            4.20E-01

        molybdenum           5.00E-05            5.00E-03             5.66E-03            2.83E-02

            nickel           2.39E-05            2.39E-03             9.51E-05            1.90E-03

          selenium           3.29E-03            3.29E-01             2.31E-02            4.05E-01

            silicon          2.49E-02            2.49E+00             7.04E-02           1.41E+00

              tin            2.61E-05            2.61E-03             1.11E-04            2.22E-03

           vandium           2.55E-04            2.55E-02             8.55E-04            2.14E-02

         manganese           5.10E-05            5.10E-03             3.14E-04            3.59E-02




5
  This table compares the micromolar concentrations of the trace elements in both the ’407 and ’083 patents, as
calculated above.

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           APPENDIX 3
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                            Obviousness Of The ’083 Patent
    Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA

                               Table 16 of Jayme 1997 &
                           Table 1, Table 2, or Elements Table
    Claim 1 of the ’083                                                 Exemplary Prior Art Reflecting the
         Patent                     of the ’704 Patent                      Knowledge of A POSA
                                                   Concentration
                               Component
                                                  Range(s) (mg/L)
                                                                      A POSA would have known that
                                                                      anhydrous CaCl2 is an ingredient
                                                                      commonly used in cell culture media, as
                                                                      reflected in the following prior art
                                                                      references:
                                                                        The ’401 patent (Table 1)
     anhydrous CaCl2,         CaCl2 (anhyd)                       7
                                                       116.60           The ’934 application (Table 1)
        5-200 mg;             (Jayme 1997)
                                                                        The ’202 application (Table 1)
                                                                        The ’402 application (Table A2)
                                                                        Jayme 1997 (Table 1)
                                                                        The ’955 application (Table 3)
                                                                      A POSA would have known that
                                                                      anhydrous MgCl2 is an ingredient
                                                                      commonly used in cell culture media, as
                                                                      reflected in the following prior art
                                                                      references:
                                                                        The ’401 patent (Table 1)
    anhydrous MgCl2,          MgCl2 (anhyd)                   8
                                                        28.64           The ’934 application (Table 1)
       15-50 mg;              (Jayme 1997)
                                                                        The ’934 application (Table 2)
                                                                        The ’202 application (Table 1)
                                                                        Jayme 1997 (Table 1)
                                                                        The ’955 application (Table 3)
                                                                      A POSA would have known that
                                                                      anhydrous MgSO4 is an ingredient
                                                                      commonly used in cell culture media, as
                                                                      reflected in the following prior art
                                                                      references:
                                                                        The ’401 patent (Table 1)
    anhydrous MgSO4,          MgSO4 (anhyd)
                                                          66.20         The ’934 application (Table 1)
        20-80 mg;             (Jayme 1997)
                                                                        The ’202 application (Table 1)
                                                                        The ’402 application (Table A2)
                                                                        Jayme 1997 (Table 1)
                                                                        The ’955 application (Table 3)


6
  eRDF, as disclosed in Murakami 1989 and as supplemented by disclosures in Jayme 1997. See Ex. 28 at 112.
7
  As disclosed by DMEM/F12.
8
  As disclosed by DMEM/F12.

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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that
                                                            FeSO4.7H2O is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                             8.4 x 10-3
  FeSO4.7H2O,            FeSO4.7H2O                          The ’402 application (Paragraph 23)
                                                 —
  0.05-0.50 mg;         (Jayme 1997)
                                             8.4 x 10-1      Hamilton 1977 (Table 1)
                                                             Cleveland 1983 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that
                                                            Fe(NO3)3.9H2O is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                             8.4 x 10-3      The ’401 patent (Table 1)
 Fe(NO3)3.9H2O,         Fe(NO3)3.9H2O
                                                 —
  0.01-0.08 mg;          (Jayme 1997)
                                             8.4 x 10-1      The ’866 patent (Table I)
                                                             The ’202 application (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                 Knowledge of A POSA
                                            Concentration
                         Component
                                           Range(s) (mg/L)
                                                             A POSA would have known that
                                                             ZnSO4.7H2O is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
                                                              The ’934 application (Table 2)
                                              9.9 x 10-3
  ZnSO4.7H2O,           ZnSO4.7H2O                            The ’402 application (Table B2)
                                                  —
  0.40-1.20 mg;         (Jayme 1997)
                                              9.9 x 10-1      The ’402 application (Paragraph 23)
                                                              Hamilton 1977 (Table 1)
                                                              Cleveland 1983 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that ferric
                                                             ammonium citrate is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
 ferric ammonium              Iron            8.4 x 10-3     references:
       citrate,       (Elements Table of          —
   0.04-200 mg;         the ’704 patent)      8.4 x 10-1      Keenan at 453
                                                              ’140 patent (2:3-7)
                                                              Kitano at 83




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that KCl is
                                                            an ingredient commonly used in cell
                                                            culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
      KCl,                  KCl
                                               373.00
   280-500 mg;          (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Paragraph 23)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that NaCl is
                                                            an ingredient commonly used in cell
                                                            culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
      NaCl,                 NaCl                             The ’202 application (Table 1)
                                              6435.00
  5000-7500 mg;         (Jayme 1997)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table A3)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                              Obviousness Of The ’083 Patent
      Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                                Table 16 of Jayme 1997 &
                            Table 1, Table 2, or Elements Table
     Claim 1 of the ’083                                              Exemplary Prior Art Reflecting the
          Patent                     of the ’704 Patent                   Knowledge of A POSA
                                                   Concentration
                                Component
                                                  Range(s) (mg/L)
                                                                     A POSA would have known that
                                                                     NaH2PO4.H2O is an ingredient
                                                                     commonly used in cell culture media, as
                                                                     reflected in the following prior art
                                                                     references:
       NaH2PO4.H2O,            NaH2PO4.H2O                            The ’401 patent (Table 1)
                                                       62.509
        30-100 mg;             (Jayme 1997)
                                                                      The ’202 application (Table 1)
                                                                      The ’402 application (Table A2)
                                                                      Jayme 1997 (Table 1)
                                                                      The ’955 application (Table 3)
                                                                     A POSA would have known that
                                                                     Na2HPO4 is an ingredient commonly
                                                                     used in cell culture media, as reflected in
                                                                     the following prior art references:
                                                                      The ’401 patent (Table 1)
          Na2HPO4,           Na2HPO4 (anhyd)                          The ’934 application (Table 1)
                                                       71.0210
         30-100 mg;           (Jayme 1997)
                                                                      The ’934 application (Table 2)
                                                                      The ’402 application (Paragraph 23)
                                                                      Jayme 1997 (Table 1)
                                                                      The ’955 application (Table 3)




9
    As disclosed by DMEM/F12.
10
    As disclosed by DMEM/F12. eRDF uses sodium phosphate dibasic anhydrous at 1220.00 mg/L.

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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                 Knowledge of A POSA
                                            Concentration
                         Component
                                           Range(s) (mg/L)
                                                             A POSA would have known that
                                                             CuSo4.5H2O is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
                                                              The ’934 application (Table 2)
                                              3.1 x 10-5
  CuSO4.5H2O,           CuSO4.5H2O                            The ’402 application (Table B2)
                                                  –
 0.001-0.005 mg;        (Jayme 1997)
                                              3.1 x 10-3      The ’402 application (Paragraph 23)
                                                              Hamilton 1977 (Table 1)
                                                              Cleveland 1983 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that
                                                             CoCl2.6H2O is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                              The ’934 application (Table 2)
                         CoCl2.6H2O           6.0 x 10-5
   CoCl2.6H2O,                                                The ’402 application (Table B3)
                        (Table II of the          —
  0.001-0.10 mg;
                         ’704 patent)         6.0 x 10-3      Hamilton 1977 (Table 1)
                                                              Cleveland 1983 (Table 1)
                                                              Darfler (Table 1)
                                                              The ’955 application (Table 3)




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                          Obviousness Of The ’083 Patent
  Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                           Table 16 of Jayme 1997 &
                       Table 1, Table 2, or Elements Table
 Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
      Patent                    of the ’704 Patent                 Knowledge of A POSA
                                             Concentration
                          Component
                                            Range(s) (mg/L)
                                                              A POSA would have known that
                                                              (NH4)6Mo7O24•4H2O is an ingredient
                                                              commonly used in cell culture media, as
                                                              reflected in the following prior art
                                                              references:
                                                               The ’401 patent (Table 1)
                                                       -6
                       (NH4)6Mo7O24.4H2O       4.8 x 10        The ’866 patent (Table I)
 (NH4)6Mo7O24•4H2O,
                         (Table II of the          —
   0.001-0.005 mg;
                          ’704 patent)         4.8 x 10-4      The ’934 application (Table 2)
                                                               The ’402 application (Table B4)
                                                               Hamilton 1977 (Table 1)
                                                               Cleveland 1983 (Table 1)
                                                               The ’955 application (Table 3)
                                                              A POSA would have known that
                                                              MnSO4•H2O is an ingredient commonly
                                                              used in cell culture media, as reflected in
                                                              the following prior art references:
                          MnSO4.H2O            2.8 x 10-6
MnSO4•H2O, 0.000070-                                           The ’934 application (Table 2)
                         (Table I of the           —
    0.0080 mg;
                          ’704 patent)         2.8 x 10-4      The ’402 application (Table B4)
                                                               Cleveland 1983 (Table 1)
                                                               The ’955 application (Table 3)
                                                              A POSA would have known that
                                                              NiSO4•6H2O is an ingredient commonly
                                                              used in cell culture media, as reflected in
                                                              the following prior art references:
                                                               The ’401 patent (Table 1)
                          NiSO4.6H2O           1.4 x 10-6
     NiSO4•6H2O,                                               The ’866 patent (Table I)
                         (Table I of the           —
 0.000025-0.0005 mg;
                          ’704 patent)         1.4 x 10-4      The ’934 application (Table 2)
                                                               The ’402 application (Table B4)
                                                               Cleveland 1983 (Table 1)
                                                               The ’955 application (Table 3)




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                          Obviousness Of The ’083 Patent
  Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                            Table 16 of Jayme 1997 &
                        Table 1, Table 2, or Elements Table
 Claim 1 of the ’083                                                Exemplary Prior Art Reflecting the
      Patent                     of the ’704 Patent                     Knowledge of A POSA
                                                  Concentration
                            Component
                                                 Range(s) (mg/L)
                                                                   A POSA would have known that
                                                                   Na2SeO3 is an ingredient commonly
                                                                   used in cell culture media, as reflected in
                                                                   the following prior art references:
                                                                    The ’401 patent (Table 1)
                                                                    The ’934 application (Table 1)
                               Na2SeO3              2.6 x 10-4      The ’934 application (Table 2)
      Na2SeO3,
                        (discussed at 7:2-4 of          —
   0.004-0.07 mg;                                                   The ’202 application (Table 1)
                           the ’704 patent)         2.6 x 10-2
                                                                    The ’402 application (Table A2)
                                                                    The ’402 application (Table B2)
                                                                    The ’402 application (Paragraph 23)
                                                                    Darfler (Table 1)
                                                                    The ’955 application (Table 3)
                                                                   A POSA would have known that
                                                                   Na2SiO3.9H2O is an ingredient
                                                                   commonly used in cell culture media, as
                                                                   reflected in the following prior art
                                                                   references:

                           Na2SiO3.9H2O             7.0 x 10-4      The ’401 patent (Table 1)
   Na2SiO3.9H2O,
                           (Table I of the              —           The ’866 patent (Table I)
    0.02-0.4 mg;
                            ’704 patent)            7.0 x 10-2
                                                                    The ’934 application (Table 2)
                                                                    The ’402 application (Table B4)
                                                                    Cleveland 1983 (Table 1)
                                                                    The ’955 application (Table 3)
                                                                   A POSA would have known that
                                                                   SnCl2.2H2O is an ingredient commonly
                                                                   used in cell culture media, as reflected in
                                                                   the following prior art references:
                            SnCl2.2H2O              3.1 x 10-6      The ’934 application (Table 2)
SnCl2.2H2O, 0.000025-
                           (Table I of the              —
     0.0005 mg;                                                     The ’402 application (Paragraph 23)
                            ’704 patent)            3.1 x 10-4
                                                                    Hamilton 1977 (Table 1)
                                                                    Cleveland 1983 (Table 1)
                                                                    The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that
                                                            NH4VO3 is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                           NaVO3             1.3 x 10-5
    NH4VO3,                                                  The ’202 application (Table 1)
                        (Table I of the          —
0.0001-0.0025 mg;
                         ’704 patent)        1.3 x 10-3      The ’402 application (Table B4)
                                                             The ’402 application (Paragraph 23)
                                                             Hamilton 1977 (Table 1)
                                                             Cleveland 1983 (Table 1)
                                                             Darfler (Table 1)
                                                            A POSA would have known that D-
                                                            Glucose is an ingredient commonly used
                                                            in cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
   D-Glucose,             D-Glucose                          The ’934 application (Table 2)
                                              3424.00
  500-8000 mg;          (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                         Obviousness Of The ’083 Patent
 Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                           Table 16 of Jayme 1997 &
                       Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                            Exemplary Prior Art Reflecting the
     Patent                     of the ’704 Patent                 Knowledge of A POSA
                                             Concentration
                          Component
                                            Range(s) (mg/L)
                                                              Sodium pyruvate is listed as an optional
                                                              ingredient in the claimed cell culture
                                                              media. Nevertheless, a POSA would
                                                              have known that sodium pyruvate is an
                                                              ingredient commonly used in cell culture
                                                              media, as reflected in the following prior
                                                              art references:
                                                               The ’401 patent (Table 1)
                                                               The ’866 patent (Table I)
  sodium pyruvate,     Pyruvate (Na salt)
                                                 110.00        The ’934 application (Table 1)
    0.0-1000 mg;         (Jayme 1997)
                                                               The ’934 application (Table 2)
                                                               The ’202 application (Table 1)
                                                               The ’402 application (Table A2)
                                                               Hamilton 1977 (Table 1)
                                                               Darfler (Table 1)
                                                               Jayme 1997 (Table 1)
                                                               The ’955 application (Table 3)
                                                              Sodium hypoxanthine is listed as an
                                                              optional ingredient in the claimed cell
                                                              culture media. Nevertheless, a POSA
                                                              would have known that sodium
                                                              hypoxanthine is an ingredient commonly
                         Hypoxanthine                         used in cell culture media, as reflected in
sodium hypoxanthine,                                          the following prior art references:
                            (Na salt)               1.00
    0.0-20.0 mg;
                         (Jayme 1997)                          The ’401 patent (Table 1)
                                                               The ’866 patent (Table I)
                                                               Jayme 1997 (Table 1)
                                                               The ’955 application (Table 3)




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                             Obviousness Of The ’083 Patent
     Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                                  Table 16 of Jayme 1997 &
                              Table 1, Table 2, or Elements Table
     Claim 1 of the ’083                                                       Exemplary Prior Art Reflecting the
          Patent                       of the ’704 Patent                          Knowledge of A POSA
                                                        Concentration
                                  Component
                                                       Range(s) (mg/L)
                                                                             Glycine is listed as an optional
                                                                             ingredient in the claimed cell culture
                                                                             media. Nevertheless, a POSA would
                                                                             have known that glycine is an ingredient
                                                                             commonly used in cell culture media, as
                                                                             reflected in the following prior art
                                                                             references:
                                                                               The ’401 patent (Table 1)
          glycine,                  Glycine
                                                              42.80            The ’866 patent (Table I)
        0.0-150 mg;              (Jayme 1997)
                                                                               The ’402 application (Table A2)
                                                                               Hamilton 1977 (Table 1)
                                                                               Darfler (Table 1)
                                                                               Jayme 1997 (Table 1)
                                                                               The ’955 application (Table 3)
                                                                             L-alanine is listed as an optional
                                                                             ingredient in the claimed cell culture
                                                                             media. Nevertheless, a POSA would
                                                                             have known that L-alanine is an
                                                                             ingredient commonly used in cell culture
                                                                             media, as reflected in the following prior
                                                                             art references:
                                                                               The ’401 patent (Table 1)
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         L-alanine,               L-Alanine
                                                                6.68           The ’866 patent (Table I)
        0.0-150 mg;              (Jayme 1997)
                                                                               The ’934 application (Table 1)
                                                                               The ’402 application (Table A2)
                                                                               Hamilton 1977 (Table 1)
                                                                               Darfler (Table 1)
                                                                               Jayme 1997 (Table 1)
                                                                               The ’955 application (Table 3)



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  I note that any ingredient disclosed in claim 1 that has a minimum concentration range beginning at “0” or zero is
optional. This ingredient does not need to be added to the claimed cell culture media. Therefore, even though these
ingredients were available in the prior art specifically for inclusion in cell culture media, there is no reason for me to
further opine on these ingredients. (See e.g., Ex. 31 (’468 patent) at 1:62-2:10; 5:34-6:14 (disclosing “L-ornithine”
at line 54); 8:15-18; 1:62-2:10; 5:34-6:14 (disclosing “taurine” at line 58)). I also understand that Janssen has
conceded this point by asserting that the HyClone medium infringes claim, despite the fact that it lacks sodium
hypoxanthine and thymidine. Ex. 45 (Plaintiffs’ Preliminary Infringement Contentions) at 5, 7 (acknowledging that
HyClone’s cell media do not contain the recited ingredients sodium hypoxanthine and thymidine, yet still asserts
infringement of these claim limitations)).

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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that L-
                                                            arginine.HCl is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
  L-arginine.HCl,      L-Arginine HCl                        The ’202 application (Table 1)
                                               582.00
   200-5000 mg;         (Jayme 1997)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that L-
                                                            asparagine.H2O is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
L-asparagine.H2O,     L-Asparagine.H2O
                                               94.50         The ’934 application (Table 2)
   40-250 mg;           (Jayme 1997)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                 Knowledge of A POSA
                                            Concentration
                         Component
                                           Range(s) (mg/L)
                                                             A POSA would have known that L-
                                                             aspartic acid is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
                                                              The ’934 application (Table 1)
  L-aspartic acid,     L-Aspartic Acid
                                                39.90
   20-1000 mg;          (Jayme 1997)                          The ’934 application (Table 2)
                                                              The ’202 application (Table 1)
                                                              The ’402 application (Table A2)
                                                              Hamilton 1977 (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that L-
                                                             cysteine.HCl.H2O is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
L-cysteine.HCl.H2O,   L-Cysteine.HCl.H2O
                                                105.40        The ’202 application (Table 1)
   25.0-250 mg;          (Jayme 1997)
                                                              The ’402 application (Table A2)
                                                              Hamilton 1977 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)




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     Claim 1 of the ’083                                               Exemplary Prior Art Reflecting the
          Patent                    of the ’704 Patent                     Knowledge of A POSA
                                                  Concentration
                               Component
                                                 Range(s) (mg/L)
                                                                      A POSA would have known that L-
                                                                      cystine.2HCl is an ingredient commonly
                                                                      used in cell culture media, as reflected in
                                                                      the following prior art references:
                                                                       The ’401 patent (Table 1)
      L-cystine.2HCl,        L-Cystine.2HCl
                                                       31.2912
        15-150 mg;            (Jayme 1997)                             The ’934 application (Table 2)
                                                                       The ’402 application (Table A2)
                                                                       Jayme 1997 (Table 1)
                                                                       The ’955 application (Table 3)
                                                                      L-glutamic acid is listed as an optional
                                                                      ingredient in the claimed cell culture
                                                                      media. Nevertheless, a POSA would
                                                                      have known that L-glutamic acid is an
                                                                      ingredient commonly used in cell culture
                                                                      media, as reflected in the following prior
                                                                      art references:
                                                                       The ’401 patent (Table 1)
                                                                       The ’866 patent (Table I)
      L-glutamic acid,      L-Glutamic Acid
                                                        39.70          The ’934 application (Table 1)
        0-1000 mg;           (Jayme 1997)
                                                                       The ’934 application (Table 2)
                                                                       The ’202 application (Table 1)
                                                                       The ’402 application (Table A2)
                                                                       Hamilton 1977 (Table 1)
                                                                       Jayme 1997 (Table 1)
                                                                       The ’955 application (Table 3)




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  L-Cystine.2HCl is part of DMEM/F12. Cystine is formed from two cysteine molecules and L-cysteine is oxidized
to L-cystine relatively easily, in vitro. Ex. 6. By 2003, a POSA would have recognized that both cysteine and
cysteine may be helpful to a cell culture.

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     Patent                     of the ’704 Patent                  Knowledge of A POSA
                                              Concentration
                          Component
                                             Range(s) (mg/L)
                                                               A POSA would have known that L-
                                                               histidine.HCl.H2O is an ingredient
                                                               commonly used in cell culture media, as
                                                               reflected in the following prior art
                                                               references:
                                                                The ’401 patent (Table 1)
                                                                The ’866 patent (Table I)
L-histidine.HCl.H2O,   L-Histidine.HCl.H2O
                                                  75.00         The ’202 application (Table 1)
    100-500 mg;           (Jayme 1997)
                                                                The ’402 application (Table A2)
                                                                Hamilton 1977 (Table 1)
                                                                Darfler (Table 1)
                                                                Jayme 1997 (Table 1)
                                                                The ’955 application (Table 3)
                                                               A POSA would have known that L-
                                                               isoleucine is an ingredient commonly
                                                               used in cell culture media, as reflected in
                                                               the following prior art references:
                                                                The ’401 patent (Table 1)
                                                                The ’866 patent (Table I)
                                                                The ’934 application (Table 1)
   L-isoleucine,           L-lsoleucine                         The ’934 application (Table 2)
                                                  157.50
   50-1000 mg;            (Jayme 1997)
                                                                The ’202 application (Table 1)
                                                                The ’402 application (Table A2)
                                                                Hamilton 1977 (Table 1)
                                                                Darfler (Table 1)
                                                                Jayme 1997 (Table 1)
                                                                The ’955 application (Table 3)




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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that L-
                                                            leucine is an ingredient commonly used
                                                            in cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
    L-leucine,            L-Leucine                          The ’934 application (Table 2)
                                               165.30
   50-1000 mg;          (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that L-
                                                            lysine.HCl is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 2)
  L-lysine.HCl,         L-Lysine.HCl
                                               197.30
  100-1000 mg;          (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that L-
                                                            methionine is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
  L-methionine,         L-Methionine                         The ’934 application (Table 2)
                                               49.20
   50-500 mg;           (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            L-ornithine.HCl is listed as an optional
 L-ornithine.HCl,      L-ornithine.HCl                      ingredient in the claimed cell culture
                                                  0
    0-100 mg;           (Jayme 1997)                        media.
                                                            A POSA would have known that L-
                                                            phenylalanine is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
 L-phenylalanine,      L-Phenylalanine
                                               74.30         The ’934 application (Table 2)
   25-1000 mg;          (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            L-proline is listed as an optional
                                                            ingredient in the claimed cell culture
                                                            media. Nevertheless, a POSA would
                                                            have known that L-proline is an
                                                            ingredient commonly used in cell culture
                                                            media, as reflected in the following prior
                                                            art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
     L-proline,           L-Proline
                                               55.30         The ’934 application (Table 1)
    0-1000 mg;          (Jayme 1997)
                                                             The ’934 application (Table 2)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that L-
                                                            serine is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
     L-serine,             L-Serine                          The ’934 application (Table 2)
                                               85.10
    50-500 mg;          (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            L-taurine is listed as an optional
     L-taurine,           L-taurine                         ingredient in the claimed cell culture
                                                  0
    0-1000 mg;          (Jayme 1997)                        media.




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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that L-
                                                            threonine is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
   L-threonine,          L-Threonine                         The ’934 application (Table 2)
                                               110.80
   50-600 mg;           (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that L-
                                                            tryptophan is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
   L-tryptophan,        L-Tryptophan                         The ’934 application (Table 2)
                                               18.40
    2-500 mg;           (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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          Patent                      of the ’704 Patent                Knowledge of A POSA
                                                  Concentration
                                Component
                                                 Range(s) (mg/L)
                                                                   A POSA would have known that L-
                                                                   tyrosine.2Na.2H2O is an ingredient
                                                                   commonly used in cell culture media, as
                                                                   reflected in the following prior art
                                                                   references:

                                     L-                             The ’401 patent (Table 1)
     L-tyrosine.2Na.2H2O,                                 13
                             Tyrosine.2Na.2H2O       87.00          The ’866 patent (Table I)
          25-250 mg;
                               (Jayme 1997)
                                                                    The ’202 application (Table 1)
                                                                    The ’402 application (Table A2)
                                                                    Jayme 1997 (Table 1)
                                                                    The ’955 application (Table 3)
                                                                   A POSA would have known that L-
                                                                   valine is an ingredient commonly used
                                                                   in cell culture media, as reflected in the
                                                                   following prior art references:
                                                                    The ’401 patent (Table 1)
                                                                    The ’866 patent (Table I)
                                                                    The ’934 application (Table 1)
          L-valine,              L-Valine                           The ’934 application (Table 2)
                                                      108.90
        100-1000 mg;           (Jayme 1997)
                                                                    The ’202 application (Table 1)
                                                                    The ’402 application (Table A2)
                                                                    Hamilton 1977 (Table 1)
                                                                    Darfler (Table 1)
                                                                    Jayme 1997 (Table 1)
                                                                    The ’955 application (Table 3)




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     eRDF uses L-Tyrosine.

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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that d-biotin
                                                            is an ingredient commonly used in cell
                                                            culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
     d-biotin,              Biotin                           The ’934 application (Table 2)
                                                  0.10
   0.04-1.0 mg;         (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that D-
                                                            calcium pantothenate is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
    D-calcium                                                The ’934 application (Table 2)
                      D-Ca Pantothenate
   pantothenate,                                  0.67
                        (Jayme 1997)
    0.1-5.0 mg;                                              The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that choline
                                                            chloride is an ingredient commonly used
                                                            in cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
 choline chloride,     Choline Chloride
                                               12.29
    1-100 mg;           (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that folic
                                                            acid is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
    folic acid,           Folic Acid
                                                  1.81
     1-10 mg;           (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that i-
                                                            Inositol is an ingredient commonly used
                                                            in cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
    i-Inositol,           I-inositol
                                               46.80
   10-1000 mg;          (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that
                                                            nicotinamide is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
   nicotinamide,         Niacinamide
                                                  1.50
    0.5-30 mg;          (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                         Obviousness Of The ’083 Patent
 Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                           Table 16 of Jayme 1997 &
                       Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                             Exemplary Prior Art Reflecting the
     Patent                     of the ’704 Patent                  Knowledge of A POSA
                                              Concentration
                          Component
                                             Range(s) (mg/L)
                                                               A POSA would have known that p-
                                                               aminobenzoic acid is an ingredient
                                                               commonly used in cell culture media, as
                                                               reflected in the following prior art
                                                               references:
p-aminobenzoic acid,   P-aminobenzoic acid                      The ’401 patent (Table 1)
                                                     0.51
    0.1-20 mg;            (Jayme 1997)
                                                                The ’866 patent (Table I)
                                                                The ’934 application (Table 2)
                                                                Jayme 1997 (Table 1)
                                                                The ’955 application (Table 3)
                                                               A POSA would have known that
                                                               riboflavin is an ingredient commonly
                                                               used in cell culture media, as reflected in
                                                               the following prior art references:
                                                                The ’401 patent (Table 1)
                                                                The ’866 patent (Table I)
                                                                The ’934 application (Table 1)
                                                                The ’934 application (Table 2)
     riboflavin,            Riboflavin
                                                     0.21
    0.05-5.0 mg;          (Jayme 1997)                          The ’202 application (Table 1)
                                                                The ’402 application (Table A2)
                                                                The ’402 application (Table B1)
                                                                Hamilton 1977 (Table 1)
                                                                Darfler (Table 1)
                                                                Jayme 1997 (Table 1)
                                                                The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that
                                                            thiamine.HCl is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 2)
  thiamine.HCl,         Thiamine HCl
                                                  1.60
    0.5-20 mg;          (Jayme 1997)                         The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            Thymidine is listed as an optional
                                                            ingredient in the claimed cell culture
                                                            media. Nevertheless, a POSA would
                                                            have known that thymidine is an
                                                            ingredient commonly used in cell culture
                                                            media, as reflected in the following prior
                                                            art references:
    thymidine,            Thymidine
                                                  0.18       The ’401 patent (Table 1)
     0-3.0 mg;          (Jayme 1997)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that vitamin
                                                            B12 is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
   vitamin B12,         Vitamin B12
                                                  0.34
   0.05-5.0 mg;         (Jayme 1997)                         The ’934 application (Table 2)
                                                             The ’202 application (Table 1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that linoleic
                                                            acid is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
   linoleic acid,       Linoleic Acid                        The ’934 application (Table 3)
                                                  0.02
   0.01-2.0 mg;         (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A3)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                        Obviousness Of The ’083 Patent
Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                          Table 16 of Jayme 1997 &
                      Table 1, Table 2, or Elements Table
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                    of the ’704 Patent                Knowledge of A POSA
                                           Concentration
                         Component
                                          Range(s) (mg/L)
                                                            A POSA would have known that DL-α-
                                                            lipoic acid is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
 DL-α-lipoic acid,       Lipoic acid
                                                  0.05
  0.03-1.0 mg;          (Jayme 1997)                         The ’934 application (Table 3)
                                                             The ’202 application (Table 1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that
                                                            pyridoxine.HCl is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
 pyridoxine.HCl,       Pyridoxine HCl                        The ’934 application (Table 2)
                                               0.5000
   0.5-30 mg;           (Jayme 1997)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                             Obviousness Of The ’083 Patent
     Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA
                                Table 16 of Jayme 1997 &
                            Table 1, Table 2, or Elements Table
     Claim 1 of the ’083                                                 Exemplary Prior Art Reflecting the
          Patent                     of the ’704 Patent                      Knowledge of A POSA
                                                    Concentration
                               Component
                                                   Range(s) (mg/L)
                                                                       A POSA would have known that
                                                                       putrescine.2HCl is an ingredient
                                                                       commonly used in cell culture media, as
                                                                       reflected in the following prior art
                                                                       references:
                                                                         The ’401 patent (Table 1)
                                                                         The ’866 patent (Table I)
 putrescine.2HCl, 0.025-      Putrescine.2HCl
                                                            0.04         The ’934 application (Table 2)
      0.25 mg; and             (Jayme 1997)
                                                                         The ’202 application (Table 1)
                                                                         Hamilton 1977 (Table 1)
                                                                         Darfler (Table 1)
                                                                         Jayme 1997 (Table 1)
                                                                         The ’955 application (Table 3)
                                                                       A POSA would have known that
                                                                       ethanolamine.HCl is an ingredient
                                                                       commonly used in cell culture media, as
                                                                       reflected in the following prior art
                                                                       references:

                               Ethanolamine                              The ’866 patent (Table I)
         amine.HCl,                                          14
                            (discussed in Jayme             *            The ’934 application (Table 2)
          2-100 mg.
                             1997 on page 98)
                                                                         The ’202 application (Table 1)
                                                                         The ’955 application (Table 3)
                                                                         Murakami 1982 at 1160
                                                                         Murakami 1989 at 111




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   Although ethanolamine is not specifically named as part of eRDF, Dr. Murakami—who made eRDF—taught that
for certain cell lines, such as hybridomas, ethanolamine was “an essential component.” Ex. 11 (Jayme 1997) at 101
(citing Ex. 27 (Murakami 1982)). Therefore, a POSA would have viewed eRDF as requiring ethanolamine when
being developed for a cell line including hybridomas. “Murakami’s careful studies identified yet another nutrient
commonly required as an ingredient for serum-free cultivation of hybridomas and other rapidly proliferating cell
types, ethanolamine.” Ex. 11 (Jayme 1997) at 98. In fact, Murakami noted that that eRDF combined with ITES,
with “E” being ethanolamine.

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                          Obviousness Of The ’083 Patent
  Based On Jayme (1997) In View Of The ’704 Patent And The Knowledge Of A POSA

                           Table 3 of the ’955 Application
Claim 2 of the ’083                                              Exemplary Prior Art Reflecting
     Patent                                    Concentration       the Knowledge of A POSA
                            Component
                                               Range (mg/L)
                                                               A POSA would have known that a
                                                               buffering molecule with a pKa between
                                                               5.9 and 7.8 is an ingredient commonly
                                                               used in cell culture media, as reflected in
                                                               the following prior art references:
                                                                 The ’401 patent (HEPES in Table 1)
                                                                 The ’866 patent (HEPES in Table I)
 a buffering molecule
                                                                 The ’934 application (HEPES in
with a pKa between 5.9        HEPES               1190.00
                                                                  Table 1)
      and 7.8 and
                                                                 The ’202 application (HEPES in
                                                                  Table 1)
                                                                 The ’402 application (HEPES Table
                                                                  A2)
                                                                 Jayme 1997 (HEPES in Table 1)
                                                                 The ’614 application (HEPES in
                                                                  Table 1)
                                                               A POSA would have known that a cell
                                                               protectant is an ingredient commonly
                                                               used in cell culture media, as reflected in
                                                               the following prior art references:
                                                                 The ’934 application (Pluronic F68 in
                                                                  Table 1)
                         Serum (discussed on      No range       The ’934 application (Pluronic F68 in
   a cell protectant.
                              page 95)            specified.      Table 2)
                                                                 The ’934 application (Pluronic F68 in
                                                                  Table 3)
                                                                 The ’202 application (Pluronic F68
                                                                  Table 1)
                                                                 The ’614 application (Pluronic in
                                                                  Example 6)




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           APPENDIX 4
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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA


                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that anhydrous
                                                         CaCl2 is an ingredient commonly used in
                                                         cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
 anhydrous CaCl2,                                         The ’934 application (Table 1)
                         CaCl2                1-500
    5-200 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that anhydrous
                                                         MgCl2 is an ingredient commonly used in
                                                         cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
anhydrous MgCl2,                                          The ’934 application (Table 1)
                         MgCl2                1-500
   15-50 mg;
                                                          The ’934 application (Table 2)
                                                          The ’202 application (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that anhydrous
                                                         MgSO4 is an ingredient commonly used in
                                                         cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
anhydrous MgSO4,                                          The ’934 application (Table 1)
                        MgSO4                10-500
    20-80 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                       Component
                                         Range (mg/L)
                                                         A POSA would have known that
                                                         FeSO4.7H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
  FeSO4.7H2O,                                             The ’402 application (Paragraph 23)
                       FeSO4.7H2O           0.0001-0.5
  0.05-0.50 mg;
                                                          Hamilton 1977 (Table 1)
                                                          Cleveland 1983 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that
                                                         Fe(NO3)3.9H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)
 Fe(NO3)3.9H2O,
                      Fe(NO3)3.9H2O           0.05-5
  0.01-0.08 mg;                                           The ’866 patent (Table I)
                                                          The ’202 application (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that
                                                         ZnSO4.7H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 2)
  ZnSO4.7H2O,                                             The ’402 application (Table B2)
                       ZnSO4.7H2O           0.0002-1.0
  0.40-1.20 mg;
                                                          The ’402 application (Paragraph 23)
                                                          Hamilton 1977 (Table 1)
                                                          Cleveland 1983 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)


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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                          Table 1 of the ’614 Application
Claim 1 of the ’083                                               Exemplary Prior Art Reflecting the
     Patent                                    Concentration           Knowledge of A POSA
                          Component
                                               Range (mg/L)
                                                               A POSA would have known that ferric
                                                               ammonium citrate is an ingredient
                                                               commonly used in cell culture media, as
                                                               reflected in the following prior art
 ferric ammonium                                               references:
       citrate,       Ferric Citrate Chelate      0.01-2
   0.04-200 mg;                                                 Keenan at 453
                                                                ’140 patent (2:3-7)
                                                                Kitano at 83
                                                               A POSA would have known that KCl is an
                                                               ingredient commonly used in cell culture
                                                               media, as reflected in the following prior art
                                                               references:
                                                                The ’401 patent (Table 1)
                                                                The ’866 patent (Table I)
                                                                The ’934 application (Table 1)
                                                                The ’934 application (Table 2)
      KCl,
                              KCl                  1-500
   280-500 mg;                                                  The ’202 application (Table 1)
                                                                The ’402 application (Table A2)
                                                                The ’402 application (Paragraph 23)
                                                                Hamilton 1977 (Table 1)
                                                                Darfler (Table 1)
                                                                Jayme 1997 (Table 1)
                                                                The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that NaCl is an
                                                         ingredient commonly used in cell culture
                                                         media, as reflected in the following prior art
                                                         references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
      NaCl,                                               The ’202 application (Table 1)
                         NaCl               3000-9000
  5000-7500 mg;
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table A3)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that
                                                         NaH2PO4.H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)
  NaH2PO4.H2O,
                      NaH2PO4.H2O            10-750
   30-100 mg;                                             The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that Na2HPO4
                                                         is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
     Na2HPO4,                                             The ’934 application (Table 1)
                       Na2HPO4                1-500
    30-100 mg;
                                                          The ’934 application (Table 2)
                                                          The ’402 application (Paragraph 23)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                              Concentration            Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                          A POSA would have known that
                                                          CuSo4.5H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 2)
  CuSO4.5H2O,                                              The ’402 application (Table B2)
                      CuSO4.5H2O          0.00001-0.005
 0.001-0.005 mg;
                                                           The ’402 application (Paragraph 23)
                                                           Hamilton 1977 (Table 1)
                                                           Cleveland 1983 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that
                                                          CoCl2.6H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’934 application (Table 2)
   CoCl2.6H2O,                                             The ’402 application (Table B3)
                      CoCl2.6H2O          0.00001-0.005
  0.001-0.10 mg;
                                                           Hamilton 1977 (Table 1)
                                                           Cleveland 1983 (Table 1)
                                                           Darfler (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                         Table 1 of the ’614 Application
Claim 1 of the ’083                                             Exemplary Prior Art Reflecting the
     Patent                                 Concentration            Knowledge of A POSA
                         Component
                                            Range (mg/L)
                                                             A POSA would have known that
                                                             (NH4)6Mo7O24•4H2O is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                              The ’401 patent (Table 1)
(NH4)6Mo7O24•4H2O,                                            The ’866 patent (Table I)
                      (NH4)6Mo7O24 4H2O      0.00001-0.01
  0.001-0.005 mg;
                                                              The ’934 application (Table 2)
                                                              The ’402 application (Table B4)
                                                              Hamilton 1977 (Table 1)
                                                              Cleveland 1983 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that
                                                             MnSO4•H2O is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
    MnSO4•H2O,                                                The ’934 application (Table 2)
                         MnCl2•4H2O         0.000001-0.001
0.000070-0.0080 mg;
                                                              The ’402 application (Table B4)
                                                              Cleveland 1983 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that
                                                             NiSO4•6H2O is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                              The ’401 patent (Table 1)
    NiSO4•6H2O,                                0.000001-      The ’866 patent (Table I)
                         NiSO4.6H2O
0.000025-0.0005 mg;                              0.0001
                                                              The ’934 application (Table 2)
                                                              The ’402 application (Table B4)
                                                              Cleveland 1983 (Table 1)
                                                              The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                              Concentration            Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                          A POSA would have known that Na2SeO3 is
                                                          an ingredient commonly used in cell culture
                                                          media, as reflected in the following prior art
                                                          references:
                                                           The ’401 patent (Table 1)
                                                           The ’934 application (Table 1)
                                                           The ’934 application (Table 2)
     Na2SeO3,
                        H2SeO3            0.00001-0.005
  0.004-0.07 mg;                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           The ’402 application (Table B2)
                                                           The ’402 application (Paragraph 23)
                                                           Darfler (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that
                                                          Na2SiO3.9H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
  Na2SiO3.9H2O,                                            The ’866 patent (Table I)
                      Na2SiO3.9H2O          0.001-0.2
   0.02-0.4 mg;
                                                           The ’934 application (Table 2)
                                                           The ’402 application (Table B4)
                                                           Cleveland 1983 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that
                                                          SnCl2.2H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’934 application (Table 2)
    SnCl2.2H2O,                             0.000001-
                         SnCl2
0.000025-0.0005 mg;                           0.0001       The ’402 application (Paragraph 23)
                                                           Hamilton 1977 (Table 1)
                                                           Cleveland 1983 (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                              Concentration            Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                          A POSA would have known that NH4VO3 is
                                                          an ingredient commonly used in cell culture
                                                          media, as reflected in the following prior art
                                                          references:
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
    NH4VO3,                                                The ’202 application (Table 1)
                        NaVO3             0.00001-0.001
0.0001-0.0025 mg;
                                                           The ’402 application (Table B4)
                                                           The ’402 application (Paragraph 23)
                                                           Hamilton 1977 (Table 1)
                                                           Cleveland 1983 (Table 1)
                                                           Darfler (Table 1)
                                                          A POSA would have known that D-Glucose
                                                          is an ingredient commonly used in cell
                                                          culture media, as reflected in the following
                                                          prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
   D-Glucose,                                              The ’934 application (Table 2)
                       D-Glucose            1500-5000
  500-8000 mg;
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                         Table 1 of the ’614 Application
Claim 1 of the ’083                                            Exemplary Prior Art Reflecting the
     Patent                                 Concentration           Knowledge of A POSA
                         Component
                                            Range (mg/L)
                                                            Sodium pyruvate is listed as an optional
                                                            ingredient in the claimed cell culture media.
                                                            Nevertheless, a POSA would have known
                                                            that sodium pyruvate is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
  sodium pyruvate,
                       sodium pyruvate          10-300       The ’934 application (Table 1)
    0.0-1000 mg;
                                                             The ’934 application (Table 2)
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            Sodium hypoxanthine is listed as an
                                                            optional ingredient in the claimed cell
                                                            culture media. Nevertheless, a POSA
                                                            would have known that sodium
                                                            hypoxanthine is an ingredient commonly
                                                            used in cell culture media, as reflected in
sodium hypoxanthine,                                        the following prior art references:
                       Hypoxanthine.Na+          0.1-15
    0.0-20.0 mg;
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         Glycine is listed as an optional ingredient in
                                                         the claimed cell culture media.
                                                         Nevertheless, a POSA would have known
                                                         that glycine is an ingredient commonly used
                                                         in cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
     glycine,                                             The ’866 patent (Table I)
                        glycine               1-200
   0.0-150 mg;
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         L-alanine is listed as an optional ingredient
                                                         in the claimed cell culture media.
                                                         Nevertheless, a POSA would have known
                                                         that L-alanine is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)

    L-alanine,                                            The ’866 patent (Table I)
                       L-alanine              1-250
   0.0-150 mg;                                            The ’934 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
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                        Table 1 of the ’614 Application
Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
     Patent                                Concentration           Knowledge of A POSA
                        Component
                                           Range (mg/L)
                                                           A POSA would have known that L-
                                                           arginine.HCl is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                            The ’401 patent (Table 1)
  L-arginine.HCl,                                           The ’202 application (Table 1)
                       L-arginine.HCl          10-500
   200-5000 mg;
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’955 application (Table 3)
                                                           A POSA would have known that L-
                                                           asparagine.H2O is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                            The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
L-asparagine.H2O,                                           The ’934 application (Table 2)
                      L-asparagine.H2O          5-150
   40-250 mg;
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Darfler (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’955 application (Table 3)
                                                           A POSA would have known that L-aspartic
                                                           acid is an ingredient commonly used in cell
                                                           culture media, as reflected in the following
                                                           prior art references:
                                                            The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
                                                            The ’934 application (Table 1)
  L-aspartic acid,
                       L-aspartic acid          5-125
   20-1000 mg;                                              The ’934 application (Table 2)
                                                            The ’202 application (Table 1)
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’955 application (Table 3)


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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                         Table 1 of the ’614 Application
Claim 1 of the ’083                                            Exemplary Prior Art Reflecting the
     Patent                                 Concentration           Knowledge of A POSA
                         Component
                                            Range (mg/L)
                                                            A POSA would have known that L-
                                                            cysteine.HCl.H2O is an ingredient
                                                            commonly used in cell culture media, as
                                                            reflected in the following prior art
                                                            references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
L-cysteine.HCl.H2O,
                      L-cysteine.HCl H2O         2-250       The ’202 application (Table 1)
   25.0-250 mg;
                                                             The ’402 application (Table A2)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that L-
                                                            cystine.2HCl is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
  L-cystine.2HCl,
                        L-cystine.2HCl          0.1-250
    15-150 mg;                                               The ’934 application (Table 2)
                                                             The ’402 application (Table A2)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                          Table 1 of the ’614 Application
Claim 1 of the ’083                                             Exemplary Prior Art Reflecting the
     Patent                                  Concentration           Knowledge of A POSA
                          Component
                                             Range (mg/L)
                                                             L-glutamic acid is listed as an optional
                                                             ingredient in the claimed cell culture media.
                                                             Nevertheless, a POSA would have known
                                                             that L-glutamic acid is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
  L-glutamic acid,
                         L-glutamic acid          5-250       The ’934 application (Table 1)
    0-1000 mg;
                                                              The ’934 application (Table 2)
                                                              The ’202 application (Table 1)
                                                              The ’402 application (Table A2)
                                                              Hamilton 1977 (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)
                                                             A POSA would have known that L-
                                                             histidine.HCl.H2O is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                              The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
L-histidine.HCl.H2O,
                       L-histidine.HCl.H2O        5-250       The ’202 application (Table 1)
    100-500 mg;
                                                              The ’402 application (Table A2)
                                                              Hamilton 1977 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that L-
                                                         isoleucine is an ingredient commonly used
                                                         in cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
   L-isoleucine,                                          The ’934 application (Table 2)
                      L-isoleucine            5-500
   50-1000 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that L-leucine
                                                         is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
    L-leucine,                                            The ’934 application (Table 2)
                       L-leucine             25-350
   50-1000 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                               Concentration           Knowledge of A POSA
                       Component
                                          Range (mg/L)
                                                          A POSA would have known that L-
                                                          lysine.HCl is an ingredient commonly used
                                                          in cell culture media, as reflected in the
                                                          following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 2)
  L-lysine.HCl,
                       L-lysine.HCl           25-500
  100-1000 mg;                                             The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that L-
                                                          methionine is an ingredient commonly used
                                                          in cell culture media, as reflected in the
                                                          following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
  L-methionine,                                            The ’934 application (Table 2)
                       L-methionine            5-200
   50-500 mg;
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)

 L-ornithine.HCl,                                         L-ornithine.HCl is listed as an optional
                      L-ornithine.HCl            0        ingredient in the claimed cell culture media.
    0-100 mg;




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                               Concentration           Knowledge of A POSA
                       Component
                                          Range (mg/L)
                                                          A POSA would have known that L-
                                                          phenylalanine is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
 L-phenylalanine,                                          The ’934 application (Table 2)
                      L-phenylalanine          5-250
   25-1000 mg;
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          L-proline is listed as an optional ingredient
                                                          in the claimed cell culture media.
                                                          Nevertheless, a POSA would have known
                                                          that L-proline is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
     L-proline,                                            The ’934 application (Table 1)
                         L-proline             1-250
    0-1000 mg;
                                                           The ’934 application (Table 2)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that L-serine is
                                                         an ingredient commonly used in cell culture
                                                         media, as reflected in the following prior art
                                                         references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
     L-serine,                                            The ’934 application (Table 2)
                        L-serine              5-250
    50-500 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)

     L-taurine,                                          L-taurine is listed as an optional ingredient
                       L-taurine                0        in the claimed cell culture media.
    0-1000 mg;
                                                         A POSA would have known that L-
                                                         threonine is an ingredient commonly used
                                                         in cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
   L-threonine,                                           The ’934 application (Table 2)
                      L-threonine            10-300
   50-600 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                               Concentration           Knowledge of A POSA
                       Component
                                          Range (mg/L)
                                                          A POSA would have known that L-
                                                          tryptophan is an ingredient commonly used
                                                          in cell culture media, as reflected in the
                                                          following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
   L-tryptophan,                                           The ’934 application (Table 2)
                       L-tryptophan            2-110
    2-500 mg;
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that L-
                                                          tyrosine.2Na.2H2O is an ingredient
                                                          commonly used in cell culture media, as
                                                          reflected in the following prior art
                                                          references:
                                                           The ’401 patent (Table 1)
L-tyrosine.2Na.2H2O,   L-tyrosine•
                                               5-400       The ’866 patent (Table I)
     25-250 mg;        2Na+•2H2O
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that L-valine is
                                                         an ingredient commonly used in cell culture
                                                         media, as reflected in the following prior art
                                                         references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
    L-valine,                                             The ’934 application (Table 2)
                        L-valine              5-400
  100-1000 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that d-biotin is
                                                         an ingredient commonly used in cell culture
                                                         media, as reflected in the following prior art
                                                         references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
     d-biotin,                                            The ’934 application (Table 2)
                         biotin               0.01-1
   0.04-1.0 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                         Table 1 of the ’614 Application
Claim 1 of the ’083                                            Exemplary Prior Art Reflecting the
     Patent                                 Concentration           Knowledge of A POSA
                         Component
                                            Range (mg/L)
                                                            A POSA would have known that D-calcium
                                                            pantothenate is an ingredient commonly
                                                            used in cell culture media, as reflected in
                                                            the following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
    D-calcium                                                The ’934 application (Table 2)
   pantothenate,      D-Ca++ pantothenate       0.05-10
                                                             The ’202 application (Table 1)
    0.1-5.0 mg;
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)
                                                            A POSA would have known that choline
                                                            chloride is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                             The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
                                                             The ’934 application (Table 2)
 choline chloride,
                        choline chloride         1-150
    1-100 mg;                                                The ’202 application (Table 1)
                                                             The ’402 application (Table A2)
                                                             The ’402 application (Table B1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that folic acid
                                                         is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
                                                          The ’934 application (Table 2)
    folic acid,
                       folic acid             0.1-10
     1-10 mg;                                             The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that i-Inositol
                                                         is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
                                                          The ’934 application (Table 2)
    i-Inositol,
                        i-Inositol             1-75
   10-1000 mg;                                            The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                               Concentration           Knowledge of A POSA
                       Component
                                          Range (mg/L)
                                                          A POSA would have known that
                                                          nicotinamide is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
                                                           The ’934 application (Table 2)
   nicotinamide,
                       niacinamide             0.1-5
    0.5-30 mg;                                             The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           The ’402 application (Table B1)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that p-
                                                          aminobenzoic acid is an ingredient
                                                          commonly used in cell culture media, as
                                                          reflected in the following prior art
                                                          references:
p-aminobenzoic acid,                                       The ’401 patent (Table 1)
                          PABA               0.001-0.1
    0.1-20 mg;
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 2)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that riboflavin
                                                         is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
                                                          The ’934 application (Table 2)
    riboflavin,
                       riboflavin             0.01-5
   0.05-5.0 mg;                                           The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that
                                                         thiamine.HCl is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 2)
  thiamine.HCl,
                      Thiamine.HCl            0.1-5
    0.5-20 mg;                                            The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         Thymidine is listed as an optional
                                                         ingredient in the claimed cell culture media.
                                                         Nevertheless, a POSA would have known
                                                         that thymidine is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
    thymidine,                                            The ’401 patent (Table 1)
                       thymidine             0.05-25
     0-3.0 mg;
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that vitamin
                                                         B12 is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
   vitamin B12,
                      Vitamin B12             0.01-5
   0.05-5.0 mg;                                           The ’934 application (Table 2)
                                                          The ’202 application (Table 1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                      Table 1 of the ’614 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                      Component
                                         Range (mg/L)
                                                         A POSA would have known that linoleic
                                                         acid is an ingredient commonly used in cell
                                                         culture media, as reflected in the following
                                                         prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
   linoleic acid,                                         The ’934 application (Table 3)
                      linoleic acid         0.001-0.1
   0.01-2.0 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A3)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)
                                                         A POSA would have known that DL-α-
                                                         lipoic acid is an ingredient commonly used
                                                         in cell culture media, as reflected in the
                                                         following prior art references:
                                                          The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
 DL-α-lipoic acid,
                       lipoic acid           0.01-10
  0.03-1.0 mg;                                            The ’934 application (Table 3)
                                                          The ’202 application (Table 1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                               Concentration           Knowledge of A POSA
                       Component
                                          Range (mg/L)
                                                          A POSA would have known that
                                                          pyridoxine.HCl is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 2)
 pyridoxine.HCl,
                      Pyridoxine.HCl          0.005-10
   0.5-30 mg;                                              The ’202 application (Table 1)
                                                           The ’402 application (Table B1)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)
                                                          A POSA would have known that
                                                          putrescine.2HCl is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                           The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
 putrescine.2HCl,                                          The ’934 application (Table 2)
                      putrescine.2HCl       0.0001-0.01
0.025-0.25 mg; and
                                                           The ’202 application (Table 1)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’955 application (Table 3)




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                           Obviousness Of The ’083 Patent
         Based On The ’614 Application In View Of The Knowledge Of A POSA

                        Table 1 of the ’614 Application
Claim 1 of the ’083                                           Exemplary Prior Art Reflecting the
     Patent                                Concentration           Knowledge of A POSA
                        Component
                                           Range (mg/L)
                                                           A POSA would have known that
                                                           ethanolamine.HCl is an ingredient
                                                           commonly used in cell culture media, as
                                                           reflected in the following prior art
                                                           references:
                                                            The ’866 patent (Table I)
ethanolamine.HCl,
                      ethanolamine HCl          0.1-10      The ’934 application (Table 2)
    2-100 mg.
                                                            The ’202 application (Table 1)
                                                            The ’955 application (Table 3)
                                                            Murakami 1982 at 1160
                                                            Murakami 1989 at 111




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                            Obviousness Of The ’083 Patent
          Based On The ’614 Application In View Of The Knowledge Of A POSA

                       Table 1 of the ’614 Application
Claim 2 of the ’083                                       Exemplary Prior Art Reflecting
     Patent                              Concentration      the Knowledge of A POSA
                       Component
                                         Range (mg/L)
                                                         A POSA would have known that a
                                                         buffering molecule with a pKa
                                                         between 5.9 and 7.8 is an ingredient
                                                         commonly used in cell culture
                                                         media, as reflected in the following
                                                         prior art references:
                                                           The ’401 patent (HEPES in Table
                                                            1)
a buffering molecule                                       The ’866 patent (HEPES in Table
                                            No range        I)
with a pKa between        HEPES
                                            specified.
   5.9 and 7.8 and                                         The ’934 application (HEPES in
                                                            Table 1)
                                                           The ’202 application (HEPES in
                                                            Table 1)
                                                           The ’402 application (HEPES
                                                            Table A2)
                                                           Jayme 1997 (HEPES in Table 1)
                                                           The ’955 application (HEPES in
                                                            Table 3)
                                                         A POSA would have known that a
                                                         cell protectant is an ingredient
                                                         commonly used in cell culture
                                                         media, as reflected in the following
                                                         prior art references:
                                                           The ’934 application (Pluronic
                        Pluronic (in        No range
  a cell protectant.                                        F68 in Table 1)
                        Example 6)          specified.
                                                           The ’934 application (Pluronic
                                                            F68 in Table 2)
                                                           The ’934 application (Pluronic
                                                            F68 in Table 3)
                                                           The ’202 application (Pluronic
                                                            F68 Table 1)




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           APPENDIX 5
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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA


                       Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                             Concentration         Knowledge of A POSA
                       Component
                                        Range (mg/L)
                                                         A POSA would have known that
                                                         anhydrous CaCl2 is an ingredient
                                                         commonly used in cell culture media, as
                                                         reflected in the following prior art
                                                         references:
                                                           The ’401 patent (Table 1)
  anhydrous CaCl2,                                        The ’934 application (Table 1)
                           CaCl2            100-760
     5-200 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         A POSA would have known that
                                                         anhydrous MgCl2 is an ingredient
                                                         commonly used in cell culture media, as
                                                         reflected in the following prior art
                                                         references:
                                                           The ’401 patent (Table 1)
  anhydrous MgCl2,                                        The ’934 application (Table 1)
                          MgCl2              5-150
     15-50 mg;
                                                          The ’934 application (Table 2)
                                                          The ’202 application (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         A POSA would have known that
                                                         anhydrous MgSO4 is an ingredient
                                                         commonly used in cell culture media, as
                                                         reflected in the following prior art
                                                         references:
                                                           The ’401 patent (Table 1)
anhydrous MgSO4, 20-                                      The ’934 application (Table 1)
                          MgSO4              20-150
       80 mg;
                                                          The ’202 application (Table 1)
                                                          The ’402 application (Table A2)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                            Concentration          Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that
                                                        FeSO4.7H2O is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
   FeSO4.7H2O,                                           The ’402 application (Paragraph 23)
                       FeSO4.7H2O           0.02-2
   0.05-0.50 mg;
                                                         Hamilton 1977 (Table 1)
                                                         Cleveland 1983 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that
                                                        Fe(NO3)3.9H2O is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
  Fe(NO3)3.9H2O,
                      Fe(NO3)3.9H2O        0.005-1       The ’866 patent (Table I)
   0.01-0.08 mg;
                                                         The ’202 application (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that
                                                        ZnSO4.7H2O is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 2)
   ZnSO4.7H2O,                                           The ’402 application (Table B2)
                       ZnSO4.7H2O          0.01-0.6
   0.40-1.20 mg;
                                                         The ’402 application (Paragraph 23)
                                                         Hamilton 1977 (Table 1)
                                                         Cleveland 1983 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                     Exemplary Prior Art Reflecting the
     Patent                             Concentration        Knowledge of A POSA
                      Component
                                        Range (mg/L)
                      Fe(NO3)3.9H2O        0.005-1      A POSA would have known that ferric
                                                        ammonium citrate is an ingredient
                                                        commonly used in cell culture media, as
  ferric ammonium                                       reflected in the following prior art
        citrate,                                        references:
                      Ferric fructose
    0.04-200 mg;                         50-1000 µL/L     Keenan at 453
                      stock solution
                                                         ’140 patent (2:3-7)
                                                         Kitano at 83
                                                        A POSA would have known that KCl is an
                                                        ingredient commonly used in cell culture
                                                        media, as reflected in the following prior
                                                        art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
                                                         The ’934 application (Table 2)
       KCl,
                           KCl             180-600       The ’202 application (Table 1)
    280-500 mg;
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Paragraph 23)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                            Concentration          Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that NaCl is
                                                        an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
      NaCl,                                              The ’202 application (Table 1)
                          NaCl            5000-8000
  5000-7500 mg;
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Table A3)
                                                         The ’402 application (Table B1)
                                                         Hamilton 1977 (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that
                                                        NaH2PO4.H2O is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
   NaH2PO4.H2O,
                      NaH2PO4.H2O           60-280       The ’202 application (Table 1)
    30-100 mg;
                                                         The ’402 application (Table A2)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that Na2HPO4
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
     Na2HPO4,                                            The ’934 application (Table 1)
                        Na2HPO4             20-400
    30-100 mg;
                                                         The ’934 application (Table 2)
                                                         The ’402 application (Paragraph 23)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                       Exemplary Prior Art Reflecting the
     Patent                            Concentration           Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                         A POSA would have known that
                                                         CuSO4.5H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                           The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 2)
   CuSO4.5H2O,                                            The ’402 application (Table B2)
                       CuSO4.5H2O       0.00001-0.006
  0.001-0.005 mg;
                                                          The ’402 application (Paragraph 23)
                                                          Hamilton 1977 (Table 1)
                                                          Cleveland 1983 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         A POSA would have known that
                                                         CoCl2.6H2O is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                           The ’934 application (Table 2)
   CoCl2.6H2O,                                            The ’402 application (Table B3)
                       CoCl2.6H2O       0.000001-0.003
  0.001-0.10 mg;
                                                          Hamilton 1977 (Table 1)
                                                          Cleveland 1983 (Table 1)
                                                          Darfler (Table 1)
                                                          The ’614 application (Table 1)
                                                         A POSA would have known that
                                                         (NH4)6Mo7O24•4H2O is an ingredient
                                                         commonly used in cell culture media, as
                                                         reflected in the following prior art
                                                         references:
                                                           The ’401 patent (Table 1)

(NH4)6Mo7O24•4H2O,    (NH4)6Mo7O24                        The ’866 patent (Table I)
                                        0.00001-0.002
  0.001-0.005 mg;        4H2O                             The ’934 application (Table 2)
                                                          The ’402 application (Table B4)
                                                          Hamilton 1977 (Table 1)
                                                          Cleveland 1983 (Table 1)
                                                          The ’614 application (Table 1)



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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                       Table 3 of the ’955 Application
Claim 1 of the ’083                                        Exemplary Prior Art Reflecting the
     Patent                             Concentration           Knowledge of A POSA
                       Component
                                        Range (mg/L)
                                                          A POSA would have known that
                                                          MnSO4•H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
MnSO4•H2O, 0.000070-                                      the following prior art references:
                        MnSO4.H2O        0.000001-0.005     The ’934 application (Table 2)
    0.0080 mg;
                                                           The ’402 application (Table B4)
                                                           Cleveland 1983 (Table 1)
                                                          A POSA would have known that
                                                          NiSO4•6H2O is an ingredient commonly
                                                          used in cell culture media, as reflected in
                                                          the following prior art references:
                                                            The ’401 patent (Table 1)
     NiSO4•6H2O,                                           The ’866 patent (Table I)
                        NiSO4.6H2O      0.000001-0.0002
 0.000025-0.0005 mg;
                                                           The ’934 application (Table 2)
                                                           The ’402 application (Table B4)
                                                           Cleveland 1983 (Table 1)
                                                           The ’614 application (Table 1)
                                                          A POSA would have known that Na2SeO3
                                                          is an ingredient commonly used in cell
                                                          culture media, as reflected in the following
                                                          prior art references:
                                                            The ’401 patent (Table 1)
                                                           The ’934 application (Table 1)
      Na2SeO3,                                             The ’934 application (Table 2)
                         Na2SeO3           0.001-0.02
   0.004-0.07 mg;
                                                           The ’202 application (Table 1)
                                                           The ’402 application (Table A2)
                                                           The ’402 application (Table B2)
                                                           The ’402 application (Paragraph 23)
                                                           Darfler (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                        Table 3 of the ’955 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                              Concentration           Knowledge of A POSA
                        Component
                                         Range (mg/L)
                                                           A POSA would have known that
                                                           Na2SiO3.9H2O is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                             The ’401 patent (Table 1)
   Na2SiO3.9H2O,                                            The ’866 patent (Table I)
                        Na2SiO3.9H2O         0.001-0.2
    0.02-0.4 mg;
                                                            The ’934 application (Table 2)
                                                            The ’402 application (Table B4)
                                                            Cleveland 1983 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that
                                                           SnCl2.2H2O is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
SnCl2.2H2O, 0.000025-                                        The ’934 application (Table 2)
                         SnCl2.2H2O       0.00001-0.0009
     0.0005 mg;
                                                            The ’402 application (Paragraph 23)
                                                            Hamilton 1977 (Table 1)
                                                            Cleveland 1983 (Table 1)
                                                           A POSA would have known that NH4VO3
                                                           is an ingredient commonly used in cell
                                                           culture media, as reflected in the following
                                                           prior art references:
                                                             The ’866 patent (Table I)
                                                            The ’934 application (Table 1)
     NH4VO3,                                                The ’202 application (Table 1)
                           NaVO3            0.00001-0.2
 0.0001-0.0025 mg;
                                                            The ’402 application (Table B4)
                                                            The ’402 application (Paragraph 23)
                                                            Hamilton 1977 (Table 1)
                                                            Cleveland 1983 (Table 1)
                                                            Darfler (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                     Exemplary Prior Art Reflecting the
     Patent                            Concentration         Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that D-
                                                        Glucose is an ingredient commonly used in
                                                        cell culture media, as reflected in the
                                                        following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
    D-Glucose,                                           The ’934 application (Table 2)
                        D-Glucose         1000-4000
   500-8000 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        Sodium pyruvate is listed as an optional
                                                        ingredient in the claimed cell culture
                                                        media. Nevertheless, a POSA would have
                                                        known that sodium pyruvate is an
                                                        ingredient commonly used in cell culture
                                                        media, as reflected in the following prior
                                                        art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)

  sodium pyruvate,                                       The ’934 application (Table 1)
                       Na Pyruvate          10-150
    0.0-1000 mg;                                         The ’934 application (Table 2)
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                       Table 3 of the ’955 Application
Claim 1 of the ’083                                       Exemplary Prior Art Reflecting the
     Patent                              Concentration         Knowledge of A POSA
                        Component
                                         Range (mg/L)
                                                         Sodium hypoxanthine is listed as an
                                                         optional ingredient in the claimed cell
                                                         culture media. Nevertheless, a POSA
                                                         would have known that sodium
                                                         hypoxanthine is an ingredient commonly
                                                         used in cell culture media, as reflected in
sodium hypoxanthine,                                     the following prior art references:
                       Hypoxanthine Na       0.01-6
    0.0-20.0 mg;                                           The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         Glycine is listed as an optional ingredient
                                                         in the claimed cell culture media.
                                                         Nevertheless, a POSA would have known
                                                         that glycine is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                           The ’401 patent (Table 1)
      glycine,                                            The ’866 patent (Table I)
                           glycine            7-60
    0.0-150 mg;
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         L-alanine is listed as an optional ingredient
                                                         in the claimed cell culture media.
                                                         Nevertheless, a POSA would have known
                                                         that L-alanine is an ingredient commonly
                                                         used in cell culture media, as reflected in
                                                         the following prior art references:
                                                           The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
     L-alanine,
                          L-alanine           5-50        The ’934 application (Table 1)
    0.0-150 mg;
                                                          The ’402 application (Table A2)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)



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                            Obviousness Of The ’083 Patent
          Based On The ’955 Application In View Of The Knowledge Of A POSA

                         Table 3 of the ’955 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                                Concentration         Knowledge of A POSA
                         Component
                                           Range (mg/L)
                                                           A POSA would have known that L-
                                                           arginine.HCl is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                             The ’401 patent (Table 1)
   L-arginine.HCl,                                          The ’202 application (Table 1)
                         L-arginine.HCl        60-500
    200-5000 mg;
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that L-
                                                           asparagine.H2O is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
L-asparagine.H2O, 40-                                       The ’934 application (Table 2)
                        L-asparagine.H2O       2-180
      250 mg;
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Darfler (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that L-aspartic
                                                           acid is an ingredient commonly used in
                                                           cell culture media, as reflected in the
                                                           following prior art references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
                                                            The ’934 application (Table 1)
   L-aspartic acid,
                         L-aspartic acid        5-90        The ’934 application (Table 2)
    20-1000 mg;
                                                            The ’202 application (Table 1)
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                            Concentration          Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that L-
                                                        cysteine.HCl.H2O is an ingredient
                                                        commonly used in cell culture media, as
                                                        reflected in the following prior art
                                                        references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
L-cysteine.HCl.H2O,   L-cysteine.HCl                     The ’202 application (Table 1)
                                            0.1-30
   25.0-250 mg;            H2O
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that L-
                                                        cystine.2HCl is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
  L-cystine.2HCl,
                      L-cystine.2HCl        25-130       The ’934 application (Table 2)
    15-150 mg;
                                                         The ’402 application (Table A2)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                        Table 3 of the ’955 Application
Claim 1 of the ’083                                        Exemplary Prior Art Reflecting the
     Patent                                Concentration        Knowledge of A POSA
                         Component
                                           Range (mg/L)
                                                           L-glutamic acid is listed as an optional
                                                           ingredient in the claimed cell culture
                                                           media. Nevertheless, a POSA would have
                                                           known that L-glutamic acid is an
                                                           ingredient commonly used in cell culture
                                                           media, as reflected in the following prior
                                                           art references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
  L-glutamic acid,
                        L-glutamic acid        6-50         The ’934 application (Table 1)
    0-1000 mg;
                                                            The ’934 application (Table 2)
                                                            The ’202 application (Table 1)
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that L-
                                                           histidine.HCl.H2O is an ingredient
                                                           commonly used in cell culture media, as
                                                           reflected in the following prior art
                                                           references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
L-histidine.HCl.H2O,            L-                          The ’202 application (Table 1)
                                               15-70
    100-500 mg;        histidine.HCl.H2O
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Darfler (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
        Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                     Exemplary Prior Art Reflecting the
     Patent                            Concentration         Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that L-
                                                        isoleucine is an ingredient commonly used
                                                        in cell culture media, as reflected in the
                                                        following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
   L-isoleucine,                                         The ’934 application (Table 2)
                       L-isoleucine         10-200
   50-1000 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that L-leucine
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
     L-leucine,                                          The ’934 application (Table 2)
                        L-leucine           30-200
    50-1000 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                             Concentration         Knowledge of A POSA
                       Component
                                        Range (mg/L)
                                                        A POSA would have known that L-
                                                        lysine.HCl is an ingredient commonly used
                                                        in cell culture media, as reflected in the
                                                        following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 2)
   L-lysine.HCl,
                       L-lysine.HCl         30-240       The ’202 application (Table 1)
   100-1000 mg;
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that L-
                                                        methionine is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
   L-methionine,                                         The ’934 application (Table 2)
                       L-methionine          2-60
    50-500 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        L-ornithine.HCl is listed as an optional
  L-ornithine.HCl,                                      ingredient in the claimed cell culture
                      L-ornithine.HCl         0
     0-100 mg;                                          media.




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                             Concentration         Knowledge of A POSA
                       Component
                                        Range (mg/L)
                                                        A POSA would have known that L-
                                                        phenylalanine is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
  L-phenylalanine,                                       The ’934 application (Table 2)
                      L-phenylalanine        2-45
    25-1000 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        L-proline is listed as an optional ingredient
                                                        in the claimed cell culture media.
                                                        Nevertheless, a POSA would have known
                                                        that L-proline is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
     L-proline,                                          The ’934 application (Table 1)
                         L-proline           2-45
    0-1000 mg;
                                                         The ’934 application (Table 2)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                            Concentration          Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that L-serine
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
     L-serine,                                           The ’934 application (Table 2)
                         L-serine            2-50
    50-500 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)

     L-taurine,                                         L-taurine is listed as an optional ingredient
                        L-taurine             0         in the claimed cell culture media.
    0-1000 mg;
                                                        A POSA would have known that L-
                                                        threonine is an ingredient commonly used
                                                        in cell culture media, as reflected in the
                                                        following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
    L-threonine,                                         The ’934 application (Table 2)
                       L-threonine          20-150
    50-600 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                        Table 3 of the ’955 Application
Claim 1 of the ’083                                        Exemplary Prior Art Reflecting the
     Patent                                Concentration        Knowledge of A POSA
                         Component
                                           Range (mg/L)
                                                           A POSA would have known that L-
                                                           tryptophan is an ingredient commonly used
                                                           in cell culture media, as reflected in the
                                                           following prior art references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
                                                            The ’934 application (Table 1)
   L-tryptophan,                                            The ’934 application (Table 2)
                         L-tryptophan          3-25
    2-500 mg;
                                                            The ’202 application (Table 1)
                                                            The ’402 application (Table A2)
                                                            Hamilton 1977 (Table 1)
                                                            Darfler (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that L-
                                                           tyrosine.2Na.2H2O is an ingredient
                                                           commonly used in cell culture media, as
                                                           reflected in the following prior art
                                                           references:
                                                             The ’401 patent (Table 1)
L-tyrosine.2Na.2H2O,            L-                          The ’866 patent (Table I)
                                               5-150
     25-250 mg;        tyrosine.2Na.2H2O
                                                            The ’202 application (Table 1)
                                                            The ’402 application (Table A2)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
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                      Table 3 of the ’955 Application
Claim 1 of the ’083                                     Exemplary Prior Art Reflecting the
     Patent                            Concentration         Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that L-valine
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
     L-valine,                                           The ’934 application (Table 2)
                         L-valine           5-150
   100-1000 mg;
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that d-biotin is
                                                        an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
      d-biotin,       Vitamin H (D-                      The ’934 application (Table 2)
                                          0.0001-0.5
    0.04-1.0 mg;          Biotin)
                                                         The ’202 application (Table 1)
                                                         The ’402 application (Table A2)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
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                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                              Concentration        Knowledge of A POSA
                       Component
                                         Range (mg/L)
                                                         A POSA would have known that D-
                                                         calcium pantothenate is an ingredient
                                                         commonly used in cell culture media, as
                                                         reflected in the following prior art
                                                         references:
                                                           The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
    D-calcium                                             The ’934 application (Table 2)
                        D-calcium
   pantothenate,                             0.01-3
                       pantothenate                       The ’202 application (Table 1)
    0.1-5.0 mg;
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)
                                                         A POSA would have known that choline
                                                         chloride is an ingredient commonly used in
                                                         cell culture media, as reflected in the
                                                         following prior art references:
                                                           The ’401 patent (Table 1)
                                                          The ’866 patent (Table I)
                                                          The ’934 application (Table 1)
                                                          The ’934 application (Table 2)
  choline chloride,
                      choline chloride       0.1-10       The ’202 application (Table 1)
     1-100 mg;
                                                          The ’402 application (Table A2)
                                                          The ’402 application (Table B1)
                                                          Hamilton 1977 (Table 1)
                                                          Darfler (Table 1)
                                                          Jayme 1997 (Table 1)
                                                          The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                     Exemplary Prior Art Reflecting the
     Patent                            Concentration         Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that folic acid
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
                                                         The ’934 application (Table 2)
     folic acid,
                        folic acid         0.01-20       The ’202 application (Table 1)
      1-10 mg;
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Table B1)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that i-Inositol
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
                                                         The ’934 application (Table 2)
     i-Inositol,
                        i-Inositol          0.6-20       The ’202 application (Table 1)
    10-1000 mg;
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Table B1)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                        Table 3 of the ’955 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                                Concentration         Knowledge of A POSA
                         Component
                                           Range (mg/L)
                                                           A POSA would have known that
                                                           nicotinamide is an ingredient commonly
                                                           used in cell culture media, as reflected in
                                                           the following prior art references:
                                                             The ’401 patent (Table 1)
                                                            The ’866 patent (Table I)
                                                            The ’934 application (Table 1)
                                                            The ’934 application (Table 2)
   nicotinamide,         nicotinamide/
                                               0.1-15       The ’202 application (Table 1)
    0.5-30 mg;            niacinamide
                                                            The ’402 application (Table A2)
                                                            The ’402 application (Table B1)
                                                            Hamilton 1977 (Table 1)
                                                            Darfler (Table 1)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)
                                                           A POSA would have known that p-
                                                           aminobenzoic acid is an ingredient
                                                           commonly used in cell culture media, as
                                                           reflected in the following prior art
                                                           references:
p-aminobenzoic acid,   para-aminobenzoic                     The ’401 patent (Table 1)
                                             0.001-0.3
    0.1-20 mg;                acid                          The ’866 patent (Table I)
                                                            The ’934 application (Table 2)
                                                            Jayme 1997 (Table 1)
                                                            The ’614 application (Table 1)




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                           Obviousness Of The ’083 Patent
         Based On The ’955 Application In View Of The Knowledge Of A POSA

                      Table 3 of the ’955 Application
Claim 1 of the ’083                                      Exemplary Prior Art Reflecting the
     Patent                            Concentration          Knowledge of A POSA
                      Component
                                       Range (mg/L)
                                                        A POSA would have known that riboflavin
                                                        is an ingredient commonly used in cell
                                                        culture media, as reflected in the following
                                                        prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 1)
                                                         The ’934 application (Table 2)
     riboflavin,       Vitamin B2
                                           0.001-5       The ’202 application (Table 1)
    0.05-5.0 mg;       (riboflavin)
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Table B1)
                                                         Hamilton 1977 (Table 1)
                                                         Darfler (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)
                                                        A POSA would have known that
                                                        thiamine.HCl is an ingredient commonly
                                                        used in cell culture media, as reflected in
                                                        the following prior art references:
                                                          The ’401 patent (Table 1)
                                                         The ’866 patent (Table I)
                                                         The ’934 application (Table 2)
   thiamine.HCl,        Vitamin B1
                                           0.001-20      The ’202 application (Table 1)
     0.5-20 mg;       (Thiamine).HCl
                                                         The ’402 application (Table A2)
                                                         The ’402 application (Table B1)
                                                         Hamilton 1977 (Table 1)
                                                         Jayme 1997 (Table 1)
                                                         The ’614 application (Table 1)




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                          Obviousness Of The ’083 Patent
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                       Table 3 of the ’955 Application
Claim 1 of the ’083                                       Exemplary Prior Art Reflecting the
     Patent                               Concentration        Knowledge of A POSA
                        Component
                                          Range (mg/L)
                                                          Thymidine is listed as an optional
                                                          ingredient in the claimed cell culture
                                                          media. Nevertheless, a POSA would have
                                                          known that thymidine is an ingredient
                                                          commonly used in cell culture media, as
                                                          reflected in the following prior art
                                                          references:
    thymidine,
                          thymidine           0.01-5        The ’401 patent (Table 1)
     0-3.0 mg;
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’614 application (Table 1)
                                                          A POSA would have known that vitamin
                                                          B12 is an ingredient commonly used in
                                                          cell culture media, as reflected in the
                                                          following prior art references:
                                                            The ’401 patent (Table 1)
                                                           The ’866 patent (Table I)
                                                           The ’934 application (Table 1)
   vitamin B12,          Vitamin B12
                                             0.001-5       The ’934 application (Table 2)
   0.05-5.0 mg;       (Cyanocobalamine)
                                                           The ’202 application (Table 1)
                                                           Hamilton 1977 (Table 1)
                                                           Darfler (Table 1)
                                                           Jayme 1997 (Table 1)
                                                           The ’614 application (Table 1)




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                             Obviousness Of The ’083 Patent
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                          Table 3 of the ’955 Application
Claim 1 of the ’083                                         Exemplary Prior Art Reflecting the
     Patent                                 Concentration        Knowledge of A POSA
                          Component
                                            Range (mg/L)
                                                            A POSA would have known that linoleic
                                                            acid is an ingredient commonly used in
                                                            cell culture media, as reflected in the
                                                            following prior art references:
                                                              The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
     linoleic acid,                                          The ’934 application (Table 3)
                           linoleic acid       0.001-0.3
     0.01-2.0 mg;
                                                             The ’202 application (Table 1)
                                                             The ’402 application (Table A3)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’614 application (Table 1)
                                                            A POSA would have known that DL-α-
                                                            lipoic acid is an ingredient commonly used
                                                            in cell culture media, as reflected in the
                                                            following prior art references:
                                                              The ’401 patent (Table 1)
                                                             The ’866 patent (Table I)
                                                             The ’934 application (Table 1)
DL-α-lipoic acid, 0.03-     lipoic acid
                                               0.001-0.7     The ’934 application (Table 3)
       1.0 mg;            (thioctic acid)
                                                             The ’202 application (Table 1)
                                                             Hamilton 1977 (Table 1)
                                                             Darfler (Table 1)
                                                             Jayme 1997 (Table 1)
                                                             The ’614 application (Table 1)




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                            Obviousness Of The ’083 Patent
          Based On The ’955 Application In View Of The Knowledge Of A POSA

                           Table 3 of the ’955 Application
Claim 1 of the ’083                                          Exemplary Prior Art Reflecting the
     Patent                                  Concentration        Knowledge of A POSA
                           Component
                                             Range (mg/L)
                                                             A POSA would have known that
                                                             pyridoxine.HCl is an ingredient commonly
                                                             used in cell culture media, as reflected in
                                                             the following prior art references:
                                                               The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
                                                              The ’934 application (Table 2)
   pyridoxine.HCl,           Vitamin B6
                                                0.001-5       The ’202 application (Table 1)
     0.5-30 mg;           (Pyridoxine).HCl
                                                              The ’402 application (Table B1)
                                                              Hamilton 1977 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’614 application (Table 1)
                                                             A POSA would have known that
                                                             putrescine.2HCl is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                               The ’401 patent (Table 1)
                                                              The ’866 patent (Table I)
putrescine.2HCl, 0.025-                                       The ’934 application (Table 2)
                          putrescine.2HCl      0.001-0.09
     0.25 mg; and
                                                              The ’202 application (Table 1)
                                                              Hamilton 1977 (Table 1)
                                                              Darfler (Table 1)
                                                              Jayme 1997 (Table 1)
                                                              The ’614 application (Table 1)
                                                             A POSA would have known that
                                                             ethanolamine.HCl is an ingredient
                                                             commonly used in cell culture media, as
                                                             reflected in the following prior art
                                                             references:
                                                               The ’866 patent (Table I)
  ethanolamine.HCl,                                           The ’934 application (Table 2)
                          ethanolamine HCl       0.1-6
      2-100 mg.
                                                              The ’202 application (Table 1)
                                                              The ’614 application (Table 1)
                                                              Murakami 1982 at 1160
                                                              Murakami 1989 at 111


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           Based On The ’955 Application In View Of The Knowledge Of A POSA


                           Table 3 of the ’955 Application
Claim 2 of the ’083                                               Exemplary Prior Art Reflecting
     Patent                                     Concentration       the Knowledge of A POSA
                           Component
                                                Range (mg/L)
                                                                A POSA would have known that a
                                                                buffering molecule with a pKa between
                                                                5.9 and 7.8 is an ingredient commonly
                                                                used in cell culture media, as reflected in
                                                                the following prior art references:
                                                                  The ’401 patent (HEPES in Table 1)
                                                                  The ’866 patent (HEPES in Table I)
 a buffering molecule
                                                   No range       The ’934 application (HEPES in
with a pKa between 5.9         HEPES
                                                   specified.      Table 1)
      and 7.8 and
                                                                  The ’202 application (HEPES in
                                                                   Table 1)
                                                                  The ’402 application (HEPES Table
                                                                   A2)
                                                                  Jayme 1997 (HEPES in Table 1)
                                                                  The ’614 application (HEPES in
                                                                   Table 1)
                                                                A POSA would have known that a cell
                                                                protectant is an ingredient commonly
                                                                used in cell culture media, as reflected in
                                                                the following prior art references:
                                                                  The ’934 application (Pluronic F68 in
                                                                   Table 1)
                                                   No range       The ’934 application (Pluronic F68 in
   a cell protectant.    Oxidation stabiliser
                                                   specified.      Table 2)
                                                                  The ’934 application (Pluronic F68 in
                                                                   Table 3)
                                                                  The ’202 application (Pluronic F68
                                                                   Table 1)
                                                                  The ’614 application (Pluronic in
                                                                   Example 6)




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